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16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
18

19
     BENJAMIN HEWITT, et al., on behalf of           Case No. 5:21-cv-02155-LHK-VKD
20   themselves and all others similarly situated,
                                                     CONSOLIDATED
21                          Plaintiffs,              CLASS ACTION COMPLAINT

22          v.
23
     GOOGLE LLC,
24
                            Defendant.
25

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                                                                    Case No. 5:21-cv-02155-LHK_VKD
                                  CONSOLIDATED CLASS ACTION COMPLAINT
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 1                                 TABLE OF EXHIBITS

 2        EX.   DOCUMENT DESCRIPTION
 3         1    Documents Constituting the Relevant Contract from June 28, 2016 to
 4              Present

 5         2    Google Terms of Service dated Apr. 14, 2014

 6         3    Google Terms of Service dated Oct. 25, 2017
 7         4    Google Terms of Service dated Mar. 31, 2020
 8         5    How our business works, Google, https://about.google/intl/en_US/
 9              how-our-business-works/ (last visited Mar. 26, 2021)

10         6    Google Privacy Policy dated June 28, 2016

11         7    Google Privacy Policy dated Aug. 29, 2016

12         8    Google Privacy Policy dated Mar. 1, 2017

13         9    Google Privacy Policy dated Apr. 17, 2017

14         10   Google Privacy Policy dated Oct. 2, 2017

15         11   Google Privacy Policy dated Dec. 18, 2017

16         12   Google Privacy Policy dated May 25, 2018

17         13   Google Privacy Policy dated Jan. 22, 2019

18         14   Google Privacy Policy dated Oct. 15, 2019

19         15   Google Privacy Policy dated Dec. 19, 2019

20         16   Google Privacy Policy dated Mar. 31, 2020
21         17   Google Privacy Policy dated July 1, 2020
22         18   Google Privacy Policy dated Aug. 28, 2020
23         19   Google Privacy Policy dated Sept. 30, 2020
24         20   Google Privacy Policy dated Feb. 4, 2021
25         21   Who are Google’s Partners?, Google, https://policies.google.com/
                privacy/google-partners?hl=en-US (last visited Mar. 25, 2021)
26
           22   Personalized Advertising, Google, https://support.google.com/
27              adspolicy/answer/143465 (last visited Mar. 25, 2021)
28

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 1

 2              We do not sell your personal information to anyone, Google,
           23
                https://safety.google/intl/en_ca/privacy/ads-and-data/ (last visited
 3              Mar. 25, 2021)
           24   Your privacy is protected by responsible data practices, Google,
 4              https://safety.google/intl/en_us/privacy/data/ (last visited Mar. 25,
                2021)
 5
           25   Pichai, Sundar (May 7, 2019), Google’s Sundar Pichai: Privacy
 6              Should Not Be a Luxury Good, THE NEW YORK TIMES
                available at: https://www.nytimes.com/2019/05/07/opinion/google-
 7              sundar-pichai-privacy.html
 8
           26   Google AdWords API: VERTICALS
 9              https://developers.google.com/adwords/api/docs/appendix/verticals
                (last visited Mar. 24, 2021)
10
           27   Google Example OpenRTB Protobuf for Web video Real-Time
11              Bidding: Pregnancy and Maternity Vertical,
                https://developers.google.com/authorized-buyers/rtb/request-
12              guide#openrtb-protobuf_6 (last visited Jan. 22, 2021)

13         28   Google Example OpenRTB Protobuf for “App native” Real-Time
                Bidding: OBGYN Vertical, https://developers.google.com/authorized-
14              buyers/rtb/request-guide#openrtb-protobuf_6 (last visited Jan. 22,
                2021)
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 1   I.      INTRODUCTION

 2           1.     Through its consumer-facing products and services – and its business advertising

 3   and surveillance tools – Google amasses data about billions of people for the purpose of creating

 4   detailed dossiers about them in furtherance of targeted advertising. Recognizing that American

 5   consumers have significant privacy concerns, however, Google makes two “unequivocal” promises

 6   to users who sign up for Google’s services: (1) “Google will never sell any personal information to

 7   third parties;” and (2) “you get to decide how your information is used.” 1 Google also promises
                                                                                    0F




 8   that it will not use certain sensitive information for advertising purposes.

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             2.     Google breaks these promises countless times every day.
15
             3.     This Complaint identifies how Google actively sells and shares consumers’ personal
16
     information with thousands of entities, ranging from advertisers to publishers to hedge funds to
17
     political campaigns and even the government, through the Google Real-Time Bidding (“RTB”)
18
     system. The personal information that Google sells, shares, and uses includes the very sensitive
19
     information Google promises it would not use for advertising purposes. These practices are not
20
     disclosed to consumers.
21
             4.     This case is brought on behalf of all Google account holders whose personal
22
     information is sold and disseminated by Google to thousands of companies through Google’s
23
     proprietary advertising auction process effectuated through RTB.
24
             5.     Regulators have described RTB as follows:
25
                    RTB is the process by which the digital ads we see every day are
26                  curated. For each ad, an auction takes place milliseconds before it is

27   1
      Pichai, Sundar (May 7, 2019), Google’s Sundar Pichai: Privacy Should Not Be a Luxury Good,
     THE NEW YORK TIMES, available at https://www.nytimes.com/2019/05/07/pinion/google-sundar-
28   pichai-privacy.html (attached as Exhibit 25).

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                    shown in an app or browser. The hundreds of participants in these
 1                  auctions receive sensitive information about the potential recipient
                    of the ad—device identifiers and cookies, location data, IP
 2                  addresses, and unique demographic and biometric information such
                    as age and gender. Hundreds of potential bidders receive this
 3                  information, even though only one—the auction winner—will use it
                    to deliver an advertisement.
 4
                    Few Americans realize that companies are siphoning off and storing
 5                  that “bidstream” data to compile exhaustive dossiers about them.
                    These dossiers include their web browsing, location, and other data,
 6                  which are then sold by data brokers to hedge funds, political
                    campaigns, and even to the government without court orders. 2   1F




 7

 8           6.     Google runs the world’s largest RTB auction (the “Google RTB”). In the Google

 9   RTB, Google solicits participants to bid on sending an ad to a specific individual (the “Target”).

10   Google provides highly specific information about the Target in the Bid Request provided to

11   auction participants, including data that identifies the individual person being targeted through

12   unique identifiers, device identifiers, and IP addresses, among other information. The collected

13   data provided about the Target to auction participants is called “Bidstream Data.”

14           7.     Auction participants receive the information and compete for ad space to send a

15   message to the Target at a specific price. The winning bidder pays Google for the ad placement

16   with currency. But all auction participants, even those who do not win and those who do not submit

17   a bid, are able to collect Bidstream Data on the Target. Such “non-winning” auction participants

18   include not just auction participants who engage in the RTB process with the intent of competing

19   to fill the ad space, but also pure “Surveillance Participants” – participants that have no interest in

20   filling the ad space but who participate in Google’s RTB for the sole purpose of gaining access to

21   the Target’s Bidstream Data. Even though they do not bid, the Surveillance Participants’ presence

22   drives interest and encourages competitive bids, which increases the reach and profitability of

23   Google RTB.

24           8.     The Google RTB process takes place in fewer than 100 milliseconds, faster than the

25   blink of an eye.

26
     2
      Senator Ron Wyden (Oregon), et al. (July 31, 2020), Letter to Hon. Joseph J. Simmons, Chairman
27   of the Federal Trade Commission (FTC) urging FTC investigation of RTB (“Wyden FTC Letter”),
     available at https://www.wyden.senate.gov/imo/media/doc/073120%20Wyden%20Cassidy%20
28   Led%20FTC%20Investigation%20letter.pdf.
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 1          9.      Google’s ability to provide a rich and highly personalized set of Bidstream Data for

 2   each Target is unprecedented and is the primary source of Google’s massive revenues. Google is a

 3   consumer data powerhouse unmatched in human history. Google operates the world’s largest

 4   search engine (Google.com), web-browser (Chrome), email service (Gmail), Internet video service

 5   (YouTube), mobile phone operating system (Android), and mapping service (Google Maps).

 6   Google also operates large consumer services in app sales (Google Play), document processing

 7   (Google Docs), scheduling (Google Calendars), storage (Google Drive), instant messaging (Google

 8   Chat), travel planning (Google Flights), fitness (Google Fit), videoconferencing (Google Meet),

 9   payment services (Google Pay), smartphone hardware (Google Pixel), laptop hardware

10   (Chromebooks), and broadcast television (YouTube TV).

11          10.     Through these services, Google surreptitiously observes, collects, and analyzes real-

12   time information about everyone engaging on those platforms. This includes collecting and selling

13   information about activity users would not expect to be sold. Google’s purpose is to build massive

14   repositories of the most current information available about the people using its services to sell it

15   to Google’s partners. But because transparency about those practices would lead to less user

16   engagement on those platforms, which in turn would impede its ability to maximize targeted ad

17   revenues, Google fails to make accurate, transparent disclosures about those practices to its account

18   holders.

19          11.     Instead, Google promises its account holders privacy and control. Any consumer

20   can sign up for a Google Account by clicking a button assenting to the terms of service that Google

21   has unilaterally drafted. In that contract, Google promises:

22                  a.      “You get to decide how your information is used.” Ex. 25 at 1.

23                  b.      “We don’t sell your personal information to anyone.” Ex. 5 at 1.

24                  c.      “Advertisers do not pay us for personal information.” Ex. 5 at 1.

25                  d.      “We don’t share information that personally identifies you with advertisers.”
                            E.g. Ex. 20 at 6.
26
                    e.      “We also never use … sensitive information like race, religion, or sexual
27                          orientation, to personalize ads to you.” Ex. 5 at 1.

28                  f.      “We don’t show you personalized ads based on sensitive categories, such as

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                            race, religion, sexual orientation, or health.” E.g. Ex. 20 at 6.
 1

 2          12.     Google does not honor these terms. Without telling its account holders, Google

 3   automatically and invisibly sells Bidstream Data about them to thousands of different participants

 4   on Google RTB billions of times every day. The Bidstream Data that Google sells and discloses to

 5   thousands of Google RTB participants identifies individual account holders, their devices, and their

 6   locations; the specific content of their Internet communications; and even highly personal

 7   information about their race, religion, sexual orientation, and health.

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 1        13.   The Google RTB system may be illustrated as follows:

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26        14.   Contrary to Google’s promises, Bidstream Data is not anonymized. It includes:
27              a.     A Google ID for each account holder;
28

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                    b.      The account holder’s IP address;
 1
                    c.      A cookie-matching service that helps the recipient match the account
 2                          holder’s personal information with other personal information that the
                            recipient has on the account holder;
 3
                    d.      The account holder’s User-Agent information;
 4
                    e.      The Publisher ID of the website in question;
 5
                    f.      The content of the URL for the webpage where the ad will be placed;
 6
                    g.      The account holder’s unique device identifier; and
 7
                    h.      “Vertical” interests associated with the bid that include interests relating to
 8                          race, religion, health, and sexual orientation.

 9
            15.     The “verticals” included in Bidstream Data sold and disclosed on Google RTB
10
     categorize Google’s account holders into targetable interests. Google runs algorithms across the
11
     massive repositories of data it acquires about account holders and sorts them into more than 5,000
12
     consumer categories (segments) and subcategories (verticals). According to Google’s own
13
     description of the segments and verticals, these categories include:
14
                    a.      In the Health segment, verticals include AIDS & HIV, Depression, STDs,
15                          and Drug & Alcohol Treatment. Ex. 24 at 14.

16                  b.      In the Religion segment, verticals include Buddhism, Christianity,
                            Hinduism, Islam, and Judaism. Id. at 21.
17
                    c.      In the Identity segment, verticals include African-Americans, Jewish
18                          Culture, and LGBT. Id.

19                  d.      In the Finance segment, verticals include Debt Collection and Short-Term
                            Loans and Cash. Id. at 11-12.
20
                    e.      Other verticals include Troubled Relationships, Divorce & Separation, and
21                          Bankruptcy. Id. at 21.

22
            16.     These “verticals” exemplify Google’s use of the information it collects about
23
     account holders’ activities and its ability to take that information and infer personal and sensitive
24
     characteristics. Google then packages account holders into narrowly drawn, targetable categories.
25
     That is, the Bidstream Data that Google provides to Google RTB participants is drawn from the
26
     extensive profile Google has built on the Target. This data set includes information based on
27
     Google’s distillation of both public and highly private data points and inferences. Google’s
28

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 1   Bidstream Data on Targets is so compelling that publishers are incentivized to choose Google RTB

 2   over other services to place their messages, and bidders in Google RTB will offer to pay premium

 3   dollars for the information. And all participants, including Surveillance Participants, can keep the

 4   Bidstream Data for each Target, which encourages Surveillance Participants to participate even if

 5   they do not wish to buy the ad space. But the consumers themselves do not even know that these

 6   categories exist, let alone that Google has placed them into one of these categories.

 7          17.     Data included in Bidstream Data constitutes “personal information” under

 8   California law. Google adopts California law in its contract with account holders. California law

 9   defines “personal information” to include any “information that identifies, relates to, describes, is

10   reasonably capable of being associated with, or could reasonably be linked, directly or indirectly,

11   with a particular consumer or household.” CAL. CIV. CODE § 1798.140(o)(1). California law also

12   provides a non-exhaustive list of “personal information,” which includes unique personal

13   identifiers, online identifiers, IP addresses, email addresses, account names, characteristics of

14   protected classifications under California or federal law, purchase history or consideration, Internet

15   or other electronic network activity (including browsing history, search history, and information

16   regarding a consumer’s interaction with an internet website, application, or advertisement),

17   geolocation data, employment-related information, education information, and “inferences drawn

18   … to create a profile about a consumer reflecting the consumer’s preferences, characteristics,

19   psychological trends, predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.” Id.

20   Thus, the information Google sells and discloses as part of a Target’s Bidstream Data includes

21   “personal information” under California law.

22          18.     The exchange of Bidstream Data for auction participation constitutes a “sale” of

23   “personal information.” California law defines a sale of personal information as “selling, renting,

24   releasing,   disclosing,    disseminating,    making      available,    transferring,   or   otherwise

25   communicating … by electronic or other means, a consumer’s personal information by the business

26   to another business or a third party for monetary or other valuable consideration.” CAL. CIV. CODE

27   § 1798.140(t)(1).

28          19.     Google’s dissemination and sale of the type of Bidstream Data available in Google

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 1   RTB violates Google’s express contractual promises to its account holders.

 2            20.   It also violates laws prohibiting Google from selling account holders’ personal

 3   and/or sensitive information, including (and especially) when it sells and discloses such information

 4   for the purpose of targeting them.

 5            21.   Google does not disclose to its account holders its creation and use of massive data

 6   sets to profile them specifically (and identifiably) in these auctions, and it cannot plausibly or

 7   credibly claim it has account holders’ consent for this use of their data and information. None of

 8   the categories of information in Bidstream Data are identified in any of the many policies and terms

 9   of service Google presents to account holders. Indeed, the success of Google’s RTB process is a

10   function, in part, of the fact that account holders – the Targets for ad placements – are unaware that

11   information drawn from their activities wholly unrelated to any bid are incorporated into what is

12   presented to them in targeted ads milliseconds later.

13            22.    “We also never use your emails, documents, photos, or sensitive information like

14   race, religion, or sexual orientation, to personalize ads to you,” Google tells account holders. Ex.

15   5 at 2 (emphasis added).

16            23.   But that is precisely what Google does. Google RTB bidders specifically seek to

17   stimulate response in the Target based on the way Google slots the Target into verticals and

18   segments concerning, among other things, the Target’s race, religion, and sexual orientation.

19            24.   The breadth of Google’s privacy violations is staggering. Plaintiffs engaged an

20   expert, Professor Christo Wilson, to help identify the scope of Google’s dissemination of Bidstream

21   Data on individual Targets. Professor Wilson identified 1.3 million separate publishers

22   participating in Google’s ad systems. Each of those publishers is a potential recipient of Google

23   RTB Bidstream Data, including the personal information Google tells account holders it will not

24   share.

25            25.   Once a Target’s Bidstream Data is disseminated by Google, the data is not

26   recoverable.

27            26.   Because Google account holders are not informed about this dissemination of their

28   personal information – indeed, they are told the opposite – they cannot exercise reasonable

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 1   judgment to defend themselves against the insidious, pervasive, and highly personal ways in which

 2   Google has used and continues to use the data that Google has about them to make money for itself.

 3   Nor can account holders exercise reasonable judgment to defend themselves against winning

 4   bidders that are targeting them individually, or Surveillance Participants that use Google RTB to

 5   build their own data profiles on account holders.

 6            27.   On July 31, 2020, Senator Ron Wyden and nine other members of Congress wrote

 7   a letter to the Federal Trade Commission explaining the privacy dangers posed by the RTB systems.

 8   The letter explained:

 9                  Unregulated data brokers have access to bidstream data and are
                    using it in outrageous ways that violate Americans’ privacy. For
10                  example, media reports recently revealed that Mobilewalla, a data
                    broker and a buyer of bidstream data, used location and inferred race
11                  data to profile participants in recent Black Lives Matter protests.
                    Moreover, Mobilewalla’s CEO revealed, in a podcast recorded in
12                  2017, that his company tracked Americans who visited places of
                    worship and then built religious profiles based on that information.
13
                    The identity of the companies that are selling bidstream data to
14                  Mobilewalla and countless other data brokers remains unknown.
                    However, according to major publishers, companies are
15                  participating in RTB auctions solely to siphon off bidstream data,
                    without ever intending to win the auction and deliver an ad. …
16
                    Americans never agreed to be tracked and have their sensitive
17                  information sold to anyone with a checkbook. … This outrageous
                    privacy violation must be stopped and the companies that are
18                  trafficking in Americans’ illicitly obtained private data should be
                    shut down. 3
                               2F




19

20            28.   On April 1, 2021, a bipartisan group comprised of U.S. Senators Wyden, Cassidy,

21   Gillibrand, Warner, Brown, and Warren, sent letters to Google and other tech companies engaged

22   in buying and selling targeted ads through RTB, demanding answers to questions concerning the

23   continuous selling of personal consumer information to all comers, including foreign governments:

24                  Few Americans realize that some auction participants are siphoning
                    off and storing “bidstream” data to compile exhaustive dossiers about
25                  them. In turn, these dossiers are being openly sold to anyone with a
26                  credit card, including to hedge funds, political campaigns, and even
                    to governments.
27

28   3
         Wyden FTC Letter.
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                     Over the past year, multiple reports have indicated that a number of
 1                   federal agencies have purchased personal data derived from mobile
                     apps and other online services, in ways that potentially merit closer
 2
                     scrutiny. But the United States is not the only government with the
 3                   means and interest in acquiring Americans’ personal data. This
                     information would be a goldmine for foreign intelligence services
 4                   that could exploit it to inform and supercharge hacking, blackmail,
                     and influence campaigns. As Congress debates potential federal
 5                   privacy legislation, we must understand the serious national security
                     risks posed by the unrestricted sale of Americans’ data to foreign
 6
                     companies and governments. 4 3F




 7
             29.     RTB-related violations have also caught the eye of foreign regulators and civil
 8
     liberties groups. Earlier this year, the Irish Council for Civil Liberties (“ICCL”) filed a lawsuit in
 9
     Hamburg, Germany that seeks to challenge the industry rules relating to RTB. The ICCL’s lawsuit
10
     alleges that RTB “causes the world’s biggest data breach” (emphasis added) and takes aim at
11
     Google, Facebook, Amazon, Twitter, Verizon, AT&T, and the entire online advertising and
12
     tracking industry. 5
                       4F




13
             30.     Plaintiffs bring this class action on behalf of themselves and all Google account
14
     holders in the United States whose personal information was sold or otherwise disclosed by Google
15
     without their authorization, and assert claims for breach of contract, violations of statutory and
16
     common law, and equitable claims against Google for compensatory damages, including statutory
17
     damages where available, unjust enrichment, punitive damages, injunctive relief, and all other
18
     remedies permitted by law.
19
     II.     JURISDICTION, VENUE, AND ASSIGNMENT
20
             31.     This Court has personal jurisdiction over Defendant Google LLC (“Defendant” or
21
     “Google”) because it is headquartered in this District. Google also concedes personal jurisdiction
22
     in its current and prior Google Terms of Service. See Exhibits 2 through 4.
23
             32.     Venue is proper in this District because Google is headquartered in this District and
24
     because its current and prior Terms of Service purport to bind Plaintiffs to bring disputes in this
25
     4
      See April 1, 2021 letter to Sundar Pichai, available at https://www.wyden.senate.gov/imo/media/
26   doc/040121%20Wyden%20led%20Bidstream%20Letter%20to%20Google.pdf.
27   5
       See Irish Council for Civil Liberties (June 15, 2021), ICCL Lawsuit Takes Aim at Google,
     Facebook, Amazon, Twitter and the Entire Online Advertising Industry, available at https://www.
28   iccl.ie/news/press-announcement-rtb-lawsuit/.
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 1   District. See id.

 2           33.     Assignment of this case to the San Jose Division is proper pursuant to Civil Local

 3   Rule 3-2(c)(e) because a substantial part of the events or omissions giving rise to Plaintiffs’ claims

 4   occurred in Santa Clara County, California.

 5           34.     This Court has subject matter jurisdiction over the federal claims in this action. Infra

 6   Counts Nine, Ten, Eleven, and Twelve.

 7           35.     This Court has subject matter jurisdiction over this entire action pursuant to the

 8   Class Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action in which the amount

 9   in controversy exceeds $5,000,000, and at least one member of the class is a citizen of a state other

10   than the state in which Google maintains its headquarters (California) and in which it is

11   incorporated (Delaware).

12           36.     This Court has supplemental jurisdiction over the state law claims in this action

13   pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same case or controversy

14   as those that give rise to the federal claims.

15   III.    PARTIES

16           A.      Plaintiffs

17           37.     Plaintiff Alexander Rowe is an adult domiciled in California. Plaintiff Rowe is a

18   Google account holder who has used the Internet, including websites from which Google sold and

19   shared account holder information without authorization, as alleged herein. Plaintiff Rowe has used

20   the Chrome web browser. In order to become a Google account holder, Plaintiff Rowe was required

21   to indicate he agreed to uniform conditions drafted and set forth exclusively by Google that govern

22   the relationship between him and Google.

23           38.     On information and belief, like millions of other Americans, Google has sold and

24   shared Rowe’s personal information through Google RTB. Plaintiff Rowe frequently uses Chrome

25   to request, obtain and watch audio-visual materials, including materials from publishers for which

26   he is a subscriber. On information and belief, like millions of Americans, Google has sold and

27   shared information about the websites, content, photos, videos, and communications Plaintiff Rowe

28   sends, receives, views, or otherwise accesses on Chrome through Google’s RTB auctions without

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 1   his express written consent.

 2          39.     Plaintiff Christopher Valencia is an adult domiciled in California. Plaintiff Valencia

 3   is a Google account holder who has used the Internet, including websites from which Google sold

 4   and shared account holder information without authorization, as alleged herein. Plaintiff Valencia

 5   has used the Chrome web browser. In order to become a Google account holder, Plaintiff Valencia

 6   was required to indicate he agreed to uniform conditions drafted and set forth exclusively by Google

 7   that govern the relationship between him and Google.

 8          40.     On information and belief, like millions of other Americans, Google has sold and

 9   shared Valencia’s personal information through Google RTB. Plaintiff Valencia frequently uses

10   Chrome to request, obtain and watch audio-visual materials, including materials from publishers

11   for which he is a subscriber. On information and belief, like millions of Americans, Google has

12   sold and shared information about the websites, content, photos, videos, and communications

13   Plaintiff Valencia sends, receives, views, or otherwise accesses on Chrome through Google’s RTB

14   auctions without his express written consent.

15          41.     Plaintiff Crystal Brown is an adult domiciled in California. Plaintiff Brown is a

16   Google account holder who has used the Internet, including websites from which Google sold and

17   shared account holder information without authorization, as alleged herein. Plaintiff Brown has

18   used the Chrome and Safari web browsers. In order to become a Google account holder, Plaintiff

19   Brown was required to indicate she agreed to uniform conditions drafted and set forth exclusively

20   by Google that govern the relationship between her and Google.

21          42.     On information and belief, like millions of other Americans, Google has sold and

22   shared Brown’s personal information through Google RTB. Plaintiff Brown frequently uses

23   Chrome and Safari to request, obtain and watch audio-visual materials, including materials from

24   publishers for which she is a subscriber. On information and belief, like millions of Americans,

25   Google has sold and shared information about the websites, content, photos, videos, and

26   communications Plaintiff Brown sends, receives, views, or otherwise accesses on Chrome and

27   Safari through Google’s RTB auctions without her express written consent.

28          43.     Plaintiff Gary Garrett is an adult domiciled in California. Plaintiff Garrett is a

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 1   Google account holder who has used the Internet, including websites from which Google sold and

 2   shared account holder information without authorization, as alleged herein. Plaintiff Garrett has

 3   used the Chrome web browser. In order to become a Google account holder, Plaintiff Garrett was

 4   required to indicate he agreed to uniform conditions drafted and set forth exclusively by Google

 5   that govern the relationship between him and Google.

 6          44.     On information and belief, like millions of other Americans, Google has sold and

 7   shared Garrett’s personal information through Google RTB. Plaintiff Garrett frequently uses

 8   Chrome to request, obtain and watch audio-visual materials, including materials from publishers

 9   for which he is a subscriber. On information and belief, like millions of Americans, Google has

10   sold and shared information about the websites, content, photos, videos, and communications

11   Plaintiff Garrett sends, receives, views, or otherwise accesses on Chrome through Google’s RTB

12   auctions without his express written consent.

13          45.     Plaintiff John Kevranian is an adult domiciled in California. Plaintiff Kevranian is

14   a Google account holder who has used the Internet, including websites from which Google sold

15   and shared account holder information without authorization, as alleged herein. Plaintiff Kevranian

16   has used the Chrome and Safari web browsers. In order to become a Google account holder,

17   Plaintiff Kevranian was required to indicate he agreed to uniform conditions drafted and set forth

18   exclusively by Google that govern the relationship between him and Google.

19          46.     On information and belief, like millions of other Americans, Google has sold and

20   shared Kevranian’s personal information through Google RTB. Plaintiff Kevranian frequently uses

21   Chrome and Safari to request, obtain and watch audio-visual materials, including materials from

22   publishers for which he is a subscriber. On information and belief, like millions of Americans,

23   Google has sold and shared information about the websites, content, photos, videos, and

24   communications Plaintiff Kevranian sends, receives, views, or otherwise accesses on Chrome and

25   Safari through Google’s RTB auctions without his express written consent.

26          47.     Plaintiff Robina Suwol is an adult domiciled in California. Plaintiff Suwol is a

27   Google account holder who has used the Internet, including websites from which Google sold and

28   shared account holder information without authorization, as alleged herein. Plaintiff Suwol has

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 1   used the Edge web browser. In order to become a Google account holder, Plaintiff Suwol was

 2   required to indicate she agreed to uniform conditions drafted and set forth exclusively by Google

 3   that govern the relationship between her and Google.

 4          48.     On information and belief, like millions of other Americans, Google has sold and

 5   shared Suwol’s personal information through Google RTB. Plaintiff Suwol frequently uses Edge

 6   to request, obtain and watch audio-visual materials, including materials from publishers for which

 7   she is a subscriber. On information and belief, like millions of Americans, Google has sold and

 8   shared information about the websites, content, photos, videos, and communications Plaintiff

 9   Suwol sends, receives, views, or otherwise accesses on Edge through Google’s RTB auctions

10   without her express written consent.

11          49.     Plaintiff Terry Diggs is an adult domiciled in California. Plaintiff Diggs is a Google

12   account holder who has used the Internet, including websites from which Google sold and shared

13   account holder information without authorization, as alleged herein. Plaintiff Diggs has used the

14   Chrome web browser. In order to become a Google account holder, Plaintiff Diggs was required to

15   indicate she agreed to uniform conditions drafted and set forth exclusively by Google that govern

16   the relationship between her and Google.

17          50.     On information and belief, like millions of other Americans, Google has sold and

18   shared Diggs’s personal information through Google RTB. Plaintiff Diggs frequently uses Chrome

19   to request, obtain and watch audio-visual materials, including materials from publishers for which

20   she is a subscriber. On information and belief, like millions of Americans, Google has sold and

21   shared information about the websites, content, photos, videos, and communications Plaintiff Diggs

22   sends, receives, views, or otherwise accesses on Chrome through Google’s RTB auctions without

23   her express written consent.

24          51.     Plaintiff Tyler Elliott is an adult domiciled in California. Plaintiff Elliott is a Google

25   account holder who has used the Internet, including websites from which Google sold and shared

26   account holder information without authorization, as alleged herein. Plaintiff Elliott has used the

27   Chrome web browser. In order to become a Google account holder, Plaintiff Elliott was required

28   to indicate he agreed to uniform conditions drafted and set forth exclusively by Google that govern

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 1   the relationship between him and Google.

 2          52.     On information and belief, like millions of other Americans, Google has sold and

 3   shared Elliot’s personal information through Google RTB. Plaintiff Elliott frequently uses Chrome

 4   to request, obtain and watch audio-visual materials, including materials from publishers for which

 5   he is a subscriber. On information and belief, like millions of Americans, Google has sold and

 6   shared information about the websites, content, photos, videos, and communications Plaintiff

 7   Elliott sends, receives, views, or otherwise accesses on Chrome through Google’s RTB auctions

 8   without his express written consent.

 9          53.     Plaintiff Kimberley Woodruff is an adult domiciled in Missouri. Plaintiff Woodruff

10   is a Google account holder who has used the Internet, including websites from which Google sold

11   and shared account holder information without authorization, as alleged herein. Plaintiff Woodruff

12   has used the Chrome web browser. In order to become a Google account holder, Plaintiff Woodruff

13   was required to indicate she agreed to uniform conditions drafted and set forth exclusively by

14   Google that govern the relationship between her and Google.

15          54.     On information and belief, like millions of other Americans, Google has sold and

16   shared Woodruff’s personal information through Google RTB. Plaintiff Woodruff frequently uses

17   Chrome to request, obtain and watch audio-visual materials, including materials from publishers

18   for which she is a subscriber. On information and belief, like millions of Americans, Google has

19   sold and shared information about the websites, content, photos, videos, and communications

20   Plaintiff Woodruff sends, receives, views, or otherwise accesses on Chrome through Google’s RTB

21   auctions without her express written consent.

22          55.     Plaintiff Rethena Green is an adult domiciled in Nevada. Plaintiff Green is a Google

23   account holder who has used the Internet, including websites from which Google sold and shared

24   account holder information without authorization, as alleged herein. Plaintiff Green has used the

25   Chrome web browser. In order to become a Google account holder, Plaintiff Green was required to

26   indicate she agreed to uniform conditions drafted and set forth exclusively by Google that govern

27   the relationship between her and Google.

28          56.     On information and belief, like millions of other Americans, Google has sold and

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 1   shared Green’s personal information through Google RTB. Plaintiff Green frequently uses Chrome

 2   to request, obtain and watch audio-visual materials, including materials from publishers for which

 3   she is a subscriber. On information and belief, like millions of Americans, Google has sold and

 4   shared information about the websites, content, photos, videos, and communications Plaintiff Green

 5   sends, receives, views, or otherwise accesses on Chrome through Google’s RTB auctions without

 6   her express written consent.

 7          57.     Plaintiff Salvatore Toronto is an adult domiciled in New Jersey. Plaintiff Toronto is

 8   a Google account holder who has used the Internet, including websites from which Google sold

 9   and shared account holder information without authorization, as alleged herein. Plaintiff Toronto

10   has used the Edge web browser. In order to become a Google account holder, Plaintiff Toronto was

11   required to indicate he agreed to uniform conditions drafted and set forth exclusively by Google

12   that govern the relationship between him and Google.

13          58.     On information and belief, like millions of other Americans, Google has sold and

14   shared Toronto’s personal information through Google RTB. Plaintiff Toronto frequently uses

15   Edge to request, obtain, and watch audio-visual materials, including materials from publishers for

16   which he is a subscriber. On information and belief, like millions of Americans, Google has sold

17   and shared information about the websites, content, photos, videos, and communications Plaintiff

18   Toronto sends, receives, views, or otherwise accesses on Edge through Google’s RTB auctions

19   without his express written consent.

20          59.     Plaintiff Patrick Thompson is an adult domiciled in North Carolina. Plaintiff

21   Thompson is a Google account holder who has used the Internet, including websites from which

22   Google sold and shared account holder information without authorization, as alleged herein.

23   Plaintiff Thompson has used the Safari web browser. In order to become a Google account holder,

24   Plaintiff Thompson was required to indicate he agreed to uniform conditions drafted and set forth

25   exclusively by Google that govern the relationship between him and Google.

26          60.     On information and belief, like millions of other Americans, Google has sold and

27   shared Thompson’s personal information through Google RTB. Plaintiff Thompson frequently uses

28   Safari to request, obtain and watch audio-visual materials, including materials from publishers for

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 1   which he is a subscriber. On information and belief, like millions of Americans, Google has sold

 2   and shared information about the websites, content, photos, videos, and communications Plaintiff

 3   Thompson sends, receives, views, or otherwise accesses on Safari through Google’s RTB auctions

 4   without his express written consent.

 5          61.     Plaintiff Christopher Johnson is an adult domiciled in Texas. Plaintiff Johnson is a

 6   Google account holder who has used the Internet, including websites from which Google sold and

 7   shared account holder information without authorization, as alleged herein. Plaintiff Johnson has

 8   used the Chrome web browser. In order to become a Google account holder, Plaintiff Johnson was

 9   required to indicate he agreed to uniform conditions drafted and set forth exclusively by Google

10   that govern the relationship between him and Google.

11          62.     On information and belief, like millions of other Americans, Google has sold and

12   shared Johnson’s personal information through Google RTB. Plaintiff Johnson frequently uses

13   Chrome to request, obtain and watch audio-visual materials, including materials from publishers

14   for which he is a subscriber. On information and belief, like millions of Americans, Google has

15   sold and shared information about the websites, content, photos, videos, and communications

16   Plaintiff Johnson sends, receives, views, or otherwise accesses on Chrome through Google’s RTB

17   auctions without his express written consent.

18          63.     Plaintiff Meghan Cornelius is an adult domiciled in Texas. Plaintiff Cornelius is a

19   Google account holder who has used the Internet, including websites from which Google sold and

20   shared account holder information without authorization, as alleged herein. Plaintiff Cornelius has

21   used the Chrome and Safari web browsers. In order to become a Google account holder, Plaintiff

22   Cornelius was required to indicate she agreed to uniform conditions drafted and set forth

23   exclusively by Google that govern the relationship between her and Google.

24          64.     On information and belief, like millions of other Americans, Google has sold and

25   shared Cornelius’s personal information through Google RTB. Plaintiff Cornelius frequently uses

26   Chrome and Safari to request, obtain and watch audio-visual materials, including materials from

27   publishers for which she is a subscriber. On information and belief, like millions of Americans,

28   Google has sold and shared information about the websites, content, photos, videos, and

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 1   communications Plaintiff Cornelius sends, receives, views, or otherwise accesses on Chrome and

 2   Safari through Google’s RTB auctions without her express written consent.

 3          65.     Plaintiff Tara Williams is an adult domiciled in Wisconsin. Plaintiff Williams is a

 4   Google account holder who has used the Internet, including websites from which Google sold and

 5   shared account holder information without authorization, as alleged herein. Plaintiff Williams has

 6   used the Safari web browser. In order to become a Google account holder, Plaintiff Williams was

 7   required to indicate she agreed to uniform conditions drafted and set forth exclusively by Google

 8   that govern the relationship between her and Google.

 9          66.     On information and belief, like millions of other Americans, Google has sold and

10   shared Williams’s personal information through Google RTB. Plaintiff Williams frequently uses

11   Safari to request, obtain and watch audio-visual materials, including materials from publishers for

12   which she is a subscriber. On information and belief, like millions of Americans, Google has sold

13   and shared information about the websites, content, photos, videos, and communications Plaintiff

14   Williams sends, receives, views, or otherwise accesses on Safari through Google’s RTB auctions

15   without her express written consent.

16          67.     Plaintiff P.W. is a minor domiciled in Wisconsin. P.W. is under the age of 13. P.W.’s

17   grandparent and legal guardian is Tara Williams, who is also a resident and citizen of the State of

18   Wisconsin, and who is also a named Plaintiff in this case. Plaintiff P.W. is a Google account holder

19   who has used the Internet, including websites from which Google sold and shared account holder

20   information without authorization, as alleged herein. Plaintiff P.W. has used the Chrome and Safari

21   web browsers. In order to become a Google account holder, Plaintiff P.W. was required to indicate

22   they agreed to uniform conditions drafted and set forth exclusively by Google that govern the

23   relationship between them and Google, despite the fact that they were unable to be bound by such

24   an agreement because of their minor status.

25          68.     On information and belief, like millions of other American children, Google has

26   sold and shared P.W.’s personal information through Google RTB. Plaintiff P.W. frequently uses

27   Chrome and Safari to request, obtain and watch audio-visual materials and play video games,

28   including materials from publishers for which they are a subscriber. On information and belief, like

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 1   millions of Americans, Google has sold and shared information about the websites, content, photos,

 2   videos, and communications Plaintiff P.W. sends, receives, views, or otherwise accesses on

 3   Chrome and Safari through Google’s RTB auctions without their express written consent.

 4             B.    Defendant

 5             69.   Defendant Google LLC is a Delaware Limited Liability Company headquartered at

 6   1600 Amphitheatre Parkway, Mountain View, California, whose membership interests are entirely

 7   held by its parent holding company, Alphabet, Inc. (“Alphabet”), headquartered at the same

 8   address. Alphabet trades under the stock trading symbols GOOG and GOOGL. Alphabet generates

 9   revenues primarily by delivering targeted online advertising through the Google subsidiary. All

10   operations relevant to this complaint are run by Google.

11   IV.       FACTUAL ALLEGATIONS

12             A.    Google Repeatedly and Uniformly Promises Google Account Holders That It
                     Will Not Sell Their Personal Information to Others
13
               70.   A Google Account gives a user access to Google products. 6 The user, in turn
                                                                                      5F




14
     becomes a Google account holder (the “Account Holder”).
15
               71.   Google requires an Account Holder to indicate they agree to the Google Terms of
16
     Service (the “Terms of Service”).
17
               72.   The Terms of Service are drafted exclusively by Google.
18
               73.   The Terms of Service at issue were materially identical throughout the Class Period.
19
     All versions of the Terms of Service contain the following assertions material to the claims asserted
20
     herein:
21
                     1.     The Terms of Service Provide That California Law Governs
22
               74.   At all times relevant to Plaintiffs’ allegations, the Terms of Service designated
23
     California law as the governing law.
24
               75.   As a result, Google is bound by California’s definition of “personal information.”
25
               76.   California law broadly defines “personal information” as “information that
26
     identifies, relates to, describes, is reasonably capable of being associated with, or could reasonably
27
     6
      Google Account Help, Create A Google Account, https://support.google.com/accounts/answer/
28   27441?hl=en&ref_topic=3382296 (last accessed Aug. 23, 2021).
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 1   be linked, directly or indirectly, with a particular consumer or household.” CAL. CIV. CODE

 2   § 1798.140(o)(1) (emphasis added).

 3          77.     California law also provides a non-exhaustive list of information deemed to be

 4   personal information: “Personal information includes, but is not limited to, the following if it

 5   identifies, relates to, describes, is reasonably capable of being associated with, or could be

 6   reasonably linked, directly or indirectly, with a particular consumer or household:

 7                  a.     Identifiers such as a real name, alias, postal address, unique personal
                           identifier, online identifier, internet protocol address, email address, account
 8                         name, social security number, driver’s license number, passport number, or
                           other similar identifiers.
 9
                    b.     Any categories of personal information described in subdivision (e) of
10                         Section 1798.80.

11                  c.     Characteristics of protected classifications under California or federal law.

12                  d.     Commercial information, including records of personal property, products
                           or services purchased, obtained, or considered, or other purchasing or
13                         consuming histories or tendencies.

14                  e.     Biometric information.

15                  f.     Internet or other electronic network activity information, including, but not
                           limited to, browsing history, search history, and information regarding a
16                         consumer’s interaction with an internet website, application, or
                           advertisement.
17
                    g.     Geolocation data.
18
                    h.     Audio, electronic, visual, thermal, olfactory, or similar information.
19
                    i.     Professional or employment-related information.
20
                    j.     Education information, defined as information that is not publicly available
21                         personally identifiable information as defined in the Family Educational
                           Rights and Privacy Act (20 U.S.C. § 1232(g); 34 C.F.R. Part 99).
22
                    k.     Inferences drawn from any of the information identified in this subdivision
23                         to create a profile about a consumer reflecting the consumer’s preferences,
                           characteristics, psychological trends, predispositions, behavior, attitudes,
24                         intelligence, abilities, and aptitudes.”

25   Id.

26                  2.     Google’s Terms of Service Specifically Provide That Google Will Not
                           Sell or Share Personal Information
27
            78.     Since March 31, 2020, the Terms of Service have stated: “You have no obligation
28

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 1   to provide any content to our services and you’re free to choose the content that you want to

 2   provide.” Ex. 4 at 5.

 3             79.       The second paragraph of the Terms of Service provides:

 4

 5

 6

 7

 8

 9

10

11

12

13
               80.       The reference and hyperlink to “the way Google’s business works” takes the
14
     Account Holder to Google’s “How our business works” page, thereby incorporating that linked
15
     document into the Terms of Service. On the very first page of that linked document, in large type,
16
     Google declares: “We don’t sell your personal information to anyone.” Google also states:
17
     “[W]e never sell your personal information to anyone[.]” 7
18
                                                                    6F




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24
               81.       The “the way Google’s business works” page further promises: 8
25
                                                                                     7F




26

27   7
         Ex. 5 at 1–2.
28   8
         Id. at 1–2.
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                   a.      “Advertisers do not pay us for personal information[.]”
 1
                   b.      “[W]e never share that information with advertisers, unless you ask us to.”
 2
                   c.      “We also never use your emails, documents, photos, or sensitive information
 3                         like race, religion, or sexual orientation, to personalize ads to you.”

 4                 d.      “We share reports with our advertisers to help them understand the
                           performance of their ads, but we do so without revealing any of your
 5                         personal information.”

 6                 e.      “At every point in the process of showing you ads, we keep your personal
                           information protected with industry-leading security technologies.”
 7
            82.    A reasonable Google Account Holder reading Google’s Terms of Service would
 8
     understand the foregoing terms to mean what they say — that Google “never sell[s]” Google
 9
     Account Holders’ “personal information” “to anyone.”
10
                   3.      Google’s Privacy Policy Similarly Promises That Google Does Not Sell
11                         or Share Personal Information
12          83.    Prior to around May 2018, Account Holders who created a Google Account were
13   required to agree to both the Terms of Service and Google’s Privacy Policy (the “Privacy Policy”).
14          84.    From around May 2018 to the present, Account Holders who created a Google
15   Account were required to agree only to the Terms of Service. Nonetheless, during this period, the
16   Google Account creation process still included a link (see below) to the Privacy Policy as a guide
17   to how Google would “process your information.” 9 As described further below, the Privacy Policy
                                                         8F




18   during this time contained repeated assurances and representations from Google regarding how
19   Google would process Account Holders’ information.
20

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     9
        See, e.g., Tom Leeman, How to Create a Google Account, YouTube (Feb. 2, 2020)
28   https://www.youtube.com/watch?v=ArZpwBl_z10 (at 4:40-4:45).
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 8          85.     From March 31, 2020 to the present, the Terms of Service refer to the Privacy
 9   Policy, but state that the Privacy Policy is “not part of these terms.” Ex. 4 at 1. During this time
10   period, the Terms of Service expressly state that the “Terms of Service reflect the way Google’s
11   business works [hyperlink].” Id. The hyperlink takes an Account Holder to the “How our business
12   works” webpage, thereby incorporating the terms set forth on that webpage into the Terms of
13   Service. Thus, as of March 31, 2020, the contract between the parties consisted of the Terms of
14   Service and Google’s “How our business works” webpage (discussed above, see supra ¶ 80).
15          86.     Like the Terms of Service, the Privacy Policy made promises to Account Holders
16   throughout the Class Period regarding the protection of their personal information.
17          87.     The Privacy Policy tracks the California statutory definition of “personal
18   information,” defining it as “information that you provide to us which personally identifies you,
19   such as your name, email address, or billing information, or other data that can be reasonably
20   linked to such information by Google, such as information we associate with your Google
21   Account.” See Ex. 15 at 28 (emphases added).
22          88.     The Privacy Policy describes the information Google “associate[s] with … Google
23   Accounts” — which, by Google’s own definition, is “personal information” — to include the
24   following:
25

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 8   See, e.g., id. at 2.

 9           89.      The document at the “unique identifiers” hyperlink defines a unique identifier as “a

10   string of characters that can be used to uniquely identify a browser, app, or device,” which includes

11   cookies, advertising IDs, and other unique device identifiers. See, e.g., id. at 29.

12           90.      Google associates these unique identifiers — cookies, IP addresses, User-Agent

13   information, advertising IDs, other unique device identifiers, and browsing history information —

14   with individual accounts that include names, email addresses, geolocation, and all other information

15   Google maintains on individual Account Holders.

16           91.      But Google expressly assures Account Holders that personal information will not

17   be shared with third parties without Account Holders’ consent. Specifically, the Privacy Policy

18   makes the following promises, among others:

19                    a.     “We do not share your personal information with companies, organizations,
                             or individuals outside of Google except…[:]” 1) “With your consent;” 2)
20                           “With domain administrators;” 3) “For external processing”; and 4) “For
                             legal reasons.” E.g., Ex. 6 at 6; Ex. 15 at 11-12. Google has made this
21                           promise in the Google Privacy Policy since at least March 1, 2012.
22                    b.     “We don’t share information that personally identifies you with
                             advertisers[.]” E.g., Ex. 12 at 5; Ex. 15 at 5. Google has made this promise
23                           in the Google Privacy Policy since at least May 25, 2018.
24                    c.     “We don’t show you personalized ads based on sensitive categories
                             [hyperlink], such as race, religion, sexual orientation, or health.” E.g., Ex.
25                           12 at 5; Ex. 15 at 5. Google has made this promise in the Google Privacy
                             Policy since at least May 25, 2018.
26
                      d.     The Google Privacy Policy includes a definition of “sensitive categories”
27                           that promises: “We don’t use topics or show personalized ads based on
                             sensitive categories like race, religion, sexual orientation, or health. And we
28

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                             require the same from advertisers [hyperlink] that use our services.” 10 E.g.,
                                                                                                       9F




 1                           Ex. 12 at 21; Ex. 15 at 22. Google has made this promise in the Google
                             Privacy Policy since at least May 25, 2018.
 2
             92.     Also, since at least May 25, 2018, Google has acknowledged its responsibility to
 3
     keep users’ personal information secure, stating: “When you use our services, you’re trusting us
 4
     with your information. We understand this is a big responsibility and work hard to protect your
 5
     information[.]” E.g., Ex. 12 at 1; Ex. 15 at 1; Ex. 20 at 1.
 6
             93.     Where the Privacy Policy mentions sharing information with “partners,” it
 7
     emphasizes and promises that the information shared is not “personally identifiable”:
 8

 9

10

11

12

13

14
     E.g., Ex. 15 at 12.
15
             94.     Paradoxically, this portion of the Privacy Policy appears to define “non-personally
16
     identifiable information” as “information that is recorded about users so that it no longer reflects
17
     or references an individually-identifiable user.” E.g., id. at 27. As described, this definition conflicts
18
     with California law (as discussed above), as well as the definition Google itself provides elsewhere
19
     in the Privacy Policy, both of which contemplate that the data Google associates with individual
20
     Account Holders is “personal information,” regardless of whether it “no longer reflects or
21
     references an individually-identifiable user.” See, e.g., id. at 28.
22
             95.     A reasonable Google Account Holder reading the disclosure set forth above in ¶ 91
23
     together with the other disclosures in the Privacy Policy would understand it to mean that the “non-
24
     personally identifiable information” that Google may share publicly and with its partners does not
25
     include any information that is recorded about users or that Google may associate with individual
26
     Account Holders. This reasonable expectation is consistent with applicable California law.
27
     10
       The words “require the same from advertisers” provide a hyperlink to a separate policy titled
28   “Personalized Advertising” detailed below. See infra ¶¶ 102-104.
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 1          96.     Further, Google’s statement that it “allow[s] specific partners to collect information

 2   from your browser or device for advertising and measurement purposes using their own cookies or

 3   similar technologies” is limited to the “specific partners” listed in the hyperlink. Those “specific

 4   partners” are Nielsen, comScore, Integral Ad Science, DoubleVerify, Oracle Data Cloud, Kantar,

 5   and RN SSI Group, and Google promises that their use is limited to “non-personally identifiable

 6   information.” Ex. 21 at 1. In the section identifying these partners, Google repeats the promise,

 7   “We don’t share information that personally identifies you with our advertising partners[.]” Id. at

 8   2. Accordingly, a reasonable Google Account Holder reading the disclosure set forth above would

 9   understand it to mean that the “information” that Google allows its “specific partners” to “collect”

10   is limited to “non-personally identifiable information” and, thus, does not include any information

11   that is recorded about users or that Google may associate with individual Account Holders.

12                  4.      Google Makes Additional Statements Promising Not to Sell or Share
                            Account Holders’ Personal Information
13
            97.     In addition to the contractual promises Google makes to Account Holders, Google
14
     has made similar promises elsewhere on its website and in the public sphere. These include but are
15
     not be limited to: (1) the “Who are Google’s Partners” webpage, (2) the “Personalized Advertising”
16
     webpage, (3) the “We do not sell your personal information to anyone” webpage, (4) the “Your
17
     privacy is protected by responsible data practices” webpage, (5) Google CEO Sundar Pichai’s
18
     statement and testimony before Congress when Google was facing inquiry into its privacy practices,
19
     and (6) an op-ed from Mr. Pichai that was published in The New York Times.
20
                            a.    Promises on the “Who are Google’s Partners” Webpage
21
            98.     As alleged above, the Privacy Policy states that it “allow[s] specific partners
22
     [hyperlink] to collect information from your browser or device for advertising and measurement
23
     purposes using their own cookies or similar technologies.”
24
            99.     The hyperlink for “specific partners” takes an Account Holder to the “Who are
25
     Google’s Partners” webpage where Google reiterates: “We don’t share information that
26
     personally identifies you with our advertising partners, such as your name or email, unless you
27
     ask us to share it.” Ex. 21 at 2 (emphasis added).
28

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 1          100.    The same webpage identifies seven specific “partners” (Nielsen, comScore, Integral

 2   Ad Science, DoubleVerify, Oracle Data Cloud, Kantar, and RN SSI Group) that Google permits to

 3   “collect or receive non-personally identifiable information about your browser or device when you

 4   use Google sites or apps.” Id. at 1 (emphasis added). Thus, Google promises its account holders

 5   that it does not share personal information with those partners.

 6          101.    The webpage fails to disclose, however, that Google sends Account Holder personal

 7   information to hundreds of other companies and advertising partners not identified on this page,

 8   and that Google works with nearly 1.3 million different publishers that Google sometimes refers to

 9   as partners and with which Google routinely shares Account Holder personal information.

10                          b.     Promises on the “Personalized Advertising” Webpage

11          102.    Under the definition of “sensitive categories,” the Privacy Policy provides a

12   hyperlink to an Advertising Policies Help webpage titled “Personalized Advertising.” See, e.g., Ex.

13   15 at 22.

14          103.    According to Google, this webpage is applicable to “all Google features using

15   personalized advertising functionality.” Ex. 22 at 1.

16          104.    On this webpage, Google repeats its promises about sensitive categories, stating:

17                  a.      “Advertisers can’t use sensitive interest categories to target ads to users or
                            to promote advertisers’ products or services.” Id. at 2.
18
                    b.      “Personal hardships: Because we don’t want ads to exploit the difficulties or
19                          struggles of users, we don’t allow categories related to personal hardships.”
                            Id.
20
                    c.      “Identity and belief: Because we want ads to reflect a user’s interests rather
21                          than more personal interpretations of their fundamental identity, we don’t
                            allow categories related to identity and belief, some of which could also be
22                          used to stigmatize an individual.” Id.

23                  d.      “Sexual interests: Because we understand that sexual experiences and
                            interests are inherently private, we don’t allow categories related to sexual
24                          interests.” Id.

25          105.    On the same webpage, under the header “Prohibited Categories,” Google promises
26   that “[t]he following sensitive interest categories can’t be used by advertisers to target ads to users
27   or to promote advertisers’ products or services” (id.):
28

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                  a.     Restricted drug terms – “Prescription medications and information about
 1                       prescription medications, unless the medication and any listed ingredients
                         are only intended for animal use and are not prone to human abuse or other
 2                       misuse.” Id. at 3.

 3                b.     “Personal hardships – We understand that users don’t want to see ads that
                         exploit their personal struggles, difficulties, and hardships, so we don’t allow
 4                       personalized advertising based on these hardships. Such personal hardships
                         include health conditions, treatments, procedures, personal failings,
 5                       struggles, or traumatic personal experiences. You also can’t impose
                         negativity on the user.” Id.
 6
                  c.     “Health in personalized advertising [including] Physical or mental health
 7                       conditions, including diseases, sexual health, and chronic health conditions,
                         which are health conditions that require long-term care or management[;]
 8                       products, services, or procedures to treat or manage chronic health
                         conditions, which includes over-the-counter medications and medical
 9                       devices[;] any health issues associated with intimate body parts or functions,
                         which includes genital, bowel, or urinary health[;] invasive medical
10                       procedures, which includes cosmetic surgery[;] Disabilities, even when
                         content is oriented toward the user’s primary caretaker. Examples [include]
11                       Treatments for chronic health conditions like diabetes or arthritis, treatments
                         for sexually transmitted diseases, counseling services for mental health
12                       issues like depression or anxiety, medical devices for sleep apnea like CPAP
                         machines, over-the-counter medications for yeast infections, [and]
13                       information about how to support your autistic child.” Id.

14                d.     “Relationships in personalized advertising [including] Personal hardships
                         with family, friends, or other interpersonal relationships. Examples [include]
15                       divorce services, books about coping with divorce, bereavement products or
                         services, family counseling services[.]” Id. at 4.
16
                  e.      “Sexual orientation in personalized advertising [including] lesbian, gay,
17                       bisexual, questioning, or heterosexual orientation[.] Examples [include]
                         information about revealing your homosexuality, gay dating, gay travel,
18                       information about bisexuality.” Id. at 4-5.

19                f.     “Personal race or ethnicity.” Id. at 5.

20                g.     “Personal religious beliefs.” Id.

21                       c.     Promises on the “We Do Not Sell Your Personal Information to
                                Anyone” Webpage
22
           106.   On a Google webpage titled “We do not sell your personal information to anyone,”
23
     Google promises:
24
                  a.     “We do not sell your personal information to anyone.” Ex. 23 at 1.
25
                  b.     “Without identifying you personally to advertisers or other third parties, we
26                       might use data that includes your searches and location, websites and apps
                         that you’ve used, videos and ads that you’ve seen, and basic information that
27                       you’ve given us, such as your age range and gender.” Id.
28

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                       c.     “We give advertisers data about their ads’ performance, but we do so without
 1                            revealing any of your personal information. At every point in the process of
                              showing you ads, we keep your personal information protected and private.”
 2                            Id.

 3                     d.     “[R]emember, we never share any of this personal information with
                              advertisers.” Id. at 2.
 4
                              d.     Promises on the “Your Privacy Is Protected by Responsible Data
 5                                   Practices” Webpage

 6             107.    On its webpage “Your privacy is protected by responsible data practices,” 11 Google
                                                                                                10F




 7   promises:

 8                     a.     “Data plays an important role in making the products and services you use
                              every day more helpful. We are committed to treating that data responsibly
 9                            and protecting your privacy with strict protocols and innovative privacy
                              technologies.” Ex. 24 at 1.
10
                       b.     “We never sell your personal information, and give you controls over who
11                            has access[.]” Id. at 2.

12                     c.     That it uses “advanced privacy technologies [to] help keep your personal
                              information private.” Id. at 3.
13
                       d.     “We are continuously innovating new technologies that protect your private
14                            information without impacting your experiences on our products.” Id.

15                     e.     “We use leading anonymization techniques to protect your data while
                              making our services work better for you.” Id. at 3-4.
16
                       f.     “Privacy is core to how we build our products, with rigorous privacy
17                            standards guiding every stage of product development. Each product and
                              feature adheres to these privacy standards, which are implemented through
18                            comprehensive privacy reviews.” Id. at 4.

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28   11
          https://safety.google/intl/en_us/privacy/data/
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 1          108.   Screenshot examples from this webpage are provided below:

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26                        e.    Google CEO Sundar Pichai’s Promises

27          109.   On December 11, 2018, Google CEO Sundar Pichai testified on behalf of Google

28   before Congress and repeated the unequivocal promise, “We do not and would never sell consumer

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 1   data.” 12
             11F




 2                 110.   On May 7, 2019, Mr. Pichai published an opinion piece in The New York Times in

 3   which he said the following:

 4                        Many words have been written about privacy over the past year,
                          including in these pages. I believe it’s one of the most important
 5                        topics of our time.

 6                        People today are rightly concerned about how their information is
                          used and shared, yet they all define privacy in their own ways. I’ve
 7                        seen this firsthand as I talk to people in different parts of the world.
                          To the families using the internet through a shared device, privacy
 8                        might mean privacy from one another. To the small-business owner
                          who wants to start accepting credit card payments, privacy means
 9                        keeping customer data secure. To the teenager sharing selfies,
                          privacy could mean the ability to delete that data in the future.
10
                          Privacy is personal, which makes it even more vital for companies
11                        to give people clear, individual choices around how their data is
                          used. Over the past 20 years, billions of people have trusted Google
12                        with questions they wouldn’t have asked their closest friends: How
                          do you know if you’re in love? Why isn’t my baby sleeping? What
13                        is this weird rash on my arm? We’ve worked hard to continually
                          earn that trust by providing accurate answers and keeping your
14                        questions private. We’ve stayed focused on the products and
                          features that make privacy a reality — for everyone.
15
                          Our mission compels us to take the same approach to privacy. For
16                        us, that means privacy cannot be a luxury good offered only to
                          people who can afford to buy premium products and services.
17                        Privacy must be equally available to everyone in the world.

18                                                       *       *       *

19                        To make privacy real, we give you clear, meaningful choices around your
                          data. All while staying true to two unequivocal policies: that Google will
20                        never sell any personal information to third parties; and that you get to
                          decide how your information is used. 13 12F




21

22                 111.   On October 28, 2020, during his testimony before the Senate Committee on

23   Commerce, Science and Transportation, Pichai stated: “Privacy is one of the most important areas

24   we invest in as a company. Have thousands of engineers working on it. We believe in giving users

25   control, choice, and transparency. And anytime we associate data with users, we are transparent.”

26   12
       See Google CEO Sundar Pichai Testifies Before the House Judiciary Committee (Dec. 11, 2018),
     available at https://www.c-span.org/video/?455607-1/google-ceo-sundar-pichai-testifies-data-
27   privacy-bias-concerns# (at 1:33:51).
28   13
          Ex. 25 at 1 (emphasis added).
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                    5.       A Summary of Google’s Promises
 1
            112.    In sum, Google repeatedly makes the following promises to individuals who sign
 2
     up for a Google Account:
 3
                    a.       “We don’t sell your personal information to anyone.” Ex. 5 at 1.
 4
                    b.       “[W]e never sell your personal information to anyone[.]” Id.
 5
                    c.       “Advertisers do not pay us for personal information[.]” Id.
 6
                    d.       “[W]e never share that information with advertisers, unless you ask us to.”
 7                           Id. at 2.
 8                  e.       “We share reports with our advertisers …, but we do so without revealing
                             any of your personal information.” Id.
 9
                    f.       “At every point in the process of showing you ads, we keep your personal
10                           information protected with industry-leading security technologies.” Id.
11                  g.       “We also never use your … sensitive information like race, religion, or
                             sexual orientation, to personalize ads to you.” Id. at 1.
12
                    h.       “We do not and would never sell consumer data.” Pichai, supra note 12.
13
                    i.       “We do not share your personal information with companies, organizations,
14                           or individuals outside of Google” except in limited circumstances. See, e.g.,
                             Ex. 15 at 11-12.
15
            B.      Google Repeatedly Violates Its Promises to Account Holders by Selling Their
16                  Personal Information on Google RTB
17                  1.       The Google RTB Process

18          113.    Google operates the world’s largest ad exchange, the Google Ad Exchange, a digital
19   marketplace that facilitates the buying and selling of advertising inventory. Through the RTB
20   auction process on the Google Ad Exchange, Google shares and sells users’ personal information
21   with Google RTB participants to solicit bids for the right to display what is essentially a real-time,
22   near-instantaneous advertisement to a specific user.
23          114.    Thus, the Google RTB is an automated auction system where Google Account
24   Holders’ personal information is continually siphoned out and sold to hundreds of participants for
25   advertising purposes.
26          115.    Google RTB bidders bid on the “cost per mille” – the cost per one thousand
27   impressions – which is used to measure how many impressions have been made by an ad.
28

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 1           116.    The Google RTB process – from the offer of a targeted ad placement based on a

 2   specific user’s personal information, to the solicitation of bids, to the sale to the highest bidder, to

 3   the placement of the winning bidder’s ad on the specific user’s personal device – takes less than a

 4   hundred milliseconds. For perspective, it takes 300 milliseconds to blink an eye. Hence the name

 5   “real time bidding.”

 6           117.    Google RTB is invisible and undisclosed to Account Holders.

 7           118.    To understand the many ways in which Google is selling Account Holders’

 8   information, and how many companies Google is selling it to, it helps to first understand the ad

 9   ecosystem in which these auctions occur.

10           119.    Account Holders’ information passes through multiple layers of what is referred to

11   as an “Ad Stack” as the data is re-directed by Google to various third parties.

12           120.    The Ad Stack consists of between three to five layers depending on the ad:

13                   a.      The publisher is the website (or entity controlling the website) that has ad
                             space to sell on its website;
14
                     b.      The supply side platform (“SSP”) is an entity that collects Account Holder
15                           data to sell and ad space inventory to populate with ads targeted to those
                             Account Holders;
16
                     c.      The ad exchange organizes auctions between each side of the Ad Stack;
17
                     d.      The demand-side platform (“DSP”) bids on behalf of advertisers to show
18                           ads to specific Account Holders; and

19                   e.      The advertiser purchases ads targeted to specific Account Holders.

20
             121.    In practice, for any single ad placement to a specific user, the Ad Stack may be
21
     compressed. For example, a DSP could place an ad for itself, rather than for another advertiser on
22
     whose behalf the DSP has been contracted to submit a bid. If a DSP wins an auction on behalf of
23
     itself, the DSP is also the advertiser for that particular ad.
24
             122.    Likewise, a publisher in one ad auction may be an advertiser in another. For
25
     example, The New York Times sells ads targeted to specific users on its own websites through this
26
     system – and may also pay for ads targeted to users on other websites.
27
             123.    Google compresses the Ad Stack in Google RTB because Google controls
28

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 1   significant players at the SSP, ad exchange, and DSP layers of the Ad Stack.

 2            124.   Conversely, according to the ICCL lawsuit filed in Hamburg, there may also be

 3   auctions of auctions in which several ad exchanges each send bid requests to a large number of

 4   companies to solicit bids for a single ad space. 14
                                                     13F




 5            125.   On the supply side, Google’s AdMob is the most popular SSP for apps on iOS and

 6   Android, the two dominant mobile operating systems. AdMob creates software development kits

 7   (“SDKs”) for publishers to incorporate into their apps. AdMob’s SDKs serve as the mechanism

 8   for exchanging information between ad exchanges (the auction) and the developers. Within an app,

 9   AdMob code collects information and shares it with Google through the bidding process. Google

10   purchased AdMob in 2009. Account Holders’ phones share information with Google and ad

11   exchanges.

12            126.   According to the company MightySignal, an analytics firm that “provides detailed

13   and accurate mobile data,” Google AdMob is currently installed on:

14                   a.     129,273 apps as of February 1, 2021 – or 82 percent of the Monetization
                            SDK market on Apple devices, including 136 of the top 200 apps in Apple
15                          iOS products; 15 and
                                            14F




16                   b.     1,013,605 apps as of February 1, 2021 – or 97 percent of the Monetization
                            SDK market on Android devices, included 146 of the top 200 apps on
17                          Android. 16
                                      15F




18            127.   Google’s Ad Manager is among the most prominent and used SSP for websites and

19   functions just as AdMob does for smartphone and handheld device apps. Publishers install Google’s

20   code on their websites, which make requests to Google tied to identifying cookies.

21            128.   After data leaves an Account Holder’s device to be exchanged with the website with

22   which the Account Holder is communicating, Google contemporaneously redirects the Account

23   Holder’s personal information and the content of the communication being exchanged with the

24   website to Google RTB, which, in turn, contemporaneously redirects the personal information and

25   14
        ICCL complaint (English translation) at p.13, available at https://www.iccl.ie/wp-content/
     uploads/2021/06/ENGLISH-TRANSLATION-MACHINE-TRANSLATED-COMPRESSED-
26   Schriftsatz-an-das-Landgericht-Hamburg.pdf.
27   15
          https://mightysignal.com/sdk/ios/1162/google-admob
28   16
          https://mightysignal.com/sdk/android/55931/google-admob
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 1   contents to hundreds of different participants on Google RTB. Google RTB participants then

 2   consider the personal information of the Account Holder on whose device the ad will be displayed,

 3   and calculate how much they are willing to bid for that specific Account Holder (i.e., the Target).

 4   As explained above, the entire process takes less time than it does to blink an eye.

 5           129.    The Google RTB sells approximately 53 percent of all ad exchange transactions.

 6           130.    On the demand side, Google also has the world’s largest DSP. For example, millions

 7   of advertisers contract through Google DoubleClick or Google Ads to target specific users with

 8   specific attributes.

 9           131.    In the Google RTB process, Google sends bid requests to DSPs from publishers to

10   solicit bids from the DSPs based on the personal information of Account Holders. Thus, Google

11   holds the auction and awards the winning bid.

12           132.    All participants in Google RTB are part of the Bidstream, receiving Google’s Bid

13   Request, which is the vehicle through which Google sells and shares Account Holder personal

14   information.

15           133.    As illustrated below, the Bid Request moves from the publisher’s website

16   (https://website.com in the illustration), to the SSP, to the ad exchange (Google RTB), which fills

17   out a “Bid Request,” which is sent to DSPs, who bid on behalf of advertisers based on the personal

18   information that is provided in the Bid Request.

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18                           Data flows in a typical real-time bidding system 17
                                                                             16F




19
            134.    A concrete example helps illustrate the process. Consider a situation where The New
20
     York Times reserves advertising space on its own website to sell through Google RTB. An Account
21
     Holder views a specific page, in this example an article on post-partum depression, by entering the
22
     web address in the navigation bar of his or her web browser and hits ENTER. This triggers the web
23
     browser to send a GET request (or electronic communication) to The New York Times, which, in
24
     turn, responds by displaying The New York Times article on the Account Holder’s device. Common
25

26
     17
       Bennett Cyphers, Google Says It Doesn’t ‘Sell’ Your Data. Here’s How the Company Shares,
27   Monetizes, and Exploits It, Electronic Frontier Foundation (Mar. 19, 2020), https://www.eff.org/
     deeplinks/2020/03/google-says-it-doesnt-sell-your-data-heres-how-company-shares-monetizes-
28   and.
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 1   experience shows that the requested webpage will display in a matter of seconds. But what the

 2   Account Holder does not know is that the request to view The New York Times article on postpartum

 3   depression is also accompanied by a “cookie,” which is sent from the Account Holder’s web

 4   browser to the SSP (recall that an SSP is an entity that collects Account Holder information to sell

 5   ad space for targeted advertising). If the SSP is AdMob, which is owned by Google, AdMob

 6   matches the cookie to the Account Holder’s personal information stored by Google. As one of the

 7   preeminent data companies in the world, Google’s storage of individuals’ personal information is

 8   vast and, consequently, its capability to connect cookies to personal information is unprecedented.

 9   From Google’s vast data store, Google RTB creates a Bid Request – containing the Account

10   Holder’s personal information and the content of the specific article that is the subject of the

11   Account Holder’s communication. This Bid Request is then sent to DSP participants of the Google

12   RTB (recall that DSPs bid on behalf of advertisers to display targeted ads on available ad space).

13   All Google RTB participants, in turn, can view, collect, and use the information in the Bid Request

14   to determine whether and in what amount they will pay to deliver an ad to the specific Account

15   Holder in question. Bids are submitted and the highest bidder wins the right to place its ad (or its

16   client’s ad) on The New York Times postpartum depression article that the Account Holder is

17   viewing. This is all done by algorithm and, as set forth above, the entire process takes milliseconds:

18   between the time the Account Holder clicks to access the article and the seconds it takes for the

19   article display, Google RTB has collected, disseminated, and sold the Account Holder’s personal

20   information to hundreds of Google RTB participants for the purpose of targeted advertising.

21                    2.     The Google RTB Shares Account Holders’ Personal Information

22             135.   Google publishes several documents in which it explains how Google RTB Bid

23   Requests are structured. Among them are documents titled:

24                    a.     OpenRTB Integration; 18
                                                   17F




25                    b.     Real-Time Bidding Protocol Buffer v.199; 1918F




26

27   18
          https://developers.google.com/authorized-buyers/rtb/openrtb-guide
28   19
          https://developers.google.com/authorized-buyers/rtb/downloads/realtime-bidding-proto
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                      c.       Authorized Buyers Real-time Bidding Proto; 20 and
                                                                            19F




 1
                      d.       Infrastructure Options for RTB Bidders (part 4). 2120F




 2
                               a.     OpenRTB Integration
 3
               136.   OpenRTB Integration provides a chart with “Bid request variables and definitions”
 4
     involved in Google OpenRTB.
 5
               137.   The following chart provides a subset of the Bid Request variables that OpenRTB
 6
     Integration shares with developers:
 7
                                                  CATEGORIES
 8    site                 Details about the publisher’s website.
      app                  Details about the publisher’s app.
 9    device               Details about the user’s device to which the impression will be delivered.
      user                 Details about the human user of the device; the advertising audience.
10    name                 Site or app name.
11    domain               Domain of the site or app. For example, “foo.com”.
                                        COMMUNICATIONS CONTENT
12    cat                  Array of IAB content categories of the site or app.
      sectioncat           Array of IAB content categories that describe current section of site or app.
13    pagecat              Array of IAB content categories that describe current site or app page or view.
      page                 URL of the page where the impression will be shown.
14    ref                  Referrer URL that caused navigation to the current page.
      publisher            Details about the Publisher object of the site or app.
15    content              Details about the Content within the site or app.
      keywords             Comma-separated list of keywords about this site or app.
16    content id           ID uniquely identifying the content.
      episode              Content episode number (typically applies to video content).
17    title                Content title. Video examples: “Search Committee” (television); “A New Hope
                           (movie); or “Endgame” (made for web). Non-video example: “Why an
18                         Antarctic Glacier is Melting So Quickly” (Time magazine article).
      series               Content series. Video examples: “The Office” (television); “Star Wars”
19                         (movie); or “Arby ‘N’ The Chief (made for web). Non-video example:
                           (“Ecocentric”) (Time magazine blog).
20                                                    DEVICE
      dnt                  Standard ‘Do Not Track’ flag as set in the header by the browser.
21    ua                   Browser user-agent string.
      ip                   IPv4 address closest to device.
22    geo                  Location of the device assumed to be the user’s current location defined by a
                           Geo object.
23    didsha1              Hardwire device ID.
      dpidsha1             Platform device ID (e.g. Android ID).
24    ipv6                 IPv6 address closest to device.
      carrier              Carrier or ISP, using exchange curated string names which should be published
25                         to bidders a priori.
      make                 Device make (e.g. Apple).
26

27   20
          https://developers.google.com/authorized-buyers/rtb/realtime-bidding-guide
28   21
          https://cloud.google.com/solutions/infrastructure-options-for-rtb-bidders
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      model               Device model (e.g. iPhone).
 1    os                  Device operating system (e.g. iOS).
      osv                 Device operating system version.
 2    hwv                 Hardware version of the device (e.g. ‘5S’ for iPhone 5S).
      devicetype          The general type of device.
 3    ifa                 ID sanctioned for advertiser use in the clear.
      macsha1             MAC address of the device.
 4                                              GEO-LOCATION
      lat                 Latitude from -90.0 to 90.0, where negative is south.
 5    lon                 Longitude from -180.0 to 180.0 where negative is west.
      country             Country.
 6    region              Region.
 7    metro               Google metro code; similar to but not exactly Nielson DMAs.
      city                City using United Nations Code for Trade & Transport.
 8    zip                 Zip/postal code.
      type                Source of location data.
 9    accuracy            Estimated location accuracy.
      lastfix             Number of seconds since this geolocation fix was established.
10                                                     USER
      Id                  Exchange-specific id for the user.
11    Buyerid             Buyer-specific ID as mapped by the exchange for the buyer.
      Gender              Gender as ‘M’ male, ‘F’ female, ‘O’ other.
12    Keywords            Comma-separated list of keywords, interests, or intent.
      Customdata          Optional feature to pass bidder data set in the exchange’s cookie.
13    Geo                 Location of the user’s home based defined by a Geo object. This is not
                          necessarily their current location.
14    Data                Values for this field are now redacted. Segment.id references the exchange-
                          detected vertical of the page. Segment.value corresponds to the weight of that
15                        detected vertical, a higher weight suggesting the page is more relevant for the
                          detected vertical.
16
                              b.     Real-Time Bidding Protocol Buffer v.199
17
              138.   Real-Time Bidding Protocol Buffer v.199 provides further details. It explains of the
18
     protocol that it is “the message that Google uses to request bids” and confirms that the same
19
     categories of personal information are sent to bidders as those set forth in the OpenRTB Integration
20
     chart (see above).
21
              139.   Real-Time Bidding Protocol Buffer v.199 illustrates that the personal information
22
     about an Account Holder is the key item for sale based on the order in which the re-directed data
23
     is provided from Google to the bidders.
24
              140.   As shown in Real-Time Bidding Protocol Buffer v.199, data is shared in the
25
     following order:
26
                              SPECIFIC REQUEST IDENTIFIER
27    1      BidRequest           Unique request id generated by Google. This is 16 bytes long.
                      “INFORMATION THAT WE KNOW ABOUT THE USER”
28

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     2   IP address              The first 3 bytes of IPv4 or first 6 bytes for IPv6.
 1   3   Special Treatment       Reasons for special treatment of user data. For example, if the
                                 “current request should be treated as child-directed for
 2                               purposes of the Children’s Online Privacy Protection Act.”
      4 Google ID                “The Google ID for the user. … This field may be the same as
 3                               the Google ID returned by the cookie matching service.”
      5 Google ID Version        “The version number of the google_user_id. We may
 4                               sometimes change the mapping from cookie to
                                 google_user_id.”
 5    6 Google ID Age            “The time in seconds since the google_user_id was created.”
      7 Match Data               “Match data stored for this google_user_id through the cookie
 6                               matching service. If a match exists, then this field holds the
                                 decoded data that was passed in the google_hm parameter.”
 7    8 User-Agent               “A string that identifies the browser and type of device that
                                 sent the request.”
 8    9 FLoC                     “The value of a cohort ID – a string identifier that is common
                                 to a large cohort of users with similar browsing habits. …
 9                               Experimental feature: may be subject to change.”
     10 User Agent Information   “This will be populated with information about the user agent,
10                               extracted from the User-Agent header.”
     11 Publisher location       The billing address country of the publisher.
11   12 End-user location        The user’s approximate geographic location.
     13 Zip code                 Detected postal code of the user.
12
     14 Hyperlocal               A hyperlocal targeting location when available.
13   15 User verticals           “List of detected user verticals. Currently unused. This field is
                                 not populated by default. We recommend that bidders instead
14                               store and look up list ids using either google_user_id or
                                 hosted-match-data as keys.”
15   16 User-list                The user list id.
       “INFORMATION THAT WE KNOW ABOUT THE WEB PAGE OR MOBILE APP”
16   17 Publisher ID             The publisher ID.
     18 Seller network ID        The seller network ID.
17   19 Partner ID               ID for the partner that provides this inventory.
     20 URL                      The URL of the page with parameters removed.
18   21 Bool                     Indicates that the request is using semi-transparent branding
                                 which means only a truncated version of the request URL
19                               provided.
     22 String                   An id for the domain of the page that is set when the inventory
20                               is anonymous.
     23 String language          Detected user languages based on the language of the
21                               webpage.
     24 Detected Verticals       One or more detected verticals for page as determined by
22                               Google.
     25 Vertical Weight          Weight for each vertical.
23   26 Ordered Verticals        Orders list of detected content verticals.
     27 Content Labels           List of detected content labels.
24                              AUCTION INFORMATION
     28 Unique ID                A unique ID for the overall query.
25   29 Auction type             The type of auction that will be run for this query.
                           “INFORMATION ABOUT THE DEVICE”
26   30 Type                     Phone, tablet, desktop, connected TV, game console, or set-
                                 top box.
27   31 Platform                 Examples: Android, iPhone, Palm.
     32 Brand                    Examples: Nokia, Samsung.
28

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     33   Model                      Examples: N70, Galaxy.
 1   34   Operating System           Contains the OS version for the platform.
     35   Mobile Carrier             Unique identifier for the mobile carrier.
 2   36   Screen-width               As measured in pixels.
     37   Screen-height              As measured in pixels.
 3   38   Screen_pixel_ration_millis Screen Density
     39   Orientation                Portrait or Landscape
 4         INFORMATION FOR “AD QUERIES COMING FROM MOBILE DEVICES”
     40   Mobile                     If true, then this request is coming from a smartphone or tablet.
 5   41   Mobile App                 The identifier of the mobile app or mobile webpage. “If the
                                     app was downloaded from the Apple iTunes app store, then
 6                                   this is the app-store id, e.g. 343200656. For Android devices,
                                     this is the fully qualified package name, e.g.
 7                                   com.rovio.angrybirds. For Windows devices, it’s the App ID,
                                     e.g. f15abcde-f6gh-47i0-j3k8-37193817mn3o. For SDK-less
 8                                   requests (mostly from connected TVs), the app ID provided by
                                     the publisher directly in the request.”
 9   42   Interstitial               If true, then this is a mobile full screen ad request.
     43   App Category               The IDs of categories to which the current mobile app belongs.
10
     44   Mobile Optimized           This indicates whether the page is optimized for mobile
11                                   browsers on high-end phones.
     45   Advertising IDs            This field is used for advertising identifiers for:
12                                        1) iOS devices (This is called Identifier for Advertising
                                               or IDFA, as described at https://support.google.com/
13                                             authorizedbuyers/answer/3221407);
                                          2) Android devices;
14                                        3) Roku devices;
                                          4) Microsoft Xbox devices;
15                                        5) Amazon devices (i.e. Amazon Fire)
     46   App Name                   App names for Android by Google Play and for iOS by App
16                                   Annie.
     47   App User Rating            Average User rating for the app.
17   48   Bidder SDK                 Identification of and information about an SDK installed in the
                                     publisher’s app that the bidder has access to, often because it’s
18                                   the bidder’s SDK.
     49   SKAdNetwork                Publisher’s SKAdNetwork information to support app
19                                   installation attribution for iOS 14 and later.
                                     VIDEO INFORMATION
20   50   Placement                  Where the ad is placed.
     51   URL                        The URL of the page that the publisher gives Google to
21                                   describe the video content, with parameters removed.
     52   Playback Method            How the video ad will be played.
22   53   Clickable                  Describes whether the video ad is clickable.
     54   Start-Delay                The time in milliseconds from the start of the video when the
23                                   ad will be displayed.
     55   Ad Duration                The minimum and maximum ad durations.
24   56   Skippable                  Whether the publisher allows users to skip the ad.
     57   Protocols                  Supported video protocols.
25   58   File formats               Supported video file formats.
     59   Companion Ads              Information about companion ad slots shown with the video.
26   60   Size                       Height and width for the video ad.
     61   Video title                The video title.
27   62   Video keywords             A list of keywords describing the video, extracted from the
                                     content management system of the video publisher.
28

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 1            141.      The above chart indicates that “User verticals” are among the types of information

 2   that have been sold to and shared with Google RTB participants. Verticals pertain to a marketing

 3   technique known as “vertical segmentation,” and are used to facilitate targeted advertising by

 4   identifying users as falling within particular categories, segments, and subcategories. Segments

 5   include health, religion, ethnicity, nationality, and sexuality. These categories of information

 6   therefore reflect the information that Google knows about each Account Holder’s personal

 7   characteristics.

 8            142.      Google’s acknowledged use, disclosure, and sale of a “list of detected user verticals”

 9   therefore constitutes a substantial invasion of Account Holders’ privacy.

10            143.      Some of the categories used by Google are made available on its developer pages. 22      21F




11   For example:

12                      a.     The People & Society segment includes the following verticals: LGBT,
                               Men’s Interests (mature), and Divorce & Separation.
13
                        b.     The Ethnic & Identity Groups segment includes the following verticals:
14                             Africans & Diaspora, African-Americans, Arabs & Middle Easterners,
                               Asians & Diaspora, East Asians & Diaspora, Southeast Asians & Diaspora,
15                             Eastern Europeans, Indigenous Peoples, Native Americans, Jewish Culture,
                               Latinos and Latin-Americans, and Western Europeans.
16
                        c.     The Religion & Belief segment includes the following verticals: Buddhism,
17                             Christianity, Hinduism, Islam, Judaism, Scientology, Skeptics & Non-
                               Believers, and Spirituality.
18
                        d.     The Health segment includes the following verticals:
19

20                                 HEALTH VERTICALS CATEGORIES
      Acne & Blem. Treatments      Weight Loss                Aging & Geriatrics           Alzheimer’s Disease
21    Cleansing and Detox.         Steroids & PEDs            AIDS & HIV                   Allergies
      Arthritis                    Blood Sugar & Diabetes     Cancer                       Ear Nose & Throat
22    Eating Disorders             Endocrine Conditions       Thyroid Conditions           GERD & Diges. Disorders
      Genetic Disorders            Heart & Hypertension       Cholesterol Issues           Infectious Diseases
23    Parasites & Parasitic Dis.   Vaccines & Immunizations   Injury                       Neurological Conditions
      Learn. & Dev. Disabilities   ADD & ADHD                 Obesity                      Pain Management
24    Headaches & Migraines        Respiratory Conditions     Asthma                       Skin Conditions
      Sleep Disorders              Doctor’s Offices           Hospitals & Treat. Centers   Surgery
25    Cosmetic Surgery             Physical Therapy           Men’s Health                 Mental Health
      Anxiety & Stress             Counseling Services        Depression                   Toxic Sub. & Poisoning
26    Reproductive Health          Birth Control              Infertility                  Male Impotence
      OBGYN                        Sex Ed. & Counseling       Sexual Enhancement           STDs
27    Substance Abuse              Drug & Alcohol Testing     Drug & Alc. Treatment        Smoking & Sm. Cessation

28   22
          https://developers.google.com/adwords/api/docs/appendix/verticals
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 1          144.    Each of these verticals comprise personal information under California law and

 2   Google’s policies.

 3                          c.     Authorized Buyers Real-time Bidding Proto

 4          145.    Until sometime in February or March 2021, Google’s developer tools included

 5   “sample bid requests and response,” which illustrate how Account Holders’ information in verticals

 6   are shared and sold through Bid Requests, on a developer page called Authorized Buyers Real-time

 7   Bidding Proto. The sample Bid Request for an app banner provides that the following data would

 8   be included among the Bidstream sent from Google to the authorized bidder:

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15   This code tells the bidder that the Account Holder with the id 7T0uAq192ru9Ndd90Pnh73lsY2L

16   is in the “weight loss” (236) and “special and restricted diets” (457) segments. 23
                                                                                     22F




17          146.    Another example provided by Google showed an Account Holder with the ID

18   iE0B3ASr55t81Mf8XnJ34W084h8 is in the “Pregnancy and Maternity” vertical:

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27   23
        The complete list of verticals, including both the descriptor (e.g., Weight Loss) and
     corresponding segment ID (e.g., 236), is available at: https://developers.google.com/adwords/
28   api/docs/appendix/verticals.
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13   See Exhibit 27.

14          147.   Another   exemplar   identifies   the   Account    Holder      with     id

15   2R2e3G7G096GuMK118NkE67282 as being in the vertical “OBGYN”:

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     See Exhibit 28.
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 1          148.    Sometime in February or March 2021, Google removed these exemplars that show

 2   the line of code specifying “DetectedVerticals” for Account Holders. On March 14 or 15, 2021,

 3   Google also replaced what had previously been labeled as Real-Time Bidding Protocol Buffer

 4   v.198 with v.199 (the latter referenced above in this Complaint). As set forth above, Real-Time

 5   Bidding Protocol Buffer v.199 now claims that “User verticals” are unused. See supra at ¶ 140,

 6   Row 15. This is a distinction without a difference because Real-Time Bidding Protocol Buffer

 7   v.199 specifies that Google does include “Detected Verticals” for each page or app where the

 8   Google RTB auction sales system is in place. See supra at ¶ 140, Row 24.

 9          149.    Google’s statement that “user verticals” are “unused” may simply reflect the fact

10   that the inferred information contained in those verticals has been transferred to the new FLoC

11   value, which Google describes in the Real-Time Bidding Protocol Buffer v.199 as “[t]he value of

12   a cohort ID – a string identifier that is common to a large cohort of users with similar browsing

13   habits.” As the Electronic Frontier Foundation detailed in a recent article, “[i]t is highly likely that

14   FLoC will group users” by gender, ethnicity, age, income, and mental health, and “may also directly

15   reflect visits to websites related to substance abuse, financial hardship, or support for survivors of

16   trauma.” 24
              23F




17          150.    Moreover, the “Detected Verticals” still constitute “personal information” under

18   California law because they are inferred data about web-browsing history that Google is selling and

19   from which Google RTB participants can compile and augment their own detailed dossiers about

20   Account Holders. See CAL. CIV. CODE § 1798.140(o)(1). Google still sells and shares these

21   verticals and segments with approved bidders in Google RTB together with Account Holders’

22   Google ID and other identifiers.

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     24
       Bennett Cyphers, Google’s FLoC Is a Terrible Idea, Electronic Frontier Foundation (Mar. 3,
28   2021), https://www.eff.org/deeplinks/2021/03/googles-floc-terrible-idea.
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                            d.     Infrastructure Options for RTB Bidders (Part 4)
 1
            151.      In the article “Infrastructure Options for RTB Bidders (Part 4)” (“Infrastructure
 2
     Options”), Google notes that a Google RTB bidder may do the following:
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            152.    For “user matching,” the article encourages Google RTB participants to collaborate
14
     on creating “match tables” that would enable them to sync cookies and identify users across
15
     multiple platforms. The article further directs the reader to a hyperlink to learn more about “[h]ow
16
     cookie matching works in real-time bidding.” As explained below, cookie matching is a Google
17
     service that enables Google RTB participants to match cookie identifiers to participants’ existing
18
     individual profiles.
19
            153.    For “selecting segments,” Google explains that the Google RTB system can “extract
20
     user segments from the (unique) user profile store [hyperlinked], order the segments by price, and
21
     filter for the most appropriate segment.”
22
            154.    The link to “(unique) user profile store,” explains that “[t]his store contains (unique)
23
     users and their associated information that provide key insights to select a campaign or ad on
24
     request. Information can include the (unique) user’s attributes your own segments, or segments
25
     imported    from   third-parties.   In   RTB,   imported    segments     often   include bid     price
26

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 1   recommendations.” 25
                        24F




 2          155.    The “(unique) user profile store” goes on to explain: “The store is updated frequently

 3   based on the (unique) user’s interaction with ads, sites they visit, or actions they take. The more

 4   information, the better the targeting. You might also want to use third-party data management

 5   platforms (DMPs) to enrich your first-party data.”

 6          156.    Thus, Google’s internal documents indicate that, in addition to sharing Account

 7   Holders’ personal information in the Google RTB Bidstream, Google is also grouping Account

 8   Holders into targeted advertising segments, which includes sensitive categories related to race,

 9   religion, and sexual orientation, compiling in-depth personal profiles, and then using those

10   profiles in furtherance of the Google RTB.

11          157.    Independent research has confirmed that Google allows targeted advertising based

12   on sensitive categories. In a 2015 study, researchers created an automated tool called AdFisher to

13   “explore[] how user behaviors, Google’s ads, and Ad Settings interact.” The researchers started

14   with a group of 500 fresh simulated browser instances. They then sent part of the group to the top

15   100 websites for substance abuse as listed on Alexa while the remainder acted as a control group

16   and did nothing. Next, the researchers sent both browser groups to the Times of India, a content-

17   providing webpage that uses Google for advertising. The ads displayed on the Times of India for

18   both groups were collected and analyzed, to determine whether there was any difference in the

19   outputs shown to the agents. For the substance abuse group, the top three ads shown to them were

20   for an alcohol and drug rehabilitation center called the Watershed Rehab, with these top three ads

21   making an appearance, respectively, 2,276 times, 362 times, and 771 times. The non-substance-

22   abuse group was not shown the Watershed Rehab ads a single time. 26  25F




23          158.    Account Holders have no idea that they have been associated with these categories,

24
     25
         https://cloud.google.com/solutions/infrastructure-options-for-serving-advertising-workloads#
25   unique_user_profile_store
26   26
        Amit Datta, Michael Carl Tschantz, and Anupam Datta, Automated Experiments on Ad Privacy
     Settings, Proceedings on Privacy Enhancing Technologies 2015; 2015 (1):92-112, available at
27   https://www.andrew.cmu.edu/user/danupam/dtd-pets15.pdf. The study also showed that browser
     instances identified as women were 6 times less likely to be shown ads for high-paid executive
28   positions than similarly-situated male browser instances.
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 1   and no way to prevent being targeted by their association with them. Indeed, the same article

 2   reported that despite the obvious, statistically significant return of drug rehabilitation ads for the

 3   substance abuse group when compared to the non-substance abuse group, the Ad Settings page for

 4   members of each group were not different. 27 “Thus,” the researchers concluded, “information
                                                   26F




 5   about visits to these websites” – the 100 websites for substance abuse – “is indeed being used to

 6   serve ads, but the Ad Settings page does not reflect this use in this case. Rather than providing

 7   transparency, in this instance, the ad settings were opaque as to the impact of this factor” (emphasis

 8   in original).

 9           159.    The above study is not an outlier. A 2019 study confirms that data collection and

10   behavioral tracking information is aggregated to derive user interest profiles, which in turn are

11   leveraged by advertising platforms, like Google RTB, to (1) expand their own data profiles on

12   individual users, and (2) to sell more expensive ads that are more specifically targeted.

13   Significantly, the 2019 study noted that Google has unprecedented visibility into users’ browsing

14   behavior because it is able to collect and aggregate user information from a vast array of sources,

15   either owned by Google or accessible to Google by virtue of Google’s embedded source code. 28      27F




16   Google can therefore infer user interests to an alarmingly accurate degree. 29
                                                                                 28F




17           160.    In 2012, researchers at Worchester Polytechnic Institute conducted a focused study

18   of the Google ad network. The study found, among other things, that non-contextual ads were

19   shown related to induced sensitive topics regarding sexual orientation, health, and financial matters.

20   By way of background, contextual ads are those that derive from the content of the webpage that a

21   user is viewing, e.g., shoe ads being displayed on a website selling shoes. Conversely, non-

22   contextual ads have no relation to the webpage content, e.g., ads for mental health treatment on a

23
     27
        Google makes the Ad Settings page available to Account Holders for the purported purpose of
24   letting those Account Holders understand inferred interests that Google has assigned.
25   28
       Muhammad Ahmad Bashir, et al., Quantity vs Quality: Evaluating User Interest Profiles Using
     Ad Preference Managers, Network and Distributed Systems Security (NDSS) Symposium 2019
26   (February 24-27, 2019), available at https://www.ndss-symposium.org/wp-content/uploads/2019/
     02/ndss2019_04B-5_Bashir_paper.pdf.
27
     29
       Only platforms that can observe users on a given site (i.e. by being directly embedded in the site,
28   or by partnering with another third-party that is embedded[]) can draw such an inference. Id.
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 1   website selling shoes. Thus, the fact that the 2012 study found that the Google ad network was able

 2   to facilitate non-contextual ads related to induced sensitive categories confirms that sensitive

 3   information is being sold by the Google ad network to foster targeted advertising. 3029F




 4           161.    Account Holder information sold and shared by Google with advertising bidders

 5   constitutes personal information as defined by both Google and California law. The information

 6   shared by Google through its RTB process is personal information that is reasonably capable of

 7   being associated, or that could reasonably be linked, directly or indirectly, with a particular

 8   consumer or household. See CAL. CIV. CODE § 1798.140(o)(1). In fact, it is not only “capable” of

 9   being associated but is being associated with a particular consumer. That is, after all, the entire

10   purpose of Google RTB.

11           162.    The above studies and examples demonstrate that Google violates its express

12   privacy promises not to share Account Holders’ personal information each time it shares and sells

13   their information, including information contained in verticals and segments, with participants in

14   Google’s RTB process. Moreover, each time Google shares information in segments concerning

15   health, religion, ethnicity, race, or sexuality, Google violates its express promises to Account

16   Holders that it will never share or sell their sensitive personal information.

17                   3.        The Data Google Discloses and Sells Is Designed to be Personally
                               Identifiable to Google RTB Participants
18
             163.    Google is not selling or sharing anonymized, non-personally identifiable data to just
19
     a few “partners,” as Google suggests in one paragraph in its Terms of Service. To the contrary, the
20
     data it sells and shares with participants on the Google RTB is tied to unique identifiers that track
21
     specific Account Holders across web and physical activity, including where they are, what they are
22
     doing, and what they purchase, and draw inferences from that data of the sort derived from and
23
     constituting the kinds of sensitive verticals described above. All of this data is tied to unique
24
     persistent identifiers.
25
             164.    Critically, the data Google sells allows its RTB participants not only to target
26
     Account Holders specifically, but also to build from scratch or cross-reference and add to the data
27
     30
       Craig E. Wills and Can Tartar, Understanding What They Do with What They Know (Short
28   Paper), WPES’12, October 15, 2012, available at https://web.cs.wpi.edu/~cew/papers/wpes12.pdf.
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 1   that they already have in their own detailed profiles for Account Holders.

 2            165.   For example, Facebook is a frequent bidder in Google RTB and, in addition to the

 3   personal information received from Google, Facebook has its own database of account holder

 4   names, email addresses, phone numbers, device IDs, likes, interests, and friends. 31 A large data
                                                                                          30F




 5   company like Facebook is therefore able to connect the personal information made available by

 6   Google RTB to its own existing databases, matching certain of the information in the Account

 7   Holder’s profile, such as the IP address, to information already in Facebook’s possession.

 8            166.   The consequence is two-fold.

 9            167.   First, Google provides Facebook with personal information that Facebook uses to

10   specifically identify the account holder for the purpose of bidding on an ad in Google’s Ad

11   Exchange. Recent reports in The Wall Street Journal and The New York Times indicate that, in

12   exchange for Google helping Facebook to recognize specific mobile and web users, Facebook

13   agreed to place bids through Google RTB for 90 percent of the users it recognizes and to spend at

14   least $500 million per year on the Google Ad Exchange. 32 Put differently, Google helped Facebook
                                                              31F




15   deanonymize its account holders in exchange for at least one half billion dollars.

16            168.   Neither Google nor Facebook denied the existence of the deal or its terms in

17   response to these reports. To the contrary, Google’s response hinted that its deal with Facebook

18   was not unique, stating that it is just “one of over 25 partners participating in Open Bidding” inside

19   the Google Ad Exchange. 33 This significant admission supports the conclusion that Google is
                                32F




20   selling Account Holders’ personal information – presumably to the highest bidder, or perhaps to

21   itself when it sees fit.

22
     31
          See www.facebook.com/privacy.
23
     32
        Daisuke Wakabayashi and Tiffany Hsu, Behind a Secret Deal Between Google and Facebook,
24   THE NEW YORK TIMES (Jan. 17, 2021), available at https://www.nytimes.com/2021/01/17/
     technology/google-facebook-ad-deal-antitrust.html; Ryan Tracy and Jeff Horwitz, Inside the
25   Google-Facebook Ad Deal at the Heart of a Price-Fixing Lawsuit, THE WALL STREET JOURNAL
     (Dec. 29, 2020), available at https://www.wsj.com/articles/inside-the-google-facebook-ad-deal-at-
26   the-heart-of-a-price-fixing-lawsuit-11609254758.
27   33
        Adam Cohen, AG Paxton’s Misleading Attack on Our Ad Tech Business (Jan. 17, 2021),
     https://blog.google/outreach-initiatives/public-policy/ag-paxtons-misleading-attack-on-our-ad-
28   tech-business/.
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 1            169.    Second, whether or not Facebook (or another DSP or advertiser) submits a winning

 2   bid, participating in the auction facilitates the acquisition and retention of Account Holders’

 3   personal information that Google RTB participants can and do use to create or continuously update

 4   and augment their own existing user data troves.

 5            170.    This is true even for Google RTB participants who are not as large as Facebook and

 6   who do not have their own consumer account holders. Google actively assists Google RTB

 7   participants in matching Account Holder information made available in a Bid Request to the

 8   information those participants already have about specific individuals through a “cookie matching

 9   service.”

10            171.    According to Google, “[c]ookie matching is a feature that enables” Google RTB

11   participants “to match [their own cookie] – for example, an ID for a user that browsed your

12   website – with a corresponding bidder-specific Google User ID, and construct user lists that can

13   help you make more effective bidding choices.” 34 Specifically:
                                                      33F




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              172.    Google illustrates how cookie matching works:
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28   34
          Cookie Matching, https://developers.google.com/authorized-buyers/rtb/cookie-guide.
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                173.   Thus, Google RTB participants are able to match the alphanumeric id of the Google
15
     ID shared in the Bid Request with the auction participants’ (including Surveillance Participants’)
16
     own unique cookie identifier for the Account Holder. In other words, even though the Google ID
17
     is purportedly anonymous, Google provides participants a key, via cookie matching, to determine
18
     exactly who certain Account Holders are. If the Account Holder whose profile is up for bid also
19
     has an account id with the participant, cookie matching will not only let the participant know that
20
     fact, it will enable the participant to tie the personal information from Google RTB together with
21
     data it already has to enhance its profile of the Account Holder.
22
                174.   In an indication that Google realizes its cookie matching process violates California
23
     law, the Cookie Matching page states a “Key Point” that “the Google User ID will not be specified
24
     in the bid request” for “users detected to originate from California,” but the bidder will “still receive
25
     … hosted match data” to inform bidding. 35  34F




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28   35
          Id.
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 3              175.   But this “Key Point” cannot absolve Google. It does not change the fact that Google
 4   is disclosing personal information about the Account Holder directly to the “buyer’s service.” By
 5   still providing the “buyer’s service” with the “hosted match data,” Google is connecting its own
 6   Google User ID to the buyer’s user id, which is also personal information.
 7              176.   Cookie matching permits Google to share and sell Account Holders’ personal
 8   information with participants even when Account Holders take steps to avoid Google’s tracking.
 9   By constructing “user lists,” which include Account Holders, Google RTB auction participants can
10   reidentify people even when different identifiers are used, purportedly to prevent that kind of
11   targeting.
12              177.   As Google explains to its developers: “Cookie Matching enables the bidder to match
13   their cookies with Google’s, such that they can determine whether an impression sent in a bid
14   request is associated with one of users being targeted.” 36 And Google explains to developers that
                                                              35F




15   the purpose of this is to allow third parties to associate information with Account Holders: “The
16   cookie matching service described in this guide facilitates the creation and maintenance of the
17   association between a bidder’s cookie and the Google User ID, and also allows one to populate
18   user lists” (emphasis added). 37
                                    36F




19              178.   Notably, Google encourages Google RTB participants to “store” these user lists,
20   inviting them to retain keys to defeat de-identification processes: “We recommend that bidders
21   instead store and look up list ids using either google_user_id or hosted_match_data as keys.” 38  37F




22   That is, rather than protecting Account Holders’ privacy, Google encourages its partners to
23   invade it.
24              179.   The Google Cookie Matching service is ubiquitous. A 2019 analysis by the web
25
     36
          Id.
26
     37
          Id.
27
     38
        Real-Time Bidding Protocol Buffer v.202, https://developers.google.com/authorized-
28   buyers/rtb/downloads/realtime-bidding-proto
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 1   browser Brave showed that a single hour of web browsing resulted in 318 different Google cookie

 2   matches with at least 10 different companies participating in RTB auctions. 39
                                                                                 38F




 3          180.    Through Google Cookie Matching and through Google’s ubiquitous presence on the

 4   Internet, participants in Google RTB are sold and provided with personal information through

 5   which they can and do build rich user dossiers based on the vast majority of every Internet Account

 6   Holder’s browsing history.

 7          181.    A 2018 study co-authored by Professor Wilson found that 52 different companies

 8   “observe at least 91 percent of an average user’s browsing history under reasonable assumptions

 9   about information sharing within RTB auctions” and 636 companies “observe at least 50 percent

10   of an average user’s impressions.” 40
                                       39F




11          182.    Further, a recent investigation by The New York Times reveals how easy it is to tie

12   what Google and others characterize as anonymous pieces of data together to identify a specific

13   person. In an article titled “They Stormed the Capitol. Their Apps Tracked Them,” writers Charlie

14   Warzel and Stuart Thompson explain how they were able to identify specific individuals who

15   participated in the attack on the United States Capitol on January 6, 2021 through a database of

16   purportedly “anonymous” information that was provided to them by an industry insider. 4140F




17          183.    The article illustrates how an Account Holder’s precise movements could be tracked

18   across the country using purportedly anonymous data. For example, one person shown to have been

19   near the Capitol during the attack was an individual from Kentucky. Starting with what the industry

20   deemed anonymous data, The New York Times identified the person by name and tracked his

21   specific path to and within Washington D.C.:

22

23   39
       Dr. Johnny Ryan, RTB Header Bidder Evidence – Explanatory Document, Brave, Inc. (Sept. 2,
     2019), https://brave.com/wp-content/uploads/explanatory_note_google_RTB_and_push_pages.
24   pdf
25   40
        Muhammad Ahmad Bashir and Christo Wilson, “Diffusion of User Tracking Data in the Online
     Advertising System,” Proceedings on Privacy Enhancing Technologies 2018 (4):85-103, at 86,
26   https://www.ccs.neu.edu/home/ahmad/publications/bashir-pets18.pdf.
27   41
        Warzel, C. and Thompson, S. (Feb. 5, 2021), They Stormed the Capitol. Their Apps Tracked
     Them. THE NEW YORK TIMES, available at https://www.nytimes.com/2021/02/05/opinion/capitol-
28   attack-cellphone-data.html
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            184.    The New York Times further reported that, by purchasing data from advertisers, it
22
     was “quickly able to match more than 2,000 supposedly anonymous devices in the data set [of
23
     people in or around the Capitol on the afternoon of January 6, 2021] with email addresses,
24
     birthdays, ethnicities, ages and more.”
25

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            C.      Google Sells Account Holders’ Private Information
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            185.    Google’s release, disclosure, dissemination, transfer, and electronic communication
18
     of Account Holders’ personal information to participants in Google RTB is a sale of personal
19
     information for purposes of advertising.
20
            186.    The communication of Account Holders’ personal information is made by Google
21
     in exchange for money and other valuable consideration.
22
            187.    The winning bidder pays for Account Holders’ personal information.
23
            188.    Participants in Google RTB who do not win a bid to place an ad nevertheless receive
24
     Account Holders’ personal information in exchange for other valuable consideration. This includes
25
     their continued participation in Google RTB, i.e., the continued ability to receive, review, retain,
26
     and bid on Account Holders’ personal information.
27
            189.    Moreover, even participants that do not submit a bid to advertise directly to an
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 1   Account Holder still receive access to that Account Holder’s personal information via the Google

 2   RTB. This is a benefit and encourages them to participate in the auction.

 3          190.    All of the data transferred by Google is associated with multiple unique persistent

 4   identifiers. After the data leaves an Account Holder’s device, it is sent to Google RTB, which

 5   entertains bids from SSPs all over the internet as well as bids from Google itself. Those bids are

 6   then presented to DSPs (who are acting on behalf of advertisers), also including Google itself. All

 7   of these third parties on the Ad Exchange thus have an opportunity to review and analyze the

 8   personal information about Account Holders that Google has collected and disseminated through

 9   the Bid Request.

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25          191.    This directly violates Google’s promises to Account Holders that it will not sell their

26   information to advertisers or share the information except in limited circumstances.

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                    1.     Plaintiffs Have Identified Hundreds of Companies Who Are Winning
 1                         Bidders in Google’s Ad Exchange Auctions

 2          192.    There is no transparency in the process that occurs in Google RTB. Indeed, one of
 3   the factors motivating recent antitrust investigations into Google is that Ad Stack markets are
 4   opaque, Google has a powerful role in multiple layers of the process, and Google has resisted
 5   disclosure of how the auctions operate. Plaintiffs’ investigation is ongoing and many of these
 6   practices are only now coming to light and being analyzed by experts.
 7          193.    Regardless, and relevant here, Google does not tell Account Holders which
 8   companies are bidding on, and therefore accessing, their personal information, let alone which
 9   companies are winning the auctions.
10          194.    To determine the prevalence of Google RTB in the United States, Plaintiffs retained
11   Professor Wilson of the Khoury College of Computer Sciences at Northeastern University.
12   Plaintiffs asked Professor Wilson to identify the raw number of publishers (those websites who are
13   selling ad space on the Google Ad Exchange) that use the Google RTB in the United States.
14          195.    Professor Wilson determined the precise number of publishers in the Google RTB
15   by   downloading    the   data   Google publishes      at   https://storage.googleapis.com/adx-rtb-
16   dictionaries/sellers.json. Professor Wilson determined that 1,298,541 publishers were identified by
17   Google as participating in the Google RTB to sell their ad space. Of the approximately 1.3 million
18   RTB publishers, Professor Wilson determined that only 172,849 (13.31 percent) were publicly
19   disclosed by Google. Google marked the remainder as anonymous.
20          196.    Professor Wilson also researched the scope of the RTB participants who won
21   auctions in an experiment and concluded that there are at least 229 different advertisers to whom
22   Google discloses Account Holders’ personal information. Among the companies who did not win
23   the auction but to whom Google disclosed Account Holders’ personal information were Amazon,
24   Facebook, Twitter, Taboola, Wayfair, Yahoo, and eBay. The list also included hundreds of
25   companies that American consumers likely never heard of. Google sold and/or shared Account
26   Holders’ personal information to each of these companies.
27          197.    Professor Wilson’s effort to identify these participants through the creation and
28

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 1   deployment of massive web-crawling scripts is only necessary because Google is not required to

 2   publish such information to American consumers. However, other data protection regimes do

 3   require at least some transparency into who is buying Account Holders’ personal information.

 4   Disclosures and reports from those other jurisdictions indicate that Professor Wilson’s report may

 5   dramatically underestimate participation in Google RTB and the number of entities to which

 6   Google sells user personal information.

 7            198.   For example, European law requires Google to identify all companies with which it

 8   shares personal data in the European Economic Area. The published list includes 833 companies,

 9   including well-known companies like Amazon, Facebook, Twitter, Microsoft (LinkedIn), Netflix,

10   Adobe, Oracle, Salesforce, and eBay, as well as hundreds of little-known companies such as

11   Betgenius, Neustar, and Outbrain. 42
                                        41F




12            199.   A September 2020 study submitted to the Irish Data Protection Commission

13   estimated that an estimated 13.5 million websites participated in the Google RTB and 2,182

14   companies directly received Google RTB data. 43  42F




15                   2.     Plaintiffs Have Obtained Specific Examples of Google’s Sharing and
                            Sale of User Personal Information
16
              200.   Plaintiffs’ experts have identified certain auction participants who received personal
17
     information of the Plaintiff class through the RTB auction process.
18
              201.   Consistent with Google’s description in its own developer pages, documents from
19
     auction participants demonstrate how Google discloses, shares, and sells data to RTB participants,
20
     including but not limited to the following categories of information, several of which are personal
21
     information on their own or in combination with other data because they either identify or are
22
     reasonably capable of identifying a specific person, household, or device:
23
                     a.     User verticals
24
                     b.     User list
25

26   42
          https://support.google.com/admanager/answer/9012903
27   43
       Dr. Johnny Ryan, Submission to the Irish Data Protection Commission, Irish Council for Civil
     Liberties (Sept. 21, 2020) https://www.iccl.ie/wp-content/uploads/2020/09/1.-Submission-to-Data-
28   Protection-Commissioner.pdf at 16-17.
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 1               c.     User Data Treatment

 2               d.     User-Agent

 3               e.     URL

 4               f.     Seller Network ID

 5               g.     Response Deadline

 6               h.     Publisher Type

 7               i.     Publisher ID

 8               j.     Publisher Country

 9               k.     Publisher Postal Code

10               l.     Partner ID

11               m.     Key Value

12               n.     IP

13               o.     ID

14               p.     “Hyperlocal” geotargeting information in the form of precise latitude and

15                      longitude that can be traced to specific addresses;

16               q.     Hosted Match Data

17               r.     Google User ID

18               s.     Google Query ID

19               t.     Video Title

20               u.     Video Format

21               v.     Geo-criteria ID

22               w.     Device details including screen width, height, pixel ratio, operating system,

23                      operating system version, model, device type, carrier ID, and brand;

24               x.     Detected verticals

25               y.     Detected language

26               z.     Detected content label

27               aa.    Auction type

28        202.   In addition to this information which can be correlated to personally identify

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 1   Plaintiffs and other Class members as defined under California law, these bid requests also contain

 2   values in the fields for URL, Google User ID, IP, and hyperlocal geotargeting information with

 3   specific latitude and longitude.

 4          203.    Examples of the kind of URLs contained in the URL field include:

 5                  a.      https://centurylink.net

 6                  b.      https://definition.org/earning-millions-from-reruns/18

 7                  c.      https://www.accuweather.com/en/weather-news/bootleg-fire-in-oregon-
                            creating-pyrocumulus-clouds/985540
 8
                    d.      https://www.wenxuecity.com/news/2021/07/21/10743210.html
 9
                    e.      https://www.cbssports.com/college-football/news/sec-media-days-2021-
10                          lsu-florida-focus-on-defensive-improvements-to-help-them-emerge-as-
                            divisional-threats
11
                    f.      https://www.mindbodygreen.com/articles/4-planets-are-retrograde-
12                          summer-2021

13                  g.      https://stockcharts.com/freecharts/symbolsummary.html

14                  h.      https://games.metv.com

15                  i.      https://www.newyorker.com/jigsaw

16                  j.      https://www.unotv.com/nacional/covid-19-mexico-18-estados-concentran-
                            90-de-casos-activos
17
                    k.      https://www.dinamalar.com
18
                    l.      https://www.yourdictionary.com/fairness
19
                    m.      https://brickseek.com/lowes-inventory-checker
20
                    n.      https://www.apartmentguide.com/r/apartments/North-Dakota/Bismarck
21
                    o.      https://play.google.com/store/apps/details?id=teskin.jewels.plane
22
                    p.      https://play.google.com/store/apps/details?id=free.vpn.unblock.proxy.turbo
23                          vpn

24                  q.      https://www.inveposts.com/2020/07/08/true-love-is-real-these-hollywood-
                            couples-will-prove-to-you-that-celebrity-marriages-actually-last-5/2
25
                    r.      https://www.gm-trucks.com/forums/topic/231026-35x1250-20-on-stock-
26                          rims-pics-inside

27                  s.      https://itunes.apple.com/app/id1207472156

28                  t.      https://play.google.com/store/apps/details?id=loppipoppi.dominoes

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                u.    https://play.google.com/store/apps/details?id=com.FidgetTrading3D.game
 1
                v.    https://play.google.com/store/apps/details?id=com.loop.matchtile3d
 2
                w.    https://truththeory.com/men-with-beards-carry-more-germs-than-dogs-
 3                    according-to-this-study

 4              x.    https://www.photopea.com

 5              y.    https://chlloe.com/movies/fb/1640614915/images-that-show-the-way-the-
                      world-used-to-be
 6
                z.    https://democraticunderground.com
 7
                aa.   https://www.crazygames.com/game/super-bike-the-champion
 8
                bb.   https://witcher.fandom.com/wiki/Emhyr_var_Emreis
 9
                cc.   https://www.ebay.com/itm/313506003835
10
                dd.   https://play.google.com/store/apps/details?id=com.Upperpik.HairChallenge
11
                ee.   https://blog.jennasuedesign.com/2014/03/kitchen-chronicles-ikea-pax-
12                    pantry-reveal

13              ff.   https://www.kijiji.ca/b-for-rent/canada/rent/k0c30349001l0

14              gg.   https://www.suggest.com/lifestyle/2490165/people-share-the-most-
                      unprofessional-thing-their-doctor-ever-said-to-them
15
                hh.   https://brain-sharper.com/entertainment/cary-grant-yh/2
16
                ii.   https://itunes.apple.com/app/id1574151172
17
                jj.   https://diariosm.com.br/not%C3%ADcias/sa%C3%BAde/rio-grande-do-
18                    sul-antecipa-primeira-dose-a-todos-os-adultos-para-7-de-setembro-
                      1.2349454
19
                kk.   https://www.dadpatrol.com/bat-dad/these-16-people-claim-to-have-it-all-
20                    figured-out-but-we-dont-buy-it/28

21              ll.   https://www.jobbry.com/job/el-paso-county-jobs-08

22              mm.   https://www.statsforspotify.com/track/top

23              nn.   https://play.google.com/store/apps/details?id=puzzle.blockpuzzle.cube.rela
                      x
24
                oo.   https://itunes.apple.com/app/id1469003902
25
                pp.   https://pr.olx.com.br/regiao-de-curitiba-e-paranagua/autos-e-pecas/carros-
26                    vans-e-utilitarios/corolla-gli-1-8-2018-unico-dono-908630800

27              qq.   https://play.google.com/store/apps/details?id=com.pixel.gun3d

28              rr.   https://play.google.com/store/apps/details?id=jp.ne.ibis.ibispaintx.app

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                    ss.     https://www.ebay.com/itm/393443316950
 1
                    tt.     https://itunes.apple.com/app/id1197354394
 2
                    uu.     https://play.google.com/store/apps/details?id=com.digitalchemy.calculator.
 3                          freedecimal

 4                  vv.     https://www.freshedits.com/funny/the-internets-most-hilarious-set-of-
                            failed-attempts/6.html
 5
                    ww.     https://play.google.com/store/apps/details?id=in.crossy.daily_crossword
 6

 7          204.    The geo-location data contained in RTB bid requests is readily capable of being

 8   converted to residential street addresses via free, publicly available tools that can convert the hyper-

 9   local latitude and longitude coordinates to a specific address. For example, Plaintiffs’ counsel were

10   able to use publicly available tools to identify the location information obtained via discovery from

11   an RTB participant:

12                  a.      407 Avenue D, West Point, Iowa 52656

13                  b.      4456-4400 Hillpine Road, Forest Park, Georgia 30297

14                  c.      16598 NE 74th Street, Redmond, Washington 98052

15                  d.      2247 Lawndale Avenue, Columbus, Ohio 43207

16                  e.      4215 County Road 3, Minneapolis, Minnesota 55406

17                  f.      2060 Otay Lakes Road, Chula Vista, California 91913

18                  g.      1940 Highland Road, Dallas, Texas 75228

19                  h.      1309 Water Street, Alverton, Pennsylvania 15612

20                  i.      855 Azure Street, Sunnyvale, California 94087

21                  j.      3601 North Giddings Road, Fort Collins, Colorado 80524

22                  k.      914 N. 23rd Street, Bismarck, North Dakota, 58501

23                  l.      42092 Lumino Lane, Hammond, Louisiana 70403

24                  m.      334 South Grant Street, Seymour, Wisconsin 54165

25                  n.      470 6th Avenue, Grand Forks Air Force Base, North Dakota 58205

26          D.      The Personal Information Shared and Sold Includes but Is Not Limited to
                    Information Google Stores in an Account Holder’s Google Account
27
            205.    As set forth above, California law defines “personal information” to include any
28

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 1   “information that identifies, relates to, describes, is reasonably capable of being associated with, or

 2   could reasonably be linked, directly or indirectly, with a particular consumer or household.” CAL.

 3   CIV. CODE § 1798.140(o)(1).

 4          206.    California law also includes a specific, non-exhaustive list of “personal information”

 5   that includes personal identifiers, online identifiers, IP addresses, email addresses, account names,

 6   characteristics of protected classifications, purchase history or consideration, Internet or other

 7   electronic network activity, including browsing history, geolocation data, employment-related

 8   information, education information, and “inferences drawn” from these sources “to create a profile

 9   about a consumer reflecting the consumer’s preferences, characteristics, psychological trends,

10   predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.” CAL. CIV. CODE

11   § 1798.140(o)(1).

12          207.    While Google sells and shares information that it stores in an Account Holder’s

13   Google Account, this case is not limited to the sale and sharing of information that Google stores

14   in a Google Account.

15          208.    The datapoints described below that Google sells and shares in the RTB process are

16   “personal information” regardless of whether Google stores the same in an Account Holder’s

17   Google Account.

18                  1.      IP Addresses

19          209.    An IP address is a number that identifies a computer connected to the Internet.

20          210.    IP addresses are used to identify and route communications on the Internet.

21          211.    An IP address is not the same thing as a URL.

22          212.    IP addresses of individual users are used by Internet service providers, websites, and

23   tracking companies to facilitate and track Internet communications.

24          213.    Google tracks IP addresses associated with specific users.

25          214.    IP addresses are “personal information” as a matter of law.

26          215.    Although not necessary to satisfy the definition of “personal information,” Google

27   is also capable of and does in fact associate specific Account Holders with specific IP addresses.

28   For example, when an Account Holder signs into a Gmail account, Google associates the personal

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 1   information connected with that email account to the IP address in question.

 2          216.    Google keeps a record of every IP address that it has ever associated with an

 3   Account Holder in each Account Holder’s Google Account.

 4          217.    Any Account Holder can receive a list of IP addresses Google has associated with

 5   them by going to Google Takeout at https://takeout.google.com and clicking to Export and

 6   Download their “Google Account” information about their “registration and account activity.”

 7   These IP addresses are stored in “Google Subscriber Information” along with user names, email

 8   addresses, Google account IDs, phone numbers, and “raw user agents.”

 9          218.    Google’s own association of IP address in Account Holders’ “subscriber

10   information” illustrates how such information is “personal information.”

11          219.    Google sells and shares Account Holder IP addresses with RTB participants.

12                  2.      User-Agent Information

13          220.    A user-agent is an identifier that identifies the application, operating system, and

14   version of the application and operating system for a specific user making a communication.

15          221.    A user-agent alone may or may not be personal information. However, when used

16   in combination with other identifiers, it is capable of directly or indirectly identifying a specific

17   individual or household. For example, even if a specific IP address is shared by multiple devices

18   on a single network, Google is capable of and does, in fact, associate additional User-Agent

19   information with each IP address that it associates with a Google Account Holder.

20          222.    The Google Takeout Subscriber Information download contains a “raw user-agent”

21   next to every IP address it has associated with a Google Account Holder.

22          223.    User-Agent information is “personal information” under California law when

23   disclosed in connection with an IP address because it is information that is reasonably capable of

24   being associated with or could reasonably be linked, directly or indirectly, with a particular

25   consumer or household.”

26          224.    Google’s own association of IP address plus User-Agent information in Account

27   Holders’ “subscriber information” illustrates how such information is “personal information.”

28          225.    Google sells and shares Account Holder User-Agent data with RTB participants.

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                    3.     Device Identifiers
 1
            226.    A device identifier is, as the name suggests, a number that identifies a device.
 2
            227.    Device identifiers are commonly used to identify and track Internet communications
 3
     of specific users, including Google Account Holders.
 4
            228.    California law specifically lists “device identifiers” as “unique personal identifiers.”
 5
     CAL. CIV. CODE § 1798.140(x).
 6
            229.    The current version of the Google Privacy Policy states that Google collects personal
 7
     information in the form of “identifiers” that include “unique identifiers tied to the browser,
 8
     application, or device you’re using.” Ex. 20 at 15. Previous versions of the Google Privacy Policy
 9
     stated Google “may associate your device identifiers … with your Google Account.” Ex. 9 at 2.
10
            230.    Any Account Holder can see basic information about specific devices Google
11
     associates with their account by visiting https://myaccount.google.com/security.
12
            231.    Device identifiers are “personal information” under California law because they are
13
     reasonably capable of being associated with and could reasonably be linked, directly or indirectly,
14
     with a particular consumer or household.
15
            232.    Google’s own association of device identifiers with specific Account Holders
16
     illustrates how such information is “personal information.”
17
            233.    Google sells and shares Account Holders’ device identifiers with RTB participants.
18
                    4.     Geolocation
19
            234.    California law specifically includes “geolocation data” in the definition of “personal
20
     information.” See CAL. CIV. CODE § 1798.140(o)(1)(G).
21
            235.    Geolocation is commonly used to identify and track Internet communications of
22
     specific users, including Google Account Holders.
23
            236.    Google stores specific geolocation information associated with Account Holders in
24
     their Google Accounts.
25
            237.    In addition to direct association of geolocation to individual consumers and
26
     households, geolocation is reasonably capable of being linked, directly or indirectly, with a
27
     particular consumer or household.
28

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 1              238.         Recent news illustrates the ease with which geolocation data can be linked to

 2   specific consumers or households with devastating impacts for personal privacy. On July 20, 2021,

 3   an online outfit called The Pillar outed a Catholic priest, who had allegedly used the Grindr app to

 4   meet men in various U.S. cities while working for the Catholic church. The Pillar publicly stated

 5   that it was able to out him through “commercially-available records of app signal data obtained by

 6   The Pillar.” 44   43F




 7              239.         Specifically, The Pillar explained:

 8              [A]n analysis of app data signals correlated to [his] mobile device shows the priest
                also visited gay bars and private residences while using a location-based hookup
 9              app in numerous cities from 2018 to 2020, even while traveling on assignment for
                the U.S. bishops’ conference.
10
                According to commercially available records of app signal data obtained by The
11              Pillar, a mobile device correlated to [the priest] emitted app data signals from the
                location-based hookup app Grindr on a nearly-daily basis during parts of 2018,
12              2019, and 2020 – at both his USCCB office and his USCCB-owned residence, as
                well as during USCCB meetings and events in other cities. …
13
                On June 20, 2018, … the mobile device correlated to[the priest] emitted hookup
14              app signals at the USCCB residence, and from a street in a residential Washington
                neighborhood. He traveled to Las Vegas shortly thereafter, data records show.
15
                On June 22, the mobile device correlated to [the priest] emitted signals from
16              Entourage, which bills itself as Las Vegas’ ‘gay bathhouse.’ …

17              Commercially available app signal data does not identify the names of app users,
                but instead correlates a unique numerical identifier to each mobile device using
18              particular apps. Signal data … can be analyzed to provide timestamped location
                data and usage information for each numbered device.
19
                The data obtained and analyzed by The Pillar conveys mobile app data signals
20              during two 26-week periods, the first in 2018 and the second in 2019 and 2020. The
                data was obtained from a data vendor and authenticated by an independent data
21              consulting firm contracted by The Pillar.

22              The Pillar correlated a unique mobile device to [the priest] when it was used
                consistently from 2018 until at least 2020 from the USCCB staff residence and
23              headquarters, from meetings at which he was in attendance, and was also used on
                numerous occasions at [his] family lake house, near the residences of [his] family
24              members, and at a Wisconsin apartment in his hometown, at which he himself has
                been listed as a resident. 45 44F




25

26
     44
27        See https://www.pillarcatholic.com/p/pillar-investigates-usccb-gen-sec.

28   45
          Id.
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 1          240.    This episode illustrates that the dissemination of geolocation data connected to

 2   network activity poses drastic privacy consequences for users – regardless of whether the specific

 3   content of their Internet communications are sold or shared.

 4          241.    In addition, geolocation data is “personal information” under California law because

 5   it is reasonably capable of being associated with and could reasonably be linked, directly or

 6   indirectly, with a particular consumer or household.

 7          242.    Google’s ability to associate geolocation with specific Account Holders illustrates

 8   how such information is “personal information.”

 9          243.    Further, the fact that Plaintiffs’ counsel was able to convert the geolocation

10   information included in the example of RTB data provided by an RTB participant to specific

11   commercial and residential addresses through the use of publicly available tools further proves that,

12   on its own, such data is “personal information” capable of being linked, directly or indirectly, with

13   a particular consumer or household, even outside of Google’s hands.

14          244.    Google sells and shares geolocation with RTB participants.

15                  5.      Cookies and Cookie-Related Identifiers

16          245.    A cookie is a small text file that a web-server can place on a person’s web-browser

17   and computing device when that person’s web browser interacts with the website server.

18          246.    Cookie-related identifiers include “beacons, pixel tags, mobile ad identifiers … and

19   other forms of persistent or probabilistic identifiers that can be used to identify a particular

20   consumer or device.” CAL. CIV. CODE § 1798.140(x).

21          247.    California law defines “personal information” to expressly include “Internet …

22   activity including but not limited to browsing history, search history, and information regarding a

23   consumer’s interaction with an Internet Web site, application, or advertisement.” CAL. CIV. CODE

24   § 1798.140(o)(1)(F). It further defines “consumer” as a natural person, “however identified,

25   including by any unique identifier” and, in turn, defines a “unique identifier” to expressly include

26   “a persistent identifier that can be used to recognize a consumer, a family, or a device that is linked

27   to a consumer or family, over time and across different services, including but not limited to …

28   cookies, beacons, pixel tags, mobile ad identifiers, … or other forms of persistent or probabilistic

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 1   identifiers that can be used to identify a particular consumer or device.” Id. § 1798.140(g), (x).

 2          248.    Cookies and cookie-related identifiers are “personal information” under California

 3   law regardless of whether they are precisely the same identifiers used by Google for Account

 4   Holders or are instead derived from Google’s own identifiers.

 5          249.    Cookies and cookie-related identifiers are “personal information” under California

 6   law because they are reasonably capable of being associated with and could reasonably be linked,

 7   directly or indirectly, with a particular consumer or household.

 8          250.    The entire purpose of the RTB system is for Google to share and sell specific

 9   consumer data to RTB participants such that the participant can “identify the (unique) user” in

10   deciding how much it will bid for that unique user. Google does this through the sale and sharing

11   of many data points, and also through “cookie matching,” whereby participants can “match their

12   cookies with Google’s” through a cookie-matching service that “facilitates the creation and

13   maintenance of the association between a bidder’s cookie and the Google User ID.”

14          251.    Google’s own RTB documentation illustrates how cookies and cookie-related

15   identifiers satisfy the California definition of “personal information” that Google incorporates into

16   its contracts with all Account Holders.

17          252.    Google sells and shares cookie and related identifiers with RTB participants.

18                  6.      Browsing History and Information Regarding a Consumer’s
                            Interaction with an Internet Website, Application, or Advertisement
19
            253.    California law expressly includes within the definition of “personal information”
20
     “Internet or other electronic network activity information, including but not limited to, browsing
21
     history, search history, and information regarding a consumer’s interaction with an internet web
22
     site, application, or advertisements.” CAL. CIV. CODE § 1798.140(o)(1)(F).
23
            254.    Browsing history alone is sufficient to identify a unique consumer.
24
            255.    Recently published research using the browsing history of approximately 52,000
25
     Firefox browser users revealed that 99 percent of Internet users were capable of being uniquely
26

27

28

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 1   identified or re-identified by their browsing history alone. 46
                                                                  45F




 2              256.   The researchers found that Google collected web-browsing information on 9,823 of

 3   the top 10,000 first party domains. 47
                                          46F




 4              257.   As alleged herein, Google re-directs the contents of each individual’s web-browsing

 5   history to hundreds of Google RTB participants on a substantial portion of those first-party domains

 6   from which Google is collecting web-browsing information.

 7              258.   Google’s sharing, sale, and dissemination of browsing history and other information

 8   regarding consumer interactions with Websites, applications, and advertisements is another form

 9   of personal information.

10              259.   The information that Google disseminates about users in the auction process is easily

11   linked to individual users to personally identify them.            Google is well aware that auction

12   participants maintain their own data sets and are capable of automatically cross-referencing their

13   own data to auction information so as to identify the individual user. Plaintiffs’ experts will show

14   how easy and instantaneous this process is.

15              E.     Google’s Promises Versus Google’s Actions

16              260.   The following chart compares Google’s promises with its actions:

17    What Google Promises                              What Google Does
18    “[W]e never share [personal] information
      with advertisers, unless you ask us to.” How
19    our business works, Ex. 5 at 1.
                                                      Google shares Account Holders’ personal
20    “We don’t share information that personally information, including information that is tied
      identifies you with advertisers[.]” Google      to Account Holders’ unique identifiers, with
21    Privacy Policy, e.g., Ex. 15 at 5; Ex. 20 at 6. Google RTB participants for the purpose of
                                                      targeted advertising. Google does so without
22    “We do not share your personal information Account Holders’ consent.
      with companies, organizations, or
23    individuals outside of Google except…[1)]
      With your consent … [3)] With domain
24    administrators… [3)] For external

25   46
       See Sarah Bird, Ilana Segall, & Martin Lopatka, “Replication: Why We Still Can’t Browse in
26   Peace: On the Uniqueness and Reidentifiability of Web Browsing Histories.” USENIX Symposium
     on Usable Privacy and Security (SOUPS) 2020 (Aug. 2020), available at https://www.usenix.org/
27   system/files/soups2020-bird.pdf.
28   47
          Id.
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     What Google Promises                            What Google Does
 1   processing … and [4)] For legal reasons[.]”
     Google Privacy Policy, e.g., Ex. 15 at 11-
 2   12; Ex. 20 at 11-12.
 3   “[R]emember, we never share any of this
     personal information with advertisers.” We
 4   do not sell your personal information to
     anyone., Ex. 23 at 2.
 5
     “We don’t sell your personal information to
 6   anyone.” How our business works, Ex. 5 at
     1.
 7
     “We don’t share information that personally     While Google may not directly provide
 8   identifies you with our advertising partners,   Account Holders’ names or email, Google does
     such as your name or email, unless you ask      share their unique identifiers, provides cookie
 9   us to share it.” Who are Google’s               matching services to assist in identification of
     Partners?, Ex. 21 at 2.                         Account Holders, and encourages Google RTB
10                                                   participants to store user lists and hashed keys
     “Without identifying you personally to          that enables them to reidentify Account Holders
11   advertisers or other third parties, we might    whose names and emails are known to
     use data that includes your searches and        participants.
12   location, websites and apps that you’ve
     used, videos and ads you’ve seen, and basic
13   information that you’ve given us, such as
     your age range and gender.” We do not sell
14   your personal information to anyone., Ex.
     23 at 1.
15
     “We give advertisers data about their ads’
16   performance, but we do so without               Google not only fails to protect personal
     revealing any of your personal information.
17                                                   information, but rather directly provides it to
     At every point in the process of showing        Google RTB participants and enables
     you ads, we keep your personal information
18                                                   participants to de-anonymize personal
     protected and private.” We do not sell your     information with cookie matching services.
     personal information to anyone., Ex. 23 at
19   1.
20
     “Privacy is personal, which makes it even       Google does not provide Account Holders with
21   more vital for companies to give people         clear individual choices about how their data is
     clear, individual choices around how their      used; rather, Google provides misinformation
22   data is used.” Google’s Sundar Pichai:          and broken promises about user privacy and
     Privacy Should Not Be a Luxury Good, Ex.        fails to disclose that Account Holders’ personal
23   25 at 1.                                        information is being sold on Google RTB.

24                                                   Google does not make “privacy equally
     “[P]rivacy cannot be a luxury good offered      available.” Instead, it targets its own Account
25   only to people who can afford to buy            Holders, making privacy unavailable to them by
     premium products and services. Privacy          subversively revealing their personal
26   must be equally available to everyone in the    information thousands of times per second to
     world.” Google’s Sundar Pichai: Privacy         millions of Google RTB participants. Only
27   Should Not Be a Luxury Good, Ex. 25 at 1.       Google and Google RTB participants, not
                                                     Account Holders, profit.
28

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     What Google Promises                           What Google Does
 1   “To make privacy real, we give you clear,      Google does not disclose what it is doing with
     meaningful choices around your data. All       Account Holders’ data and gives Account
 2   while staying true to two unequivocal          Holders no choice about whether their personal
     policies: that Google will never sell any      information is sold at the Google RTB auctions.
 3   personal information to third parties; and
     that you get to decide how your information
 4   is used.” Google’s Sundar Pichai: Privacy
     Should Not Be a Luxury Good, Ex. 25 at 1.
 5
                                                    Through Google RTB, advertisers in fact do
 6   “Advertisers do not pay us for personal        pay Google for advertising, the value of which
     information[.]” How our business works,        is directly tied to the disclosure of Account
 7   Ex. 5 at 1.                                    Holders’ personal information.
 8
     “We never sell your personal information,      Google sells Account Holders’ personal
 9   and give you controls over who has access.”    information on Google RTB, a process that is
     Your privacy is protected by responsible       invisible to Account Holders and in which their
10   data practices, Ex. 24 at 2.                   consent is not solicited prior to sale.

11   “At every point in the process of showing      Google reveals Account Holders’ personal
     you ads, we keep your personal information     information in the Google RTB Bid Requests
12   protected with industry-leading security       and provides cookie matching tools that enable
     technologies.” How our business works, Ex.     participants to match Account Holders’
13   5 at 2.                                        personal information with individual profiles
                                                    the participants already has.
14
     “Privacy is core to how we build our
     products, with rigorous privacy standards      Google’s core practice is building Account
15                                                  Holder profiles and monetizing those profiles
     guiding every stage of product
     development. Each product and feature          through, among other things, the Google RTB,
16                                                  where Google sells Account Holders’ personal
     adheres to these privacy standards, which
     are implemented through comprehensive          information to facilitate targeted advertising, all
17                                                  the while making false promises of privacy to
     privacy reviews.” Your privacy is protected
     by responsible data practices, Ex. 24 at 4.    Account Holders.
18
     “We also never use your emails, documents,    Google targets Account Holders based on their
19   photos, or sensitive information like race,   sensitive information, like race, religion, sexual
     religion, or sexual orientation, to           orientation, and health. Google does this by
20   personalize ads to you.” How our business     collecting Account Holders’ browsing
     works, Ex. 5 at 2.                            information to determine whether Account
21                                                 Holders fall within certain consumer categories,
     “We don’t show you personalized ads based known as verticals and segments. These
22   on sensitive categories, such as race,        consumer categories include sensitive
     religion, sexual orientation, or health.”     categories related to race, religion, sexual
23   Google Privacy Policy, e.g., Ex. 15 at 5; Ex. orientation, and health. This information is then
     20 at 6.                                      shared with Google RTB participants to
24                                                 facilitate targeted advertising based on those
     “We don’t use topics or show personalized     sensitive categories. Google RTB participants
25                                                 are then able to bid on the ability to serve ads to
     ads based on sensitive categories like race,
     religion, sexual orientation, or health. And  Account Holders, including the ability to serve
26                                                 personalized ads based on specific sensitive
     we require the same from advertisers
     [hyperlink] that use our services.” Google    information.
27
     Privacy Policy, e.g., Ex. 15 at 22; Ex. 20 at
28   30.

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     What Google Promises                              What Google Does
 1
     “Advertisers can’t use sensitive interest
 2   categories to target ads to users or to
     promote advertisers’ products or services.”
 3   Personalized Advertising, Ex. 22 at 2.

 4   “Personal hardships: Because we don’t want        Google groups Account Holders into verticals
     ads to exploit the difficulties or struggles of   and segments and facilitates targeted
 5   users, we don’t allow categories related to       advertising based on these verticals and
     personal hardships.” Personalized                 segments, which include those related to
 6   Advertising, Ex. 22 at 2.                         personal hardships, like health issues (e.g.,
                                                       depression, eating disorders, infectious
 7                                                     diseases, and learning and developmental
                                                       disabilities), financial hardship (e.g.,
 8                                                     bankruptcy, debt collection and repossession,
                                                       short-term loans, and cash), and difficult
 9                                                     interpersonal circumstances (e.g., troubled
                                                       relationships, divorce, and separation).
10
     “Identity and belief: Because we want ads         Google allows advertisers to target messages to
11   to reflect a user’s interests rather than more    Account Holders based on verticals and
     personal interpretations of their                 segments related to identity and belief,
12   fundamental identity, we don’t allow              including religion (e.g., Judaism, Islam) and
     categories related to identity and belief,        identity (e.g., lesbian, gay, bisexual &
13   some of which could also be used to               transgender).
     stigmatize an individual.” Personalized
14   Advertising, Ex. 22 at 2.
15   “Sexual interests: Because we understand          Google allows advertisers to target messages to
     that sexual experiences and interests are         Account Holders based on verticals and
16   inherently private, we don’t allow                segments related to sexual interests (e.g., sexual
     categories related to sexual interests.”          enhancement).
17   Personalized Advertising, Ex. 22 at 2.
18   “The following sensitive interest categories      Google allows advertisers to target messages to
     can’t be used by advertisers to target ads to     Account Holders sorted by Google into
19   users or promote advertisers’ products or         verticals and segments related to verticals and
     services”:                                        segments related to the following categories and
20                                                     examples within each:
     •   “Restricted drug terms … [including]
21       Prescription medications and                  Prescription medications: Drugs & Medications
         information about prescription
22       medications”;                                 Personal Hardships & Personal Health Content:
                                                       AIDS & HIV; Cancer; Eating Disorders;
23   •   “Personal hardships … [including]
                                                       Genetic Disorders; Infectious Diseases;
         health conditions, treatments,
24                                                     Neurological Conditions; Learning &
         procedures, personal failings, struggles,
                                                       Developmental Disabilities; Autism Spectrum
         or traumatic personal experiences”;
25                                                     Disorders; Obesity; Skin Conditions;
     •   “Personal health content, which               Counseling Services; Depression; Fertility;
26       includes: [] Physical or mental health        Male Impotence; Sexual Enhancement;
27       conditions, including diseases, sexual        Sexually Transmitted Diseases; Drug &
         health and chronic health conditions,         Alcohol Treatment; Steroids & Performance
28       which are health conditions that require      Enhancing Drugs; Anxiety & Stress;

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      What Google Promises                             What Google Does
 1      long-term care or management[; and]            Counseling Services; Drugs & Medications;
        Products, services, or procedures to treat     Troubled Relationships; Divorce & Separation;
 2      or manage chronic health conditions,           Bankruptcy; Debt Collection & Repossession;
 3      which includes over-the-counter                Short-Term Loans & Cash
        medications and medical devices”;
 4                                                     Sexual Orientation: Lesbian, Gay, Bisexual &
      •   “Relationships [including] Personal
                                                       Transgender
 5        hardships with family, friends, or other
          interpersonal relationships”;
                                                       Race/Ethnicity: African-Americans; Arabs &
 6
      •   “Sexual orientation”;                        Middle Easterners; South Asians & Diaspora;
 7                                                     Southeast Asians & Pacific Islanders; Eastern
      •   “Personal race or ethnicity” and
                                                       Europeans; Native Americans; Jewish Culture;
 8    •   “Personal religious beliefs”                 Latinos & Latin-Americans
      Personalized Advertising, Ex. 22 at 2-5.         Religious Beliefs: Buddhism; Christianity;
 9
                                                       Hinduism; Islam; Judaism
10

11          F.      Google’s Improper Sale of Personal Information Is a Serious Invasion of
                    Privacy and Is Highly Offensive
12
            261.    Article I, § 1 of the California Constitution provides: “All people are by nature free
13
     and independent and have inalienable rights. Among these are enjoying and defending life and
14
     liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,
15
     happiness, and privacy.” The phrase “and privacy” was added by the “Privacy Initiative” adopted
16
     by California voters in 1972.
17
            262.    The right to privacy in the California Constitution creates a right of action against
18
     private entities. The principal purpose of this constitutional right was to protect against unnecessary
19
     information gathering, use, and dissemination by public and private entities, including computer-
20
     stored and -generated dossiers and cradle-to-grave profiles on every American.
21
            263.    In its public statements, Google pays lip service to the need to protect the privacy of
22
     Internet communications. For example, on June 6, 2016, a coalition of technology companies and
23
     privacy advocates came together to oppose Congressional efforts to expand government
24
     surveillance of online activities through the Senate’s Intelligence Authorization Act for Fiscal Year
25
     2017 and Senator Cornyn’s proposed amendments to the ECPA.
26
            264.    The joint letter, signed by the ACLU, Amnesty International, and others, was also
27
     signed by Google. These organizations and companies argued (correctly) that obtaining sensitive
28

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 1   information about Americans’ online activities without court oversight was an unacceptable

 2   privacy harm because it “would paint an incredibly intimate picture of an individual’s life” if it

 3   included “browsing history, email metadata, location information, and the exact date and time a

 4   person signs in or out of a particular online account.” 48
                                                            47F




 5            265.   The letter further posited that the proposed online surveillance could “reveal details

 6   about a person’s political affiliation, medical conditions, religion, substance abuse history, sexual

 7   orientation,” and even physical movements. The letter concluded that online surveillance raises

 8   “civil liberties and human rights concerns.”

 9            266.   Google has publicly declared that non-consensual electronic surveillance is

10   “dishonest” behavior. For example, Google’s Update to its “Enabling Dishonest Behavior Policy”

11   (effective August 11, 2020) restricted advertising for spyware and surveillance technology. The

12   updated policy purports to “prohibit the promotion of products or services that are marketed or

13   targeted with the express purpose of tracking or monitoring another person or their activities

14   without their authorization.” Through this amendment, Google explicitly takes the position that

15   nonconsensual surveillance of “browsing history” is a “dishonest behavior.” 49 48F




16            267.   Google has also publicly declared privacy to be a human right. In 2004, in a letter

17   from Google’s founders to shareholders in advance of the company’s initial public offering

18   (included with the Company’s S-1 Registration Statement filed with the SEC), Google declared its

19   goal to “improve the lives of as many people as possible.” 50 This letter appears today on Google’s
                                                                  49F




20   website on a page touting the company’s commitment to be guided by “internationally recognized

21   human rights standards,” including specifically the human rights enumerated in three documents:

22   The Universal Declaration of Human Rights (the “Universal Declaration”); the United Nations

23   Guiding Principles on Business and Human Rights (the “UN Principles”); and the Global Network

24   Initiative Principles (the “GNI Principles”).

25   48
         June 6, 2016 Joint Letter. Available at http://www.ala.org/advocacy/sites/ala.org.advocacy/
     files/content/advleg/federallegislation/06-06-16%20Coalition%20Letter%20to%20Senators
26   %20in%20Opposition%20to%20Expansion%20of%20NSL%20Statute%20on%20ECTRs.pdf
27   49
          https://support.google.com/adspolicy/answer/9726908?hl=en&ref_topic=29265
28   50
          https://about.google/intl/ALL_my/human-rights/
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 1             268.    These three documents establish that privacy is a human right and that a violation

 2   of privacy rights is a violation of human rights. The Universal Declaration declares that no one

 3   should be subject to arbitrary interference with privacy, and even declares the right to the protection

 4   of laws against such interference. Similarly, the UN Principles identify privacy as a human right.

 5   Likewise, the GNI Principles have an entire section dedicated to privacy that begins: “Privacy is a

 6   human right and guarantor of human dignity. Privacy is important to maintaining personal security,

 7   protecting identity and promoting freedom of expression in the digital age.” 51 50F




 8             269.    Finally, although not mentioned on Google’s website, the United States in 1992

 9   ratified the International Covenant on Civil and Political Rights, a human rights treaty that

10   guarantees privacy rights in Article 17.

11             G.      Google Faces Numerous Regulatory and Governmental Agency Investigations
                       for RTB Privacy Concerns
12
               270.    The privacy violations due to Google’s RTB, as described in the first-filed complaint
13
     in this action, have already triggered public outcry and legislative response. On April 1, 2021, in a
14
     press conference discussing a proposed Oklahoma state privacy bill, House member Colin Wake
15
     highlighted the Hewitt complaint and quoted allegations that Google sells “data relating to eating
16
     disorders, genetic disorders, Learning & Developmental Disabilities, [reproductive] health,
17
     OBGYNs, Cancer, Obesity, Depression, Infertility, Mental Health, Male Impotence and STDs.” 52       51F




18
     Similarly, the ICCL’s lawsuit in Hamburg noted that “[a] class action lawsuit was filed in the U.S.
19
     in May of this year against Google's Real Time Biding system,” citing a news article that referenced
20
     the Hewitt action. Thus, the proprietary work of Plaintiffs and their experts has already augmented
21
     and assisted the inquiries of regulators, governmental entities, and civil liberties groups in the
22
     United States and abroad.
23
               271.    As noted above, international inquiries into Google’s RTB are underway. In May
24
     2019, the Irish Data Protection Commission opened an investigation into Google RTB after
25

26   51
          https://globalnetworkinitiative.org/gni-principles/
27   52
      https://www.dropbox.com/sh/kavi6rwiu0knp6s/AAAXIABrKUZsWE8xqpRTWz4Va?dl=0&pr
     eview=MediaAvailability.mp4.
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 1   receiving complaints from the ICCL and other groups about the disclosure of personal information

 2   in Google RTB. Complaints filed with the Irish Data Protection Commission detail the categories

 3   of sensitive personal information published in Google’s RTB process, including political

 4   information, and health categories, such as “Substance abuse,” “Diabetes,” “Chronic Pain” “Sleep

 5   Disorders,” “AIDS & HIV,” “Incest & Abuse Support,” “Brain Tumor,” “Incontinence” and

 6   “Depression.” 53 This investigation remains ongoing.
                   52F




 7          272.         The U.K.’s Information Commissioner’s Office (“ICO”) has also opened an

 8   investigation into the privacy risks associated with RTB exchanges, including Google RTB. In a

 9   June 2019 report published by the ICO, the organization noted the following concerns: 54     53F




10                       1. Processing of non-special category data is taking place unlawfully
                         at the point of collection due to the perception that legitimate
11                       interests can be used for placing and/or reading a cookie or other
                         technology . . . .
12
                         6. The profiles created about individuals are extremely detailed and
13                       are repeatedly shared among hundreds of organisations for any one
                         bid request, all without the individuals’ knowledge.
14
                         7. Thousands of organisations are processing billions of bid requests
15                       in the UK each week with (at best) inconsistent application of
                         adequate technical and organisational measures to secure the data in
16                       transit and at rest, and with little or no consideration as to the
                         requirements of data protection law about international transfers of
17                       personal data.

18                       8. There are similar inconsistencies about the application of data
                         minimisation and retention controls.
19
                         9. Individuals have no guarantees about the security of their personal
20                       data within the ecosystem.

21
            273.         The ICO recently announced it would be reopening this investigation after
22

23

24
     53
        See TechCrunch, Ireland’s Data Watchdog Slammed for Letting AdTech Carry on “Biggest
25   Breach of All Time,” available at https://techcrunch.com/2020/09/21/irelands-data-watchdog-
     slammed-for-letting-adtech-carry-on-biggest-breach-of-all-time/ (last visited May 5, 2021).
26
     54
       Update Report into AdTech and Real Time Bidding, Information Commissioner’s Office, June
27   20, 2010, https://ico.org.uk/media/about-the-ico/documents/2615156/adtech-real-time-bidding-
     report-201906-dl191220.pdf.
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 1   temporarily suspending it to respond to the COVID-19 pandemic. 55 In doing so, the ICO stated:
                                                                          54F




 2   “The complex system of RTB can use people’s sensitive personal data to serve adverts and requires

 3   people’s explicit consent, which is not happening right now. . . . Sharing people’s data with

 4   potentially hundreds of companies, without properly assessing and addressing the risk of these

 5   counterparties, also raises questions around the security and retention of this data.” 56 The ICO
                                                                                                55F




 6   noted that in response to its ongoing investigation, Google “will remove content categories, and

 7   improve its process for auditing counterparties.” 57 Despite these vague promises, Google has not
                                                           56F




 8   stopped disclosing users’ personal information.

 9              274.   The Belgian Data Protection Commission likewise has opened an investigation into

10   privacy risks on RTB exchanges. In October 2020, the Belgium privacy authority issued an internal

11   report focusing on the online ad auctions and identifying as a core problem, how online-ad bidding

12   systems “collect personal data when a user hasn’t consented to share it.” 58 The report “also took
                                                                                 57F




13   issue with the collection of ‘sensitive category’ data about users—such as race, sexuality, health

14   status or political leaning—without their consent.” 59 This investigation is ongoing. 60
                                                                 58F                      59F




15              275.   In addition, dozens of complaints have been filed by international civil liberties

16   groups against Google and IAB over privacy abuses arising from real-time bidding. The list of

17   countries where these complaints have been filed with governmental regulators includes: Bulgaria,

18
     55
       Simon McDougall, AdTech - The Reform of Real Time Bidding Has Started and Will Continue,
19   Jan. 17, 2020, https://ico.org.uk/about-the-ico/news-and-events/blog-adtech-the-reform-of-real-
     time-bidding-has-started/.
20
     56
       ICO Statement, AdTech Investigation Resumes, available at https://ico.org.uk/about-the-ico/
21   news-and-events/news-and-blogs/2021/01/adtech-investigation-resumes/ (last visited May 5,
     2021).
22
     57
          McDougall, supra n.54.
23
     58
        Patience Haggin and Sam Schechner, European Regulator Turns Up Heat on Ad Tactics Used
24   by Google and Rivals, WSJ (Oct. 16, 2020), https://www.wsj.com/articles/european-regulator-
     turns-up-heat-on-ad-tactics-used-by-google-and-rivals-11602872300.
25
     59
          Id.
26
     60
        Natasha Lomas, Google and IAB AdTech Targeted with More RTB Privacy Complaints,
27   TechCrunch, Dec. 10, 2020, https://techcrunch.com/2020/12/10/google-and-iab-adtech-targeted-
     in-latest-batch-of-rtb-privacy-complaints/.
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 1   Croatia, Cyprus, the Czech Republic, Estonia, France, Germany, Greece, Hungary, Luxembourg,

 2   Malta, Netherlands, Poland, Portugal, Romania, and Spain. 61 These lawsuits are ongoing.
                                                                 60F




 3            276.   For example, earlier this year, the ICCL filed a lawsuit in Hamburg, Germany,

 4   seeking to challenge the industry rules relating to RTB. The lawsuit alleges that RTB “causes the

 5   world’s biggest data breach” (emphasis added) and takes aim at Google, Facebook, Amazon,

 6   Twitter, Verizon, AT&T, and the entire online advertising and tracking industry. 62
                                                                                       61F




 7            277.   In the United States, in a July 2020 letter, Senator Wyden and other members of

 8   Congress urged the FTC to examine the privacy dangers of RTB exchanges. The letter explains

 9   that “hundreds of participants in these auctions receive sensitive information about the potential

10   recipient of the ad — device identifiers and cookies, location data, IP addresses, and unique

11   demographic and biometric information such as age and gender. Hundreds of potential bidders

12   receive this information, even though only one — the auction winner — will use it to deliver an

13   advertisement.” The Congressional letter further cites to Mobilewalla as an example, explaining

14   how Mobilewalla used Bidstream data, location, and inferred race data to profile participants in

15   recent Black Lives Matter protests. 63
                                         62F




16            278.   This growing list of governmental entities and civil liberties groups, at home and

17   abroad, that have opened investigations into the ad exchange process highlights the threat Account

18   Holders face of their personal information being collected through Google RTB.

19            H.     Google Has Been Unjustly Enriched

20            279.   Google’s $1 trillion business was built entirely on monetizing the value of Internet

21   users’ personal information.

22            280.   The value of Plaintiffs’ personal information to Google is demonstrated in part by

23   Google’s advertisement revenue during the relevant time period. Google reported $146.9 billion in

24   61
         https://privacyinternational.org/examples/4349/cso-coalition-files-complaints-against-google-
     and-iab-member-companies-six-eu-states; https://brave.com/rtb-updates/.
25
     62
        See Irish Council for Civil Liberties (June 15, 2021), ICCL Lawsuit Takes Aim at Google,
26   Facebook, Amazon, Twitter and the Entire Online Advertising Industry, available at https://www.
     iccl.ie/news/press-announcement-rtb-lawsuit/.
27
     63
          Wyden FTC Letter.
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 1   advertising revenue in 2020, $134.8 billion in 2019, $116.3 billion in 2018, $95.4 billion in 2017,

 2   and $79.4 billion in 2016. 64 This translates to 83% of Google’s total revenues in 2019, 85% in
                               63F




 3   2018, 86% in 2017, and 88% in 2016. 65 While not all of that revenue is unjustly derived from the
                                             64F




 4   specific information collected by Google here, some portion of it is. Shown graphically below,

 5   Google’s annual advertising revenue has increased over five hundred percent since 2008. 66
                                                                                              65F




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       2018 Annual Report, Alphabet Inc. (Feb. 4, 2019), https://www.sec.gov/Archives/edgar/data/
24   1652044/000165204419000004/goog10-kq42018.htm (hereinafter “2018 Annual Report”).
25   65
        2019 Annual Report, Alphabet Inc. (Feb. 3, 2020), https://www.sec.gov/Archives/edgar/
     data/1652044/000165204420000008/goog10-k2019.htm (hereinafter “2019 Annual Report”);
26   2018 Annual Report.
27   66
        J. Clement, Advertising revenue of Google from 2001 to 2019, statista (Feb. 5, 2020),
     https://www.statista.com/statistics/266249/advertising-revenue-of-google/.
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 1            281.         The collection of Account Holders’ personal information has facilitated the

 2   revenues of Google’s Network Members’ properties, which include ads placed through AdMob,

 3   AdSense, DoubleClick, and AdExchange. Google reported the following revenues from Google

 4   Network Members’ properties: $21.5 billion in 2019, $20 billion in 2018, $17.6 billion in 2017,

 5   and $15.6 billion in 2016. 67 Google reports that “strength in both AdMob and AdManager”
                                      66F




 6   primarily led to the $2.4 billion increase in Google Network Members’ properties revenues from

 7   2017 to 2018. 6867F




 8            282.         The fact of the advertising auctions themselves confirms that the personal

 9   information Google sells to RTB participants has economic value. A recent article published by

10   Politico discussed one study that found that Google makes as much as 42 cents for each dollar spent

11   on advertising on its platform. 69     68F




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25   67
          2019 Annual Report; 2018 Annual Report.
26   68
          2019 Annual Report.
27   69
        Leah Nylen, Google Dominates Online Ads – And DOJ May Be Ready to Pounce, Politico (June
     4, 2020), https://www.politico.com/news/2020/06/04/google-doj-ads-302576.
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            283.    A 2019 study co-authored by Robert J. Shapiro and Siddartha Aneja, titled Who
17
     Owns America’s Personal Information and What Is It Worth?, calculated the value of Americans’
18
     personal information gathered and used by Google: $15.3 billion in 2016, $18.1 billion in 2017,
19
     and $21.5 billion in 2018. 70
                               69F




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        Robert Shapiro and Siddhartha Aneja, Who Owns Americans’ Personal Information and What Is
26   It Worth?, Future Majority (April 2019), available at http://www.sonecon.com/docs/studies/
     Report_on_the_Value_of_Peoples_Personal_Data-Shapiro-Aneja-Future_Majority-
27   March_2019.pdf. Shapiro is a Senior Policy Fellow at the Georgetown University McDonough
     School of Business and, among other past positions, served as the U.S. Under-Secretary of
28   Commerce for Economic Affairs under President Clinton.
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 1          284.    Shapiro and Aneja further predicted that Americans’ personal information gathered

 2   and used by Google would be worth $30.1 billion in 2020, and $42.2 billion in 2022.

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            285.    The Organization for Economic Cooperation and Development (“OECD”), an
22
     intergovernmental economic organization, has issued numerous publications discussing how to
23
     value data such as that which is the subject matter of this complaint. For example, as early as 2013,
24
     the OECD published a paper titled “Exploring the Economics of Personal Data: A Survey of
25
     Methodologies for Measuring Monetary Value.” 71 More recently, the OECD issued a study
                                                          70F




26

27   71
        Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring Monetary
     Value, OECD Digital Economy Paper No. 220 at 7 (Apr. 2, 2013), http://dx.doi.org/
28   10.1787/5k486qtxldmq-en.
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 1   recognizing that data is a key competitive input not only in the digital economy but in all markets:

 2   “Big data now represents a core economic asset that can create significant competitive advantage

 3   for firms and drive innovation and growth.” 72
                                                 71F




 4            286.   The Google RTB relies on the disclosure of sufficiently detailed personal

 5   information so that bidders can be confident their ads are purchased for the right Account Holders,

 6   so that the ads are likelier to be effective. Without personal information, Google RTB would not

 7   provide sufficient information for bidders to make an informed bid, and prices for the bids would

 8   be lower.

 9            287.   There is also a market incentive for companies to participate in an RTB system

10   solely for the purpose of compiling consumer data for further sale, even if those companies have

11   no intention of placing ads. This is because mere participation in an RTB enables participants to

12   receive Account Holders’ personal information even if they never prevail on, or even submit, a bid.

13   Participants can thus harvest information through an RTB and can resell it to make money.

14            288.   In her book The Age of Surveillance Capitalism, Harvard Business School Professor

15   Shoshana Zuboff notes that Google’s early success in monetizing account holder data prompted

16   large corporations like Verizon, AT&T, and Comcast to transform their business models from fee

17   for services provided to customers to monetizing their users’ data — including user data that is not

18   necessary for product or service use, which she refers to as “behavioral surplus.” 73 In essence,
                                                                                          72F




19   Professor Zuboff explains that revenue from user data pervades every economic transaction in the

20   modern economy. These revenues reveal that there is a market for this data. Data generated by

21   users on Google’s platform has economic value.

22            289.   While the economic value of user data was discovered and leveraged by

23   corporations who pioneered the methods of its extraction, analysis, and use, user data can also have

24   economic value to users themselves. Market exchanges have sprung up where individual users like

25   Plaintiffs herein can sell or monetize their own data. For example, Nielsen Computer and Mobile

26   72
        Supporting Investment in Knowledge Capital, Growth and Innovation, OECD, at 319 (Oct. 13,
     2013), https://www.oecd-ilibrary.org/industry-and-services/supporting-investment-in-knowledge-
27   capital-growth-and-innovation_9789264193307-en.
28   73
          Shoshana Zuboff, The Age of Surveillance Capitalism 166 (2019).
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 1   Panel pays certain users for their data. 74 Facebook has launched apps that pay users for their data
                                                  73F




 2   directly. 75 Likewise, apps such as Zynn, a TikTok competitor, pay users to sign up and interact
             74F




 3   with the app. 76
                    75F




 4           290.         Indeed, Google once paid users to track their online behaviors:

 5                        Google is building an opt-in user panel that will track and analyze
                          people’s online behaviors via an extension to its Chrome browser,
 6                        called Screenwise. Users that install the plug-in will have the
                          websites they visit and the ways in which they interact with them
 7                        recorded, and they will then be paid with Amazon gift cards worth
                          up to $25 a year in return. 7776F




 8

 9           291.         There are other markets for users’ personal information. One study by content

10   marketing agency Fractl has found that an individual’s online identity, including hacked financial

11   accounts, can be sold for $1,200 on the dark web. 78 These rates are assumed to be discounted
                                                                       77F




12   because they do not operate in competitive markets, but rather, in an illegal marketplace. If a

13   criminal can sell other users’ content, the implication is that there is a market for users to sell their

14   own data.

15           292.         As Professors Acquisti, Taylor, and Wagman relayed in their 2016 article “The

16   Economics of Privacy,” published in the Journal of Economic Literature:

17                        Such vast amounts of collected data have obvious and substantial
                          economic value. Individuals’ traits and attributes (such as a person’s
18                        age, address, gender, income, preferences, and reservation prices,
                          but also her clickthroughs, comments posted online, photos
19                        uploaded to social media, and so forth) are increasingly regarded as

20   74
        Kevin Mercadante, Ten Apps for Selling Your Data for Cash, Best Wallet Hacks (Mar. 16, 2021),
     https://wallethacks.com/apps-for-selling-your-data/.
21
     75
        Saheli Roy Choudhury and Ryan Browne, Facebook Pays Teens to Install an App that Could
22   Collect All Kinds of Data, CNBC (Jan. 30, 2019), https://www.cnbc.com/2019/01/29/Facebook-
     paying-users-to-install-app-to-collect-data-techcrunch.html.
23
     76
        Jacob Kastrenakes, A New TikTok Clone Hit the Top of the App Store by Paying Users to Watch
24   Videos, The Verge (May 29, 2020), https://www.theverge.com/2020/5/29/21274994/zynn-tiktok-
     clone-pay-watch-videos-kuaishou-bytedance-rival.
25
     77
        Jack Marshall, Google Pays Users for Browsing Data, DigiDay (Feb. 10, 2012),
26   https://digiday.com/media/google-pays-users-for-browsing-data/.
27   78
        Maria LaMagna, The Sad Truth About How Much Your Facebook Data Is Worth on the Dark
     Web, MarketWatch (June 6, 2018), https://www.marketwatch.com/story/spooked-by-the-Google-
28   privacy-violations-this-is-how-much-your-personal-data-is-worth-on-the-dark-web-2018-03-20.
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                    business assets that can be used to target services or offers, provide
 1                  relevant advertising, or be traded with other parties. 79
                                                                         78F




 2
            293.    While the exact value of users’ personal information in this action will be a matter
 3
     for expert determination, it is clear that Google has been unjustly enriched by the practices
 4
     described herein.
 5
            I.      Plaintiffs’ Personal Information Is Property Under California Law
 6
            294.    Property is the right of any person to possess, use, enjoy, or dispose of a thing,
 7
     including intangible things such as data or communications.
 8
            295.    Given that California courts have recognized the lost “property value” of personal
 9
     information, Plaintiffs and other Account Holders have a property interest in their own data and
10
     personal information.
11
            296.    Accordingly, personal information, including websites visited by Plaintiffs and
12
     Account Holders, is property under California law.
13
            297.    Property includes intangible data, including the very specific data at issue here that
14
     Google is selling despite promising Plaintiffs and Account Holders it would not do so — personal
15
     information including Internet communications history and personally identifiable information.
16
            298.    Recent changes in California law have confirmed that individuals have a property
17
     interest in their information. In 2018, California enacted the California Consumer Privacy Act
18
     (“CCPA”). Among other things, the CCPA permits businesses to purchase consumer information
19
     from consumers themselves (CAL. CIV. CODE § 1798.125(b)(1)) and permits businesses to assess
20
     and appraise – i.e., to place a monetary value on – consumer data (id. § 1798.125(a)(2)).
21
            299.    Just last year, Californians passed Proposition 24, the California Privacy Rights Act
22
     (“CPRA”). In the California General Election Voter Guide, proponents of Proposition 24 made
23
     their case for the law by specifically noting that companies use personal information such as a
24
     user’s location: “Giant corporations make billions buying and selling our personal information –
25

26
     79
       Alessandro Acquisti, Curtis Taylor, and Liad Wagman, The Economics of Privacy, 54 J. OF
27   ECON. LITERATURE 2, at 444 (June 2016), available at https://www.heinz.cmu.edu/
     ~acquisti/papers/AcquistiTaylorWagman-JEL-2016.pdf.
28

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 1   apps, phones, and cars sell your location constantly.” 80 Among other things, the passage of the
                                                               79F




 2   CPRA foreclosed the ability of companies like Google to evade the CCPA by contending that they

 3   were “sharing” — instead of “selling” — users’ personal information. Specifically, the CPRA

 4   clarifies that the provisions protecting users’ data apply irrespective of whether the company

 5   defines its activities as “selling” or “sharing” data. CPRA § 9(a); see id. § 4(d)(2) (providing that

 6   “service providers” have the same data protection obligations as contractors and third parties).

 7              300.   Taking Plaintiffs’ and Account Holders’ personal information without authorization

 8   is larceny under California law regardless of whether and to what extent Google monetized the

 9   data, and Plaintiffs and Account Holders have a right to disgorgement and/or restitution damages

10   for the value of the stolen data.

11              301.   Plaintiffs and Account Holders have also suffered benefit of the bargain damages,

12   in that Google shared and sold more data than the parties agreed would be permitted. Those benefit

13   of the bargain damages also include, but are not limited to, (i) loss of the promised benefits of their

14   Google experience; (ii) out-of-pocket costs; and (iii) loss of control over property which has

15   marketable value.

16              302.   In addition, when Plaintiffs and other Class members became Account Holders, they

17   gained access to Google’s various services in exchange for agreeing to Terms of Service that

18   Google drafted. Those terms assured them that Google would not share or sell their personal

19   information without authorization. Now that Google has sold the data without authorization,

20   Plaintiffs and Account Holders are entitled to disgorgement of all such ill-gotten gains.

21              303.   Data brokers and online marketers have developed sophisticated schemes for

22   assessing the value of certain kinds of data, as discussed above. Experts in the field have identified

23   specific values to assign to certain kinds of activity.

24              304.   While Plaintiffs and Account Holders largely knew that Google generates revenue

25   from business by selling advertising directed at them, it was a material term of the bargain that

26   Plaintiffs’ and Account Holders’ personal information would not be shared by Google with third

27   parties.

28   80
          California General Election Voter Guide, Proposition 24.
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 1          305.    Google did not honor the terms of this bargain.

 2          306.    When Google shared and sold Plaintiffs’ and Account Holders’ personal

 3   information, it received direct benefits of payments from those authorized bidders that paid for

 4   advertisements based on the personal information.

 5          307.    As Google shared and sold Plaintiffs’ and Account Holders’ personal information

 6   beyond that to which Plaintiffs and Account Holders had agreed, Plaintiffs and Account Holders

 7   were denied the benefit of a Google experience where they were promised the right to determine

 8   the terms and scope of their content and personal information sharing and sale. Thus, through

 9   Google’s sharing of Plaintiffs’ and Account Holders’ personal information with hundreds of

10   different third parties, Plaintiffs and Account Holders lost benefits.

11          308.    In order to preserve their privacy, Plaintiffs who now understand at least some of

12   Google’s violations—and there remains much to be revealed about Google’s actual activities—are

13   presented with the choice of: (i) reducing or ending their participation with Google; or (ii)

14   knowingly accepting less privacy than they were promised. Each of these options deprives Plaintiffs

15   and Account Holders of the remaining benefits of their original bargain. There is no option which

16   recovers it. None of it recaptures the data taken in violation of Google’s promises.

17          309.    Further, Plaintiffs and Account Holders were denied the benefit of knowledge that

18   their personal information was being shared by Google. Therefore, they were unable to mitigate

19   harms they incurred because of Google’s impermissible sharing and sale of their personal

20   information to hundreds of third parties. That is, Google’s lack of transparency prevented and still

21   prevents Plaintiffs’ and Account Holders’ ability to mitigate.

22          310.    Google knew that it was sharing and selling Plaintiffs’ and Account Holders’

23   personal information in violation of its express promises. Yet, Google failed to warn Plaintiffs and

24   Account Holders so that they could take steps to attempt to avoid exposing their personal

25   information.

26          311.    Google also knew that it was not possible for Plaintiffs and Account Holders to use

27   Google without Google sharing or selling their personal information.

28          312.    Google avoided costs it should have incurred because of its own actions—

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 1   particularly the loss of user engagement which would have resulted from transparent disclosure of

 2   Google’s actions—and transferred those costs to Plaintiffs and Account Holders. Warning users

 3   would have chilled Internet engagement as well as discouraged potential new users from joining.

 4           313.   Google was thus not only able to evade or defer these costs but to continue to accrue

 5   value for the Company and to further benefit from the delay due to the time value of money. Google

 6   has thus transferred all the costs imposed by the unauthorized disclosure of users’ content and

 7   personal information onto Plaintiffs and Account Holders. Google increased the cost to Plaintiffs

 8   and Account Holders of mitigating such unauthorized disclosures by failing to notify them that

 9   their personal information had been disclosed so that they could take steps to minimize their

10   exposure on the browser.

11           314.   In addition, Plaintiffs and Account Holders have also suffered from the diminished

12   loss of use of their own personal information, property which has both personal and economic value

13   to them.

14           315.   Plaintiffs’ and Account Holders’ personal information has value. First, there is

15   transactional, or barter, value to user content and personal information. Indeed, Google has sold the

16   data to other companies – all the while promising users that it would not do so.

17           316.   Second, Plaintiffs’ and Account Holders’ property, which has economic value, was

18   taken from them without their consent and in contradiction of Google’s express promise not to

19   share or sell it to others. There is a market for this data, and it has at minimum a value greater than

20   zero.

21           317.   Plaintiffs and Account Holders were harmed when Google took their property under

22   false pretenses and exerted exclusive control over it, sharing it with and selling it to others without

23   Plaintiffs’ and Account Holders’ knowledge or authorization.

24           J.     Plaintiffs and Account Holders’ Privacy Expectations and Desire to Control
                    the Dissemination of Their Own Data Are Reasonable and Market-Tested
25
             318.   Public polling on Internet tracking has consistently revealed that the overwhelming
26
     majority of Americans – 93% – believe it is important or very important to be “in control of who
27
     can get information” about them; to not be tracked without their consent; and to be in “control[] of
28

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 1   what information is collected about [them].” 81
                                                   80F




 2          319.    Google has conducted its own research on the topic and understands that consumers

 3   are more likely to trust an Internet company when they believe the company has told them

 4   everything about its business practices and when the consumers believe they have control over how

 5   the Internet company uses their information.

 6          320.    In 2016, Google researcher Martin Ortlieb explained the following in a published

 7   research paper titled “Sensitivity of personal data items in different online contexts”: 82
                                                                                             81F




 8                  a.      “[I]nternet users are reluctant to share personal data items if it is not
                            consciously perceived to be necessary to the primary function of the
 9                          service;”

10                  b.      If the outcome of their Internet activity “can be achieved by sharing only the
                            mandatory data required for that interaction, they do not want to share more.”
11
                    c.      For search providers, like Google, “users do not see a reason, or reasons, for
12                          sharing personal data items with a search provider as readily as with social
                            networks and online retailers.”
13
                    d.      “In general, Internet users prefer to keep their online engagement separate –
14                          or at least separable – to their real world identity. In other words, they want
                            to keep their personal identity and their virtual identities as disconnected as
15                          possible.”

16                  e.      “Providing re-assurances on the security and secondary use of personal data
                            can help allay these fears.”
17
                    f.      “[A]llowing users control over their digital identity will be key to engaging
18                          them at a deeper level.”

19                  g.      “Data collected passively – which we have called internet behavior and
                            account linkage in this word – are regarded as highly sensitive in all context
20                          scenarios.”

21                  h.      “[I]f online service providers are collecting data passively they have to be
                            aware that users of their service will consider such data sensitive as privacy
22                          concerns become more of a conscious consideration.”

23                  i.      “The biggest factor reducing the level of data sensitivity in each context
                            scenario is trust.”
24
                    j.      “Trust, when it comes to sharing personal data items, can be generated
25
     81
        https://www.pewresearch.org/internet/2015/05/20/americans-views-about-data-collection-and-
26   security/
27   82
       Martin Ortlieb and Ryan Garner, Sensitivity of Personal Data Items in Different Online Contexts,
     De Gruyter Oldenbourg (June 3, 2016) available at https://www.degruyter.com/document/
28   doi/10.1515/itit-2016-0016/html (last visited Feb. 1, 2021).
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                           through positive outcomes (relevant with clear benefits), transparency (no
 1                         surprises through clear communication), and control (allowing the user to
                           have a say in how and by whom their data is used).”
 2

 3          321.    In another paper, Google researchers explained: 8382F




 4                  In order to increase users’ comfort, . . . first-party companies should
                    adopt more comprehensive communication strategies based on a
 5                  greater transparency (i.e., what and how data is used or shared),
                    provide more control over the data access to users (e.g., through
 6                  intuitive settings and an opt-in approach) and clarify the extent of
                    data anonymization before it is being shared.
 7

 8          322.    In yet another paper, Google researchers explained: 84  83F




 9                  a.     Previous research “has shown that people are more likely to share
                           information if they feel that they have overview knowledge of personal data
10                         and are able to act on data controls.”

11                  b.     “If trust is established through such means, users are ready to share more
                           online and vice versa.”
12
                    c.     “The simple display of all personal data and eventual behavioral traces
13                         available can be an overwhelming and anxiety producing experience for
                           users.”
14
                    d.     “Essentially, no one likes to be out of control, so as soon as this becomes
15                         apparent or is perceived, users will either execute control or go to places
                           where they have these options.”
16
                    e.     “Recent research also shows that technologies that make individuals feel
17                         more in control over the release of personal information may have the
                           unintended consequence of eliciting greater disclosure of sensitive
18                         information.”

19                  f.     “The concept of trust is an extensively studied concept. . . . [T]rust is a social
                           mechanism for reducing complexity. Transposing this to the world of
20                         products we could argue that the cumulative experience with a product or
                           brand leads to confidence. In the realm of online services this could mean
21                         confidence in a company’s practices such as never selling personal data to
                           any third party.”
22

23          323.    Google’s research into the value of trust highlights its knowledge of the importance

24   of deceiving Account Holders by giving them the illusion of safety and control over their own data.

25   83
       Igor Bilogrevic and Martin Ortlieb, “If You Put All The Pieces Together…” – Attitudes Towards
     Data Combination and Sharing Across Services and Companies, CHI Conference on Human
26   Factors in Computing Systems (May 2016), available at https://dl.acm.org/doi/pdf/10.1145/
     2858036.2858432 (last visited Feb. 1, 2021).
27
     84
       Martin Ortlieb, et al., Trust, Transparency & Control in Inferred User Interest Models, CHI
28   Extended Abstracts on Human Factors in Computing Systems (April 2014).
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 1   Google’s privacy disclosures reflect this market research by providing Account Holders

 2   information to put them at ease. But, as alleged herein, the privacy disclosures are contradicted by

 3   Google’s actual practices.

 4           K.        Fraudulent Concealment and Tolling

 5           324.      All applicable statutes of limitation have been tolled by Google’s knowing and

 6   active fraudulent concealment and denial of the facts alleged herein through the time period relevant

 7   to this action.

 8           325.      Plaintiffs and Account Holders were not informed anywhere in the Terms of Service

 9   that Google’s advertising services would disclose their personal information; that Google has used

10   their personal information to associate them into verticals and segments that it discloses in the RTB

11   bidding process and/or makes available to participants in that process; that Google enables

12   participants to re-identify Plaintiffs and Account Holders by saving and storing keys that

13   reassociate Plaintiffs’ and Account Holders’ unique identifiers across platforms and devices; or that

14   Google provides Google RTB participants with cookies that enable them to match information

15   provided by Google during the RTB bidding process with information the participants already have

16   on individuals, including their names and email addresses.

17           326.      Google chooses not to disclose this information precisely because doing so might

18   chill user engagement.

19           327.      Google continues to conceal this information.

20           328.      An average consumer could not reasonably be expected to know or understand how

21   Google is using their data. The developer pages cited herein, while available on the web, are not

22   easily understandable to the average person, and even they do not fully reveal the extent of Google’s

23   actions. Indeed, Plaintiffs’ counsel had to retain experts to begin to understand Google’s practices

24   at issue in this complaint.

25           329.      Despite reasonable diligence on their part, Plaintiffs remained ignorant of the factual

26   bases for their claims for relief. Google’s withholding of material facts concealed the claims alleged

27   herein and tolled all applicable statutes of limitation.

28

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 1   V.     CLASS ACTION ALLEGATIONS

 2          330.    This is a class action pursuant to Rule 23(a), (b)(2), and (b)(3) (or, alternatively,

 3   23(c)(4)) of the Federal Rules of Civil Procedure on behalf of a Class of all persons residing in the

 4   United States with a Google Account who used the Internet on or after Google began using RTB

 5   in a manner that disclosed Account Holders’ personal information.

 6          331.    This action is also brought on behalf of the following two Subclasses:

 7                  a.      Subclass A: All Google account holders who use the Google Chrome

 8                          browser; and

 9                  b.      Subclass B: All Google account holders who use Google Chrome, Android

10                          operating system, or apps that incorporate the Google software development

11                          kit (SDK).

12          332.    Excluded from the Class and the Subclasses are the Court, Google and its officers,

13   directors, employees, affiliates, legal representatives, predecessors, successors and assigns, and any

14   entity in which any of them have a controlling interest.

15          333.    The members of the Class and Subclasses are so numerous that joinder of all

16   members is impracticable.

17          334.    Common questions of law and fact exist as to all members of the Class and the

18   Subclasses and predominate over any questions affecting solely individual members of the Class

19   and the Subclasses. The questions of law and fact common to the Class include:

20                  a.      Whether Google promised not to share personal information with others;

21                  b.      Whether Google promised not to sell personal information to others;

22                  c.      Whether Google shared Account Holder personal information with others;

23                  d.      Whether Google sold Account Holder personal information to others;

24                  e.      Whether Google was authorized to disclose Account Holder personal
                            information to others;
25
                    f.      Whether Google was authorized to sell Account Holder personal information
26                          to others;

27                  g.      Whether Google breached its contract with Account Holders;

28                  h.      Whether Account Holders’ Personal Information was improperly sold by

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                            Google;
 1
                    i.      Whether Google was unjustly enriched by the unauthorized sales of Account
 2                          Holders’ personal information;

 3                  j.      Whether Google’s actions would be highly offensive to a reasonable person;

 4                  k.      Whether Google’s actions breached the duty of good faith and fair dealing;

 5                  l.      Whether Google’s actions constitute an intrusion upon seclusion;

 6                  m.      Whether Google’s actions constitute publication of private information;

 7                  n.      Whether Google’s actions violated the duty of confidence;

 8                  o.      Whether Google’s actions violated the California Unfair Competition Law;

 9                  p.      Whether Google’s actions violated Article I, Section 1 of the California
                            Constitution;
10
                    q.      Whether Google’s actions violated the California Invasion of Privacy Act;
11
                    r.      Whether Google’s actions violated the Electronic Communications Privacy
12                          Act;

13                  s.      Whether Google’s actions violated the Video Privacy Protection Act; and

14                  t.      Whether and the extent to which injunctive relief is appropriate.

15
            335.    Plaintiffs’ claims are typical of the claims of other Class members, as all members
16
     of the Class were similarly affected by Google’s wrongful conduct in violation of federal and
17
     California law as complained of herein.
18
            336.    Plaintiffs will fairly and adequately protect the interests of the members of the Class
19
     and have retained counsel who are competent and experienced in class action litigation. Plaintiffs
20
     have no interests that conflict with or are otherwise antagonistic to the interests of the other Class
21
     members.
22
            337.    A class action is superior to all other available methods for the fair and efficient
23
     adjudication of this controversy because joinder of all Class members is impracticable.
24
     Furthermore, as the damages individual Class and Subclass members have suffered may be
25
     relatively small, the expense and burden of individual litigation make it impossible for members of
26
     the Class and Subclass to individually redress the wrongs done to them.
27
            338.    There will be no difficulty in management of this action as a class action.
28

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 1   VI.       COUNTS

 2                                   COUNT ONE: BREACH OF CONTRACT
 3             339.       Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

 4             340.       Google’s relationship with its account holders is governed by the Google Terms of

 5   Service.

 6             341.       Since March 31, 2020, the Google Terms of Service incorporated by reference the

 7   document titled “How our business works.”

 8             342.       Through these documents, Google tells account holders: 85  84F




 9                        a.     “We don’t sell your personal information to anyone.”
10                        b.     “[W]e never sell your personal information to anyone[.]”
11                        c.     “Advertisers do not pay us for personal information, such as your name or
                                 email, and we never share that information with advertisers, unless you ask
12                               us to [hyperlink].” Id.
13                        d.     “We also never use your emails, documents, photos, or sensitive information
                                 like race, religion, or sexual orientation, to personalize ads to you.”
14
                          e.     “We share reports with our advertisers . . . but we do so without revealing
15                               any of your personal information.”
16                        f.     “At every point in the process of showing you ads, we keep your personal
                                 information protected with industry-leading security technologies
17                               [hyperlink].”
18                        g.     “When you use our products you trust us with your personal information.
                                 That’s why we never sell your personal information.”
19

20             343.       Since at least May 25, 2018, the Google Privacy Policy has also told account

21   holders:

22                        a.     “We don’t share information that personally identifies you with
                                 advertisers[.]” E.g., Ex. 12 at 5; Ex. 15 at 5.
23
                          b.     “We don’t show you personalized ads based on sensitive categories
24                               [hyperlink], such as race, religion, sexual orientation, or health.” E.g., Ex.
                                 12 at 5; Ex. 15 at 5.
25
                          c.     Google’s Privacy Policy includes a definition of “sensitive categories” that
26                               promises: “We don’t use topics or show personalized ads based on sensitive
                                 categories like race, religion, sexual orientation, or health. And we require
27                               the same from advertisers [hyperlink] that use our services.” E.g., Ex. 12 at
28   85
          Ex. 5 at 1-2.
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                            21; Ex. 15 at 22.
 1

 2          344.    Moreover, since at least March 1, 2012, the Privacy Policy has promised, “We do

 3   not share your personal information with companies, organizations, or individuals outside of

 4   Google[.]” E.g., Ex. 15 at 11. The Privacy Policy identifies four exceptions to this promise, none

 5   of which applies to the allegations herein. 86
                                                85F




 6          345.    Prior to May 2018, Account Holders who created a Google Account were required

 7   to agree to both the Terms of Service and the Privacy Policy.

 8          346.    From May 2018 to March 31, 2020, while Account Holders were required to agree

 9   to only the Terms of Service, the Google Account creation process included a link to the Privacy

10   Policy as a guide to how Google would “process your information.”

11          347.    The Terms of Service expressly adopt California substantive law, including

12   California’s definition of personal information.

13          348.    Plaintiffs and Class Members accepted Google’s offer, have fulfilled their

14   obligations under the contract, and are not in breach of contract.

15          349.    Google has breached and continues to breach its contractual promise to maintain the

16   privacy of Account Holders’ personal information by selling and sharing Plaintiffs’ and Class

17   Members’ personal information through Google RTB.

18          350.    As a result of Google’s breach of its contractual obligations, Google was able to

19   obtain the personal property of Plaintiffs and Class Members, earn unjust profits, and cause privacy

20   injury and other consequential damages.

21           351.   Plaintiffs and Class Members did not receive the benefit of the bargain for which

22   they contracted and for which they paid valuable consideration in the form of certain personal

23   information they agreed to share. As alleged above, this personal information has ascertainable

24   value to be proven at trial.

25          352.    As a result of Google’s breach of its contractual promises, Plaintiffs and Class

26
     86
       The four exceptions in Google’s Privacy Policy state that Google may share personal information
27   with companies, organizations, and individuals outside Google: (1) with the Account Holder’s
     consent; (2) with domain administrators; (3) for external processing; and (4) for legal reasons. See,
28   e.g., Ex. 15 at 11-12.
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 1   Members are entitled to recover benefit of the bargain damages, unjust enrichment, and nominal

 2   damages.

 3                  COUNT TWO: BREACH OF THE IMPLIED COVENANT OF
                            GOOD FAITH AND FAIR DEALING
 4
            353.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
 5
            354.    Every contract imposes upon each party a duty of good faith and fair dealing in its
 6
     performance and enforcement.
 7
            355.    In dealings between Google, Plaintiffs and Class Members, Google is invested with
 8
     discretionary power affecting the rights of its Account Holders.
 9
            356.    The terms of Google’s contract with Account Holders purport to respect and protect
10
     Account Holders’ privacy and expressly promise not to sell or share their personal information.
11
     Google not only violated these contractual promises, it frustrated the purpose of those terms by
12
     specifically and repeatedly selling and sharing Account Holders’ data through its RTB process.
13
            357.    Moreover, Google made statements concerning the purported privacy of Account
14
     Holder data outside of the specific confines of the contracts it drafted and required Account Holders
15
     to enter. By explicitly violating these extra-contractual terms and thereby acting in bad faith,
16
     Google violated the implied covenant of good faith and fair dealing.
17
            358.    On the “How our business works” webpage, Google promises, “[W]hen you use our
18
     products you trust us with your personal information. That’s why we never sell your personal
19
     information and why we give you powerful privacy controls.” Ex. 5 at 2.
20
            359.    On Google’s “Who are Google’s Partners” webpage,
21
                    a.      Google states: “We don’t share information that personally identifies you
22                          with our advertising partners, such as your name or email, unless you ask us
                            to share it.” Ex. 21 at 2.
23
                    b.      Google identifies seven “partners” that it permits to “collect or receive non-
24                          personally identifiable information about your browser or device when you
                            use Google sites and apps,” without disclosing the hundreds of auction
25                          participants with whom it shares personal information, including highly-
                            sensitive personal information. Id. at 1.
26

27          360.    On Google’s “Personalized Advertising” webpage, Google states:
28

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                    a.      “Advertisers can’t use sensitive interest categories to target ads to users or
 1                          to promote advertisers’ products or services.” Ex. 22 at 2.

 2                  b.      “Personal hardships: Because we don’t want ads to exploit the difficulties or
                            struggles of users, we don’t allow categories related to personal hardships.”
 3                          Id.

 4                  c.      “Identity and belief: Because we want ads to reflect a user’s interests rather
                            than more personal interpretations of their fundamental identity, we don’t
 5                          allow categories related to identity and belief, some of which could also be
                            used to stigmatize an individual.” Id.
 6
                    d.      “Sexual interests: Because we understand that sexual experiences and
 7                          interests are inherently private, we don’t allow categories related to sexual
                            interests.” Id.
 8

 9          361.    On the same webpage, under the header “Prohibited Categories,” Google states:

10   “The following sensitive interest categories can’t be used by advertisers to target ads to users or to

11   promote advertisers’ products or services” (Id. at 2):

12                  a.      Restricted drug terms – “Prescription medications and information about
                            prescription medications, unless the medication and any listed ingredients
13                          are only intended for animal use and are not prone to human abuse or other
                            misuse.” Id. at 3.
14
                    b.      “Personal hardships – We understand that users don’t want to see ads that
15                          exploit their personal struggles, difficulties, and hardships, so we don’t allow
                            personalized advertising based on these hardships. Such personal hardships
16                          include health conditions, treatments, procedures, personal failings,
                            struggles, or traumatic personal experiences. You also can’t impose
17                          negativity on the user.” Id.

18                  c.      “Health in personalized advertising [including] Physical or mental health
                            conditions, including diseases, sexual health, and chronic health conditions,
19                          which are health conditions that require long-term care or management[;]
                            products, services, or procedures to treat or manage chronic health
20                          conditions, which includes over-the-counter medications and medical
                            devices[;] any health issues associated with intimate body parts or functions,
21                          which includes genital, bowel, or urinary health[;] invasive medical
                            procedures, which includes cosmetic surgery[;] Disabilities, even when
22                          content is oriented toward the user’s primary caretaker. Examples [include]
                            Treatments for chronic health conditions like diabetes or arthritis, treatments
23                          for sexually transmitted diseases, counseling services for mental health
                            issues like depression or anxiety, medical devices for sleep apnea like CPAP
24                          machines, overt-the-counter medications for yeast infections, [and]
                            information about how to support your autistic child.” Id.
25
                    d.      “Relationships in personalized advertising [including] Personal hardships
26                          with family, friends, or other interpersonal relationships[.] Examples
                            [include] divorce services, books about coping with divorce, bereavement
27                          products or services, family counseling services[.]” Id. at 4.

28                  e.       “Sexual orientation in personalized advertising [including] lesbian, gay,

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                             bisexual, questioning, or heterosexual orientation[.] Examples [include]
 1                           information about revealing your homosexuality, gay dating, gay travel,
                             information about bisexuality.” Id. at 4-5.
 2
                      f.     “Personal race or ethnicity.” Id. at 5.
 3
                      g.     “Personal religious beliefs.” Id.
 4

 5          362.      On Google’s “Your privacy is protected by responsible data practices” webpage,

 6   Google states:

 7                    a.     “Data plays an important role in making the products and services you use
                             every day more helpful. We are committed to treating that data responsibly
 8                           and protecting your privacy with strict protocols and innovative privacy
                             technologies.” Ex. 24 at 1.
 9
                      b.     That it uses “advanced privacy technologies [to] help keep your personal
10                           information private.” Id. at 3.

11                    c.     “We are continuously innovating new technologies that protect your private
                             information without impacting your experiences on our products.” Id.
12
                      d.     “We use leading anonymization techniques to protect your data while
13                           making our services work better for you.” Id. at 3-4.

14                    e.     “Privacy is core to how we build our products, with rigorous privacy
                             standards guiding every stage of product development. Each product and
15                           feature adheres to these privacy standards, which are implemented through
                             comprehensive privacy reviews.” Id. at 4.
16

17          363.      On Google’s “We do not sell your personal information to anyone” webpage,

18   Google states:

19                    a.     “We do not sell your personal information to anyone.” Ex. 23 at 1.

20                    b.     “Without identifying you personally to advertisers or other third parties, we
                             might use data that includes your searches and location, websites and apps
21                           that you’ve used, videos and ads that you’ve seen, and basic information that
                             you’ve given us, such as your age range and gender.” Id.
22
                      c.     “We give advertisers data about their ads’ performance, but we do so without
23                           revealing any of your personal information. At every point in the process of
                             showing you ads, we keep your personal information protected and private.”
24                           Id.

25                    d.     “[R]emember, we never share any of this personal information with
                             advertisers.” Id. at 2.
26

27          364.      On Google’s “Your privacy is protected by responsible data practices” webpage,

28   Google states:

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                   a.        “Your privacy is protected by responsible data practices.” Ex. 24 at 1.
 1
                   b.        “We never sell your personal information, and give you controls over who
 2                           has access.” Id. at 2.

 3                 c.        “We are committed to protecting your data from third parties. That’s why
                             it’s our strict policy to never sell your personal information to anyone.” Id.
 4
                   d.        “We don’t share information that personally identifies you with advertisers,
 5                           such as your name or email, unless you ask us to.” Id. at 1-2.

 6
            365.   Google’s CEO Sundar Pichai publicly stated:
 7
                   a.        “We do not and would never sell consumer data.” Pichai, supra note 10.
 8
                   b.        “To make privacy real, we give you clear, meaningful choices around your
 9                           data. All while staying true to two unequivocal policies: that Google will
                             never sell any personal information to third parties; and that you get to decide
10                           how your information is used.” Ex. 25 at 1.

11
            366.   Google’s sharing and selling of Plaintiffs’ and Class Members’ personal information
12
     with other companies:
13
                   a.        Was objectively unreasonable given Google’s numerous privacy promises
14                           both within and outside the confines of the terms it forced Account Holders
                             to agree to in order to become Account Holders;
15
                   b.        Evaded the spirit of the bargain made between Google, Plaintiffs and Class
16                           Members; and

17                 c.        Abused Google’s power to specify terms in the contract.

18
            367.   Google’s sharing, sale, and use of Plaintiffs’ and Class Members’ sensitive personal
19
     information for purposes of targeted advertising through Google RTB:
20
                   a.        Evaded the spirit of the bargain made between Google, Plaintiffs and Class
21                           Members; and

22                 b.        Abused Google’s power to specify terms in the contract.

23
            368.   Google’s failure to inform Plaintiffs and Class Members of its conduct in Google
24
     RTB and failure to give Plaintiffs and Class Members privacy controls to prevent the sale and
25
     sharing of their personal information in Google RTB was objectively unreasonable and evaded the
26
     spirit of the bargain made between Google, Plaintiffs and Class Members
27
            369.   Google’s use of Plaintiffs’ and Class Members’ personal information to target them
28

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 1   and enable other companies to add to their own user profiles was in bad faith, and promising

 2   Plaintiffs’ and Class Members’ personal information would not be disclosed induced them to share

 3   more information with Google.

 4          370.    As a result of Google’s misconduct and breach of its duty of good faith and fair

 5   dealing, Google was able to obtain the personal property of Plaintiffs and Class Members, earn

 6   unjust profits, and cause privacy injury and other consequential damages.

 7          371.    As a result of Google’s bad faith breach of its contractual and extra-contractual

 8   promises, Plaintiffs and Class Members are entitled to recover benefit of the bargain damages,

 9   unjust enrichment damages in the form of restitution measures by either unearned profits or a

10   reasonable royalty value, and nominal damages.

11                 COUNT THREE: VIOLATIONS OF THE CALIFORNIA UNFAIR
                               COMPETITION LAW (“UCL”)
12                           Cal. Bus. & Prof. Code § 17200 et seq.
13          372.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
14          373.    The UCL prohibits any “unlawful, unfair, or fraudulent business act or practice and
15   unfair, deceptive, untrue or misleading advertising.” CAL. BUS. & PROF. CODE § 17200.
16          374.    Google is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
17          375.    Google violated the UCL by engaging in the following unlawful, unfair, and
18   deceptive business acts and practices:
19                  a.     Violating its Terms of Service, knowingly and willfully or negligently and
                           materially, in violation of Cal. Bus. & Prof. Code § 22576;
20
                    b.     Violating the Electronic Communications Privacy Act, 18 U.S.C. §§ 2510
21                         and 2701, et seq.;
22                  c.     Violating the Video Privacy Protection Act, 18 U.S.C. § 2710, et seq.;
23                  d.     Violating the California Invasion of Privacy Act, Cal. Penal Code §§ 630, et
                           seq.;
24
                    e.     Violating the California Computer Data Access and Fraud Act, Cal. Penal
25                         Code § 502;
26                  f.     Committing Statutory Larceny, Cal. Penal Code §§ 484 and 496;
27                  g.     Violating the common law right of privacy via intrusion upon seclusion and
                           publication of private facts;
28

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                    h.      Violating the Art. 1, § 1 of the California Constitution Right to Privacy;
 1
                    i.      Violating express contract promises to consumers;
 2
                    j.      Violating the duty of good faith and fair dealing; and
 3
                    k.      Violating the duty to hold Account Holders’ personal information in
 4                          confidence.

 5
            376.    Google’s conduct violated the spirit and letter of these laws, which protect property,
 6
     economic and privacy interests, and prohibit unauthorized disclosure and collection of private
 7
     communications and personal information.
 8
            377.    Google stated it would not sell or disseminate Plaintiffs’ and Class Members’
 9
     personal information without their consent to other companies, except in limited situations not
10
     applicable here.
11
            378.    Google’s conduct was immoral, unethical, oppressive, unscrupulous, and
12
     substantially injurious to Plaintiffs and Class Members. Further, Google’s conduct narrowly
13
     benefitted its own business interests at the expense of Plaintiffs’ and Class Members’ fundamental
14
     privacy interests protected by the California Constitution and the common law.
15
            379.    Plaintiffs’ and Class Members’ loss of their personal information constitutes an
16
     economic injury.
17
            380.    Plaintiffs and Class Members have suffered harm in the form of lost property value,
18
     specifically the diminution of the value of their private and personally identifiable data and content.
19
            381.    Google’s actions caused damage to and loss of Plaintiffs’ and Class Members’
20
     property right to control the dissemination and use of their personal information and
21
     communications.
22
            382.    Plaintiffs and Class Members seek all monetary and non-monetary relief allowed by
23
     law, including restitution, declaratory relief, reasonable attorneys’ fees and costs under California
24
     Code of Civil Procedure § 1021.5, injunctive relief, and all other equitable relief the Court
25
     determines is warranted.
26
          COUNT FOUR: CALIFORNIA CONSTITUTIONAL INVASION OF PRIVACY
27
            383.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
28

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 1           384.   Article I, § 1 of the California Constitution provides, “All people are by nature free

 2   and independent and have inalienable rights. Among those are enjoying and defending life and

 3   liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,

 4   happiness, and privacy.”

 5           385.   The phrase “and privacy” was added by an initiative adopted by California voters

 6   on November 7, 1972 (the Privacy Initiative).

 7           386.   The Privacy Initiative created a private right of action against nongovernmental

 8   entities for invasions of privacy.

 9           387.   The California Supreme Court has explained that, one of the principal “mischiefs”

10   to which the Privacy Initiative was directed was “the overbroad collection and retention of

11   unnecessary personal information by government and business interests.” White v. Davis, 13 Cal.3d

12   757, 775 (Cal. 1975). “The moving force behind the new constitutional provision … relat[ed] to

13   the accelerating encroachment on personal freedom and security caused by increased surveillance

14   and data collection activity in contemporary society. The new provision’s primary purpose is to

15   afford individuals some measure of protection against this most modern threat to personal privacy.”

16   Id. at 774.

17           388.   The ballot language for the Privacy Initiative explained:

18                  Computerization of records makes it possible to create ‘cradle-to-
                    grave’ profiles of every American. … The right of privacy is the
19                  right to be left alone. It is a fundamental and compelling interest. It
                    protects our homes, our families, our thoughts, our emotions, our
20                  expressions, our personalities, our freedom of communion and our
                    freedom to associate with the people we choose. It prevents
21                  government and business interests from collecting and stockpiling
                    unnecessary information about us and from misusing information
22                  gathered for one purpose in order to serve other purposes or to
                    embarrass us.
23
                    Fundamental to our privacy is the ability to control circulation of
24                  personal information. This is essential to social relationships and
                    personal freedom. The proliferation of government and business
25                  records over which we have no control limits our ability to control
                    our personal lives. Often, we do not know that these records even
26                  exist and we are certainly unable to determine who has access to
                    them.
27
     White v. Davis, 13 Cal.3d at 774-75 (emphasis in original) (quoting ballot language).
28

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 1          389.    Google’s conduct in selling and sharing Plaintiffs’ and Class Members’ personal

 2   information in violation of its express unequivocal promises to the contrary is exactly why

 3   California voters adopted the Privacy Initiative in 1972.

 4          390.    Google creates “cradle-to-grave profiles” and detailed dossiers of Plaintiffs and

 5   Class Members, and then sells and shares the personal information contained in those profiles and

 6   dossiers with hundreds of different companies to aid those other companies for the purpose of

 7   making money and assisting those other companies in supplementing or building their own separate

 8   profiles and dossiers about Plaintiffs and Class Members.

 9          391.    As described herein, Google has intruded upon the following legally protected

10   privacy interests of Plaintiffs and Class Members:

11                  a.        The right to privacy contained on personal computing devices, including
                              web-browsing history;
12
                    b.        The right to restrain business interests from misusing information gathered
13                            for one purpose in order to serve other purposes;

14                  c.        The right to control circulation of their personal information;

15                  d.        Statutory rights codified in federal and California privacy statutes;

16                  e.        The California Computer Crime Law, Cal Pen. Code § 502, which applies
                              to all plaintiffs in this case by virtue of Google’s choice of California law to
17                            govern its relationship with Google users;

18
            392.    Through the Terms of Service, other policies and other public statements set forth
19
     above, Google promised not to share or sell Plaintiffs’ and Class Members’ personal information
20
     without authorization.
21
            393.    Plaintiffs and Class Members had a reasonable expectation of privacy in the
22
     circumstances in that:
23
                    a.        Plaintiffs and Class Members could not reasonably expect Google would
24                            commit acts in violation of federal and state laws as set forth below.

25                  b.        Google affirmatively promised users it would not share or sell their personal
                              information without authorization.
26

27          394.    Google’s actions constituted a serious invasion of privacy in that it:

28                  a.        Violated several federal criminal laws, including the Electronic

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                           Communications Privacy Act.
 1
                    b.     Violated dozens of state criminal laws.
 2
                    c.     Invaded the privacy rights of hundreds of millions of Account Holders
 3                         without their consent.

 4                  d.     Disclosed sensitive personal information every time it shared information
                           related to the verticals above relating to health, religion, ethnicity, race, or
 5                         sexuality.

 6                  e.     Enabled the targeting of Account Holders by third parties who did not have
                           legal access to their personal information.
 7

 8          395.    The surreptitious and unauthorized sharing and sale of the internet communications

 9   and associated personal information of millions of Account Holders constitutes an egregious breach

10   of social norms.

11          396.    Google lacked a legitimate business interest in sharing and selling Plaintiffs’ and

12   Class Members’ personal information without their authorization.

13          397.    In violating Plaintiffs’ and Class Members’ privacy in the manner described above,

14   Google acted with oppression, fraud, or malice.

15          398.    Plaintiffs and Class Members have been damaged by Google’s invasion of their

16   privacy and are entitled to just compensation in the form of actual damages, general damages, unjust

17   enrichment, nominal damages, and punitive damages.

18                         COUNT FIVE: INTRUSION UPON SECLUSION
19          399.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

20          400.    A claim for intrusion upon seclusion requires (1) intrusion into a private place,

21   conversation, or matter; (2) in a manner highly offensive to a reasonable person.

22          401.    In carrying out its scheme to share and sell Plaintiffs’ and Class Members’ personal

23   information without their consent, Google intentionally intruded upon the Plaintiffs’ and Class

24   Members’ solitude or seclusion in that it effectively placed itself in the middle of Plaintiffs’ and

25   Class Members’ communications to which it was not an authorized party and used data that they

26   had not authorized Google to sell or share, but which it sold and shared anyway.

27          402.    By engaging in cookie-matching with hundreds of other companies, Google

28   intentionally intruded upon the Plaintiffs’ and Class Members’ solitude or seclusion. Cookie

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 1   matching enabled companies with limited information about Plaintiffs and other Class Members to

 2   accumulate substantially more information about each individual Plaintiff and Class Member from

 3   Google.

 4          403.    By selling and sharing Plaintiffs’ and Class Members’ sensitive personal

 5   information for purposes of targeted advertising, Google intentionally intruded upon the Plaintiffs’

 6   and Class Members’ solitude or seclusion in that it subjected Plaintiffs and Class Members to

 7   advertisements targeted to that sensitive information and publicized sensitive information to

 8   hundreds of other companies. Indeed, once sensitive information from Google account holders had

 9   been shared with other companies, there existed no way for account holders to further limit the

10   continued spread of such information.

11          404.    Google’s actions were not authorized by the Plaintiffs and Class Members.

12          405.    Google’s intentional intrusion into Plaintiffs’ and Class Members personal

13   information, Internet communications, and computing devices was highly offensive to a reasonable

14   person in that Google violated federal and state criminal and civil laws designed to protect

15   individual privacy and against theft.

16          406.    Google’s unauthorized sharing and sale of personal information from hundreds of

17   millions of Americans, including highly sensitive information about individuals’ race, ethnicity,

18   religion, health, and financial status, is highly offensive behavior.

19          407.    Google’s secret monitoring of web browsing for purposes of selling and sharing it

20   with hundreds of unknown companies without Account Holders’ consent is highly offensive

21   behavior.

22          408.    In intruding on Plaintiffs’ and Class Members’ seclusion in the manner described

23   herein, Google acted with oppression, fraud, or malice.

24          409.    Plaintiffs and Class Members have been damaged by Google’s intrusion upon their

25   seclusion and are entitled to just compensation in the form of actual damages, general damages,

26   unjust enrichment, nominal damages, and punitive damages.

27                  COUNT SIX: PUBLICATION OF PRIVATE INFORMATION
28          410.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

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 1          411.    Plaintiffs’ and Class Members’ personal information, including their Internet

 2   communications and sensitive data, are private facts that Google promised not to share or sell to

 3   advertisers.

 4          412.    Google gave publicity to Plaintiffs’ and Class Members’ private facts and the

 5   content of their Internet communications by sharing and selling them to hundreds of different

 6   companies. Many of those companies have business models predicated on building massive

 7   databases of individual consumer profiles from which to sell targeted advertising and make further

 8   disseminations.

 9          413.    Plaintiffs and Class Members had no knowledge that Google was sharing and selling

10   their personal information and did not authorize or consent to such publication.

11          414.    Google’s selling and sharing of patient personal information to hundreds of different

12   advertising companies would be highly offensive to a reasonable person.

13          415.    In disseminating Plaintiffs’ and Class Members’ personal information without their

14   consent in the manner described above, Google acted with oppression, fraud, or malice.

15          416.    Plaintiffs and Class Members have been damaged by the publication of their private

16   information and are entitled to just compensation in the form of actual damages, general damages,

17   unjust enrichment, nominal damages, and punitive damages.

18                           COUNT SEVEN: BREACH OF CONFIDENCE
19          417.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

20          418.    Plaintiffs and Class Members entrusted their personal information to Google.

21          419.    The totality of Plaintiffs’ and Class Members’ personal information, including the

22   content of their Internet communications, is confidential and novel.

23          420.       Google knew that Plaintiffs’ and Class Members’ personal information was

24   disclosed to Google in confidence. Indeed, Google’s express promises to Plaintiffs and Class

25   Members reflects its knowledge that their personal information was disclosed in confidence.

26   Google told Account Holders:

27                  a.      “[W]hen you use our products, you trust us with your personal information.
                            That’s why we never sell your personal information.” Ex. 5 at 1.
28

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                     b.      “When you use our services, you’re trusting us with your information. We
 1                          understand this is a big responsibility and work hard to protect your
                            information[.]” E.g., Ex. 1 at 1; Ex. 15 at 1; Ex. 20 at 1.
 2

 3            421.   As Google’s CEO stated, “billions of people have trusted Google with questions

 4   they wouldn’t have asked their closest friends.” Ex. 25 at 1.

 5            422.   Google’s CEO also stated, “To make privacy real, we give you clear, meaningful

 6   choices around your data. All while staying true to two unequivocal policies: that Google will never

 7   sell any personal information to third parties; and that you get to decide how your information is

 8   used.” Id.

 9            423.   Google created and assumed a duty to protect Plaintiffs’ and Class Members’

10   confidential personal information by creating a legal relationship with them via its Terms of

11   Service.

12            424.   There was an understanding between Google on the one hand, and Plaintiffs and

13   Class Members on the other, that Google would not betray their confidence by sharing their

14   personal information without consent.

15            425.   By disclosing and using Account Holders’ personal information in violation of this

16   understanding, Google breached the trust and confidence that Plaintiffs and Class Members placed

17   in it.

18            426.   In breaching Plaintiffs’ and Class Members’ confidence in the manner described

19   above, Google acted with oppression, fraud, or malice.

20            427.   Plaintiffs and Class Members have been damaged by Google’s breach of trust and

21   confidence and are entitled to just compensation in the form of actual damages, general damages,

22   unjust enrichment, nominal damages, and punitive damages.

23    COUNT EIGHT: VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT
24            428.   Google is subject to the California Invasion of Privacy Act (“CIPA”), Cal. Penal

25   Code §§ 630-638. Google is headquartered in California; designed, contrived, and effectuated its

26   practice of disclosing account holder information during the RTB process in California; and has

27   adopted California substantive law to govern its relationship with Plaintiffs and all Class Members.

28            429.   The California Invasion of Privacy Act states the following purpose:

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                    The Legislature hereby declares that advances in science and
 1                  technology have led to the development of new devices and
                    techniques for the purpose of eavesdropping upon private
 2                  communications and that the invasion of privacy resulting from the
                    continual and increasing use of such devices and techniques has
 3                  created a serious threat to the free exercise of personal liberties and
                    cannot be tolerated in a free and civilized society.
 4

 5   CAL. PENAL CODE § 630.

 6          430.    Cal. Penal Code § 631(a) provides, in pertinent part:

 7                  Any person who, by means of any machine, instrument, or
                    contrivance, or in any other manner ….willfully and without the
 8                  consent of all parties to the communication, or in any unauthorized
                    manner, reads, or attempts to read, or to learn the contents or
 9                  meaning of any message, report, or communication while the same
                    is in transit or passing over any wire, line, or cable, or is being sent
10                  from, or received at any place within this state; or who uses, or
                    attempts to use, in any manner, or for any purpose, or to
11                  communicate in any way, any information so obtained, or who aids,
                    agrees with, employs, or conspires with any person or persons to
12                  unlawfully do, or permit, or cause to be done any of the acts or things
                    mentioned above in this section, is punishable by a fine not
13                  exceeding two thousand five hundred dollars ….

14
            431.    Google is a “person” within the meaning of § 631(a).
15
            432.    By employing its Google RTB to sell and share Account Holder information to
16
     hundreds of Google RTB participants in real-time while communications between the Account
17
     Holders and first-party websites were still in transit or being sent or received within California,
18
     Google aided, agreed with, and conspired with Google RTB participants to aid them in reading,
19
     attempting to read, learning, or using the contents or meaning of the communications being
20
     exchanged connected to the Plaintiffs’ and Class Members’ personal information.
21
            433.    Plaintiffs and Class Members did not consent to Google’s aid to or agreement with
22
     Google RTB participants in reading, attempting to read, learning, or using the contents or meaning
23
     of Plaintiffs’ and Class Members’ communications with websites that Plaintiffs and Class Members
24
     were directly interacting with.
25
            434.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under
26
     § 631(a):
27
                    a.      The cookies Google used to track, share, and sell the Plaintiffs’ and Class
28                          Members’ communications to Google RTB participants;

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                      b.       The Plaintiffs’ and Class Members’ browsers;
 1
                      c.       The Plaintiffs’ and Class Members’ personal computing devices;
 2
                      d.       Google’s web servers;
 3
                      e.       The web servers of non-Google websites from which Google tracked,
 4                             intercepted, shared, and sold the Plaintiffs’ and Class Members’
                               communications; and
 5
                      f.       The web servers of the Google RTB participants to which Google sold and
 6                             shared Plaintiffs’ and Class Members’ communications; and

 7                    g.       The computer code Google deployed to effectuate its scheme, including but
                               not limited to Bid Requests for each Target Google caused to be submitted
 8                             to Google RTB participants.

 9
               435.   Even if the above-listed items do not constitute “machine[s], instrument[s], or
10
     contrivance[s],” Google’s deliberate and purposeful efforts to facilitate its conduct comprise “any
11
     other manner.”
12
               436.   Google’s aid to the Google RTB participants occurred in “real time,” as
13
     acknowledged by Google in its naming of the Google Real-Time Bidding system. As such,
14
     Google’s aid to Google RTB participants occurred while Plaintiffs’ and Class Members’
15
     communications with first-party websites were in transit or in the process of being sent or received.
16
               437.   Google’s RTB documentation acknowledges that the information Google aided
17
     RTB participants in reading, attempting to read, or to learn included the “contents” and “meaning”
18
     of the Plaintiffs’ and Class Members’ communications with first-party websites. The “contents” or
19
     “meaning” re-directed within Google RTB Bid Requests include:
20
                                        COMMUNICATIONS CONTENT
21    cat                  Array of IAB content categories of the site or app.
      sectioncat           Array of IAB content categories that describe current section of site or app.
22    pagecat              Array of IAB content categories that describe current site or app page or view.
      page                 URL of the page where the impression will be shown.
23    ref                  Referrer URL that caused navigation to the current page.
      publisher            Details about the Publisher object of the site or app.
24    content              Details about the Content within the site or app.
      keywords             Comma-separated list of keywords about this site or app.
25    content id           ID uniquely identifying the content.
      episode              Content episode number (typically applies to video content).
26    title                Content title. Video examples: “Search Committee” (television); “A New Hope
                           (movie); or “Endgame” (made for web). Non-video example: “Why an
27                         Antarctic Glacier is Melting So Quickly” (Time magazine article).
28    series               Content series. Video examples: “The Office” (television); “Star Wars”

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                     (movie); or “Arby ‘N’ The Chief (made for web). Non-video example:
 1                   (“Ecocentric”) (Time magazine blog).
       “INFORMATION THAT WE KNOW ABOUT THE WEB PAGE OR MOBILE APP”
 2    17 Publisher ID        The publisher ID.
      20 URL                 The URL of the page with parameters removed.
 3                                    VIDEO INFORMATION
      51 URL                 The URL of the page that the publisher gives Google to describe the
 4                           video content, with parameters removed.
      61 Video title         The video title.
 5    62 Video keywords      A list of keywords describing the video, extracted from the content
                             management system of the video publisher.
 6
            438.    Plaintiffs and Class Members have suffered loss by reason of these violations,
 7
     including, but not limited to, violation of their rights to privacy and loss of value in their personal
 8
     information.
 9
            439.    Because Plaintiffs and Class Members have been injured by Google’s violations of
10
     Cal. Pen. Code § 631, each seeks damages of the greater of $5,000 or three times the amount of
11
     actual damages, if any, sustained, as well as injunctive relief.
12
     COUNT NINE: VIOLATIONS OF THE ELECTRONIC COMMUNICATIONS PRIVACY
13
           ACT – UNAUTHORIZED INTERCEPTION, USE, AND DISCLOSURE
14          440.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
15          441.    The Electronic Communications Privacy Act (“ECPA”) prohibits the unauthorized
16   interception of the content of any communication through the use of any device, and any subsequent
17   disclosure or use of the intercepted contents of any electronic communication. 18 U.S.C. §2511.
18          442.    ECPA protects both the sending and receipt of communications.
19          443.    18 U.S.C. § 2520(a) provides a private right of action to any person whose wire,
20   oral, or electronic communication is intercepted.
21          444.    Google violated the interception provisions of the Electronic Communications
22   Privacy Act (“ECPA”) by:
23
                    a.      Intentionally disclosing, or endeavoring to disclose, to other companies the
24                          contents of Plaintiffs’ and Class Members’ electronic communications,
                            knowing or having reason to know that the information was obtained through
25                          the interception of electronic communications, in violation of 18 U.S.C. §
                            2511(1)(c); and/or
26
                    b.      Intentionally using, or endeavoring to use, the contents of Plaintiffs’ and
27                          Class Members’ electronic communications, knowing or having reason to
                            know that the information was obtained through the interception of
28                          electronic communications, in violation of 18 U.S.C. § 2511(1) (d).

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 1          445.    ECPA defines interception as the “acquisition of the contents of any wire, electronic,

 2   or oral communication through the use of any electronic, mechanical, or other device” and

 3   “contents … includes any information concerning the substance, purport, or meaning of that

 4   communication.” 18 U.S.C. § 2510(4), (8).

 5          446.    Google intercepted Plaintiffs’ and Class Members’ electronic communications,

 6   including the following content:

 7                  a.       The precise text of GET and POST requests that Plaintiffs and Class
                             Members exchanged with non-Google websites to which they navigated;
 8
                    b.       The precise text of Plaintiffs’ and Class Members’ search queries at non-
 9                           Google websites to which they navigated and on which they entered such
                             queries; and
10
                    c.       Information that is a general summary or informs Google (and the Google
11                           RTB participants) of the subject of communications between Plaintiffs and
                             Class members and the first-party websites.
12

13          447.    Electronic Communications. The transmission of data between Plaintiffs and Class

14   Members and the non-Google websites with which they chose to exchange communications are

15   “transfer[s] of signs, signals, writing, … data, [and] intelligence of [some] nature transmitted in

16   whole or in part by a wire, radio, electromagnetic, photoelectronic, or photooptical system that

17   affects interstate or foreign commerce” and are therefore “electronic communications” within the

18   meaning of 18 U.S.C. § 2510(2).

19          448.    Content.     The ECPA defines content, when used with respect to electronic

20   communications, to “include[] any information concerning the substance, purport, or meaning of

21   that communication.” 18 U.S.C. § 2510(8) (emphasis added).

22          449.    Google’s developer documentation details the following content of electronic

23   communications that it redirects to other companies in the Google RTB process:

24                                   COMMUNICATIONS CONTENT
      cat                Array of IAB content categories of the site or app.
25    sectioncat         Array of IAB content categories that describe current section of site or app.
      pagecat            Array of IAB content categories that describe current site or app page or view.
26    page               URL of the page where the impression will be shown.
      ref                Referrer URL that caused navigation to the current page.
27    publisher          Details about the Publisher object of the site or app.
      content            Details about the Content within the site or app.
28

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      keywords       Comma-separated list of keywords about this site or app.
 1    content id     ID uniquely identifying the content.
      episode        Content episode number (typically applies to video content).
 2    title          Content tile. Video examples: “Search Committee” (television); “A New Hope
                     (movie); or “Endgame” (made for web). Non-video example: “Why an
 3                   Antarctic Glacier is Melting So Quickly” (Time magazine article).
      series         Content series. Video examples: “The Office” (television); “Star Wars”
 4                   (movie); or “Arby ‘N’ The Chief (made for web). Non-video example:
                     (“Ecocentric”) (Time magazine blog).
 5      “INFORMATION THAT WE KNOW ABOUT THE WEB PAGE OR MOBILE APP”
      17 Publisher ID         The publisher ID.
 6    20 URL                  The URL of the page with parameters removed.
                                       VIDEO INFORMATION
 7    51 URL                  The URL of the page that the publisher gives Google to describe the
                              video content, with parameters removed.
 8    61 Video title          The video title.
      62 Video keywords       A list of keywords describing the video, extracted from the content
 9                            management system of the video publisher.
10          450.   Electronic, Mechanical, or Other Device.          The ECPA defines “electronic,
11   mechanical, or other device” as “any device … which can be used to intercept a[n] ... electronic
12   communication[.]” 18 U.S.C. § 2510(5).
13          451.   The following constitute devices within the meaning of 18 U.S.C. § 2510(5):
14
                   a.      The cookies Google used to acquire Plaintiffs’ and Class Members’
15                         communications, including cookies Google sets, acquires, and discloses or
                           sells to other companies through cookie-sharing;
16
                   b.      The Plaintiffs’ and Class Members’ browsers;
17
                   c.      The Plaintiffs’ and Class Members’ computing devices;
18
                   d.      Google’s web servers;
19
                   e.      The web servers of the first-party non-Google websites from which Google
20                         tracked and intercepted the Plaintiffs’ and Class Members’ communications;
                           and
21
                   f.      The computer code deployed by Google to effectuate its tracking and
22                         interception of Plaintiffs’ and Class Members’ communications for purposes
                           of forwarding them to hundreds of Google RTB participants, without
23                         authorization, including but not limited to data contained in Bid Requests.

24          452.   Unauthorized Purpose. Google intentionally intercepted the contents of Plaintiffs’
25   and Class Members’ electronic communications for the unauthorized purpose of disclosing and
26   selling those contents to Google’s RTB participants.
27          453.   Plaintiffs and Class members did not authorize Google to acquire the content of their
28

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 1   communications for purposes of sharing and selling the personal information contained therein.

 2   Indeed, Google expressly and repeatedly promised that it would not share or sell user personal

 3   information, including browsing history.

 4          454.     Google’s interception of the contents of Plaintiffs’ and Class Members’

 5   communications was contemporaneous with their exchange with the websites to which they

 6   directed their communications. As described above, the Google RTB process occurs in milliseconds

 7   while the communication is still being exchanged between Plaintiffs and Class Members and the

 8   website to which they directed their communications. That is why Google itself refers to the process

 9   as “Real-Time Bidding.” The signal sent out to Google RTB is sent simultaneously with the signal

10   sent to the websites to which Plaintiffs’ and Class Members’ communications were directed.

11          455.     Google is not a party to Plaintiffs’ and Class Members’ electronic communications

12   exchanged with the non-Google websites to which Plaintiffs and Class Members directed their

13   communications.

14          456.     Google acquired the content of Plaintiffs’ and Class members’ electronic

15   communications with the non-Google websites to which their communications were directed

16   through the surreptitious duplication, forwarding, and re-direction of those communications to

17   Google. After intercepting the communications without authorization, Google then disclosed, sold,

18   and shared the contents of the intercepted communications to hundreds of Google RTB participants

19   and used the contents of the intercepted communications in furtherance of the Google RTB auction

20   sales system.

21          457.     Exceptions Do Not Apply. The ECPA prohibition on unauthorized interception

22   contains exceptions. The burden is on the party seeking the benefit of an exception to prove its

23   existence. Therefore, Plaintiffs need not affirmatively plead the absence of any exception.

24   Nevertheless, Plaintiffs plead that Google’s interceptions do not qualify for any exceptions.

25          458.     ECPA provides an ordinary course of business exception for liability, under which

26   the communications at issue are, by definition, not intercepted. 18 U.S.C. § 2510(5)(a)(ii). This

27   exception is narrow and protects from liability only where an electronic service provider’s

28   interception facilitates the transmission of the communication at issue or is incidental to the

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 1   transmission of such communication. Google’s interception of the contents of Plaintiffs’ and Class

 2   Members’ communications with any non-Google website to which they directed their browser does

 3   not facilitate and is not incidental to that communication. Rather, Google’s interception facilitates

 4   a separate, unrelated communication – the contemporaneous communication of Plaintiffs’ and

 5   Class Members’ personal information to Google RTB participants.

 6          459.    ECPA provides an exception where one party to the communications provides

 7   consent to the disclosure of the communications at issue. 18 U.S.C. § 2511(2)(2). As detailed

 8   above, Plaintiffs and Class Members did not provide consent to the disclosure of the content of

 9   their communications with Google RTB participants. To the contrary, Google promised in its

10   Terms of Service and numerous other communications that it would not sell or share Account

11   Holders’ personal information absent their consent. Plaintiffs and Class Members were not asked

12   for, and did not provide, such consent. Nor did Google procure the “lawful consent” of the websites

13   to which Plaintiffs and Class Members directed and exchanged communications.

14          460.    Similarly, the agreements that Google enters with publishers using Google’s RTB

15   process to fill ad space echo the promises Google makes to Account Holders. Google promises the

16   website publishers that fill advertising space through Google RTB that Google’s use of information

17   will be “in accordance with Google’s privacy policy” – the same privacy policy detailed above that

18   expressly promises not to sell or share Account Holder information. Publishers who sign up for

19   Google RTB must do so through the Google Ad Manager. At the end of the initial sign-up process,

20   the publisher is promised, “Google’s use of your information will be in accordance with Google’s

21   privacy policy.” The privacy policy referenced is the same Privacy Policy that pertains to Account

22   Holders, promising, as set forth above, that Google will not share or sell Account Holder personal

23   information.

24          461.    Likewise, the Google API Terms of Service promise, “By using our APIs, Google

25   may use submitted information in accordance with our privacy policy.” Again, the privacy policy

26   referenced is the same Privacy Policy that pertains to Account Holders, promising, as set forth

27   above, that Google will not share or sell Account Holder personal information.

28          462.    Moreover, ECPA also contains an exception to the exception for single party

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 1   consent. Under 18 U.S.C. § 2511(2)(d), an interception is unlawful and actionable even “where one

 2   of the parties to the communication has given prior consent to such interception” if the

 3   communication was “intercepted for the purpose of committing any criminal or tortious act in

 4   violation of the Constitution or laws of the United States or of any State.”

 5          463.    As alleged throughout, Google’s redirection, sale, and sharing of Plaintiffs’ and

 6   Class Members’ personal information and the contents of their Internet communications had the

 7   requisite criminal or tortious purpose for Plaintiffs’ and Class Members’ claims for intrusion upon

 8   seclusion; publication of private facts; tortious violation of Art. I, sec. 1 of the California

 9   Constitution; breach of confidence; violation of the California UCL, Cal. Bus. & Prof. Code §

10   17200; the California Invasion of Privacy Act, Cal. Penal Code § 630; the California Computer

11   Data Access and Fraud Act, Cal. Penal Code § 502; California Statutory Larceny, Cal. Penal Code

12   §§ 484 and 496; the Electronic Communications Privacy Act, 18 U.S.C. §2511; and the Video

13   Privacy Protection Act, 18 U.S.C. § 2710.

14          464.    For the violations set forth above, Plaintiffs and Class Members seek appropriate

15   preliminary and other equitable or declaratory relief; the appropriate statutory measure of damages;

16   punitive damages in an amount to be determined by a jury; and a reasonable attorney’s fee and

17   other litigation costs reasonably incurred. 18 U.S.C § 2520.

18       COUNT TEN: VIOLATION OF THE ECPA WIRETAP ACT – UNAUTHORIZED
             DISCLOSURE OF ELECTRONIC COMMUNICATIONS BY AN ECS
19
     On behalf of Subclass A of All Google Account Holders Who Use the Google Chrome Browser
20
            465.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
21
            466.    Plaintiffs are Account Holders who also use the Google Chrome web browser.
22
            467.    This count is brought on behalf of Subclass A of all Google Account Holders who
23
     use the Google Chrome web browser.
24
            468.    The ECPA Wiretap statute provides that “a person or entity providing an electronic
25
     communication service to the public shall not intentionally divulge the contents of any
26
     communication (other than one to such person or entity, or an agent thereof) while in transmission
27
     on that service to any person or entity other than an addressee or intended recipient of such
28

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 1   communication or an agent of such addressee or intended recipient.” 18 U.S.C. § 2511(3)(a).

 2          469.   Electronic Communication Service. An “electronic communication service” is

 3   defined as “any service which provides to users thereof the ability to send or receive wire or

 4   electronic communications.” 18 U.S.C. § 2510(15).

 5          470.   The Google Chrome web browser is an electronic communication service. It

 6   provides to users thereof the ability to send or receive electronic communications. In the absence

 7   of a web browser or some other such system, Internet users could not send or receive

 8   communications over the Internet.

 9          471.   Intentional Divulgence. Google intentionally designed the Chrome web browser so

10   that it would divulge the contents of Plaintiffs’ and Subclass A members’ communications with

11   non-Google websites to hundreds of Google RTB participants.

12          472.   While in Transmission. Google Chrome’s divulgence of the contents of Plaintiffs’

13   and Class members’ communications was contemporaneous with their exchange with the websites

14   to which they directed their communications. As described above, the Google RTB process occurs

15   in milliseconds while the communication is still being exchanged between Plaintiffs and Class

16   members and the websites to which they directed their communications. That is why Google itself

17   refers to the process as “Real-Time Bidding.” The signal sent out to Google RTB is sent

18   simultaneously with the signal sent to the websites with which Plaintiffs’ and Class members are

19   exchanging communications and while those communications are still occurring.

20          473.   Google Chrome is not a party to Plaintiffs’ and Class members’ electronic

21   communications exchanged with the non-Google websites to which Plaintiffs and Class members

22   directed their communications.

23          474.   Google Chrome divulged the contents of Plaintiffs’ and Class members’ electronic

24   communications with the non-Google websites to which their communications were directed

25   through the surreptitious duplication, forwarding, and re-direction of those communications to

26   Google. The divulgence of the contents of Plaintiffs’ and Class members’ communications was

27   without authorization. Google Chrome divulged the contents of Plaintiffs’ and Class members’

28   communications to hundreds of Google RTB participants, entities other than the intended recipient

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 1   of such communication, while Plaintiffs’ and Class members’ communications were being

 2   transmitted on Google Chrome.

 3          475.    Exceptions Do Not Apply. In addition to the exception for communications directly

 4   to an ECS or an agent of an ECS, the Wiretap Act states that “[a] person or entity providing

 5   electronic communication service to the public may divulge the contents of any such

 6   communication”:

 7                  a.     “as otherwise authorized in section 2511(2)(a) or 2517 of this title;”

 8                  b.     “with the lawful consent of the originator or any addressee or intended
                           recipient of such communication;”
 9
                    c.     “to a person employed or authorized, or whose facilities are used, to forward
10                         such communication to its destination;” or

11                  d.     “which were inadvertently obtained by the service provider and which
                           appear to pertain to the commission of a crime, if such divulgence is made
12                         to a law enforcement agency.”

13   18 U.S.C. § 2511(3)(b).

14          476.    Section 2511(2)(a)(i) provides:

15                  It shall not be unlawful under this chapter for an operator of a
                    switchboard, or an officer, employee, or agent of a provider of wire
16                  or electronic communication service, whose facilities are used in the
                    transmission of a wire or electronic communication, to intercept,
17                  disclose, or use that communication in the normal course of his
                    employment while engaged in any activity which is a necessary
18                  incident to the rendition of his service or to the protection of the
                    rights or property of the provider of that service, except that a
19                  provider of wire communication service to the public shall not
                    utilize service observing or random monitoring except for
20                  mechanical or service quality control checks.

21
            477.    Google’s divulgence of the contents of Plaintiffs’ and Class members’
22
     communications on the Chrome browser to hundreds of Google RTB participants was not
23
     authorized by 18 U.S.C. § 2511(2)(a) in that it was neither a necessary incident to the rendition of
24
     the Chrome service nor necessary to the protection of the rights or property of Google.
25
            478.    Section 2517 of the ECPA relates to investigations by government officials and has
26
     no relevance here.
27
            479.    Google’s divulgences of the contents of Plaintiffs’ and Class members’
28

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 1   communications on the Chrome browser to hundreds of Google RTB participants was not done

 2   “with the lawful consent of the originator or any addressee or intended recipient of such

 3   communication[s].” As alleged above, Plaintiffs and Class members, including members of the

 4   Subclass A, did not authorize Google to divulge the contents of their communications to hundreds

 5   of Google RTB participants. Nor did Google procure the “lawful consent” of the websites to which

 6   Plaintiffs and Subclass A members directed and exchanged communications.

 7          480.    The other companies to which Google sold, shared, and divulged Plaintiffs’ and

 8   Subclass A members’ content of communications were not “person[s] employed or authorized, or

 9   whose facilities are used, to forward such communication[s] to [their] destination.”

10          481.    The contents of Plaintiffs’ and the Subclass A members’ communications did not

11   appear to pertain to the commission of a crime, and Google Chrome did not divulge the contents of

12   their communications to a law enforcement agency.

13          482.    Plaintiffs and the Subclass A members seek appropriate preliminary and other

14   equitable or declaratory relief; the appropriate statutory measure of damages; punitive damages in

15   an amount to be determined by a jury; and a reasonable attorney’s fee and other litigation costs

16   reasonably incurred. 18 U.S.C. § 2520.

17   COUNT ELEVEN: VIOLATION OF THE ECPA STORED COMMUNICATIONS ACT –
     UNAUTHORIZED DISCLOSURE OF ELECTRONIC COMMUNICATIONS BY AN ECS
18
     On Behalf of Subclass A of All Google Account Holders Who Use the Google Chrome Browser
19
            483.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
20
            484.    This count is brought on behalf of Subclass A of all Google Account Holders who
21
     use the Google Chrome web browser.
22
            485.    The ECPA provides that “a person or entity providing an electronic communication
23
     service to the public shall not knowingly divulge to any person or entity the contents of a
24
     communication while in electronic storage by that service.” 18 U.S.C. § 2702(a)(1).
25
            486.    Electronic Communication Service. ECPA defines “electronic communications
26
     service” as “any service which provides to users thereof the ability to send or receive wire or
27
     electronic communications.” 18 U.S.C. § 2510(15).
28

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 1          487.    The Google Chrome browser is an ECS.

 2          488.    Electronic Storage.    ECPA defines “electronic storage” as “any temporary,

 3   intermediate storage of a wire or electronic communication incidental to the electronic transmission

 4   thereof” and “any storage of such communication by an electronic communication service for

 5   purposes of backup protection of such communication.” 18 U.S.C. § 2510(17).

 6          489.    Google stores Plaintiffs’ and Subclass A members’ personal information and the

 7   contents of their communications in the Chrome browser and files associated with it.

 8          490.    Specifically, Google stores the content of Plaintiffs’ and Subclass A members’

 9   Internet communications within the Chrome browser in two ways:

10                  a.     For purposes of backup protection so that if the browser inadvertently shuts
                           down, Plaintiffs’ and Subclass Members’ can be presented with the option
11                         to restore their previous communications;

12                  b.     For a temporary and intermediate amount of time incidental to the electronic
                           transmission thereof when it places the contents into storage for purposes of
13                         maintaining a connection with the server for the website with which a
                           Plaintiff and Class member is exchanging communications while data
14                         continues to be transmitted between the Plaintiffs or Class Members’
                           communications device and the server for the website; and
15
                    c.     For a temporary and intermediate amount of time incidental to the electronic
16                         transmission thereof when it places the contents of user communications into
                           the browser’s web-browsing history, which is only kept on the browser for
17                         90 days.

18
            491.    When a Google Account Holder clicks a button or hits ENTER to exchange a
19
     communication with the website the Account Holder is interacting with while using the Chrome
20
     browser, the content of the communication is immediately placed into storage within the Chrome
21
     browser.
22
            492.    Google knowingly divulges the contents of Plaintiffs’ and Subclass A members’
23
     communications to hundreds of different companies through the Google RTB process while such
24
     communications are in electronic storage.
25
            493.    Exceptions Do Not Apply. Section 2702(b) of the Stored Communications Act
26
     provides that an electronic communication service provider “may divulge the contents of a
27
     communication—”
28

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                    a.      “to an addressee or intended recipient of such communication or an agent of
 1                          such addressee or intended recipient;”

 2                  b.      “as otherwise authorized in section 2517, 2511(2)(a), or 2703 of this title;”

 3                  c.      “with the lawful consent of the originator or an addressee or intended
                            recipient of such communication, or the subscriber in the case of remote
 4                          computing service;”

 5                  d.      “to a person employed or authorized or whose facilities are used to forward
                            such communication to its destination;”
 6
                    e.      “as may be necessarily incident to the rendition of the service or to the
 7                          protection of the rights or property of the provider of that service”:

 8                  f.      “to the National Center for Missing and Exploited Children, in connection
                            with a reported submitted thereto under section 2258A;”
 9
                    g.      “to law enforcement agency, if the contents (i) were inadvertently obtained
10                          by the service provider; and (ii) appear to pertain to the commission of a
                            crime;”
11
                    h.      “to a governmental entity, if the provider, in good faith, believes that an
12                          emergency involving danger of death or serious physical injury to any person
                            requires disclosure without delay of communications relating to the
13                          emergency;” or

14                  i.      “to a foreign government pursuant to an order from a foreign government
                            that is subject to an executive agreement that the Attorney General has
15                          determined and certified to Congress satisfies section 2523.”

16
            494.    The hundreds of other companies to which Google divulges the content of Plaintiffs’
17
     and Subclass A members’ communications while stored in Chrome are not “addressees,” “intended
18
     recipients,” or “agents” of any such addressees or intended recipients of the Plaintiffs’ and Subclass
19
     A members’ communications.
20
            495.    Sections 2517 and 2703 of the ECPA relate to investigations by government officials
21
     and have no relevance here.
22
            496.    Section 2511(2)(a)(i) provides:
23
                    It shall not be unlawful under this chapter for an operator of a
24                  switchboard, or an officer, employee, or agent of a provider of wire
                    or electronic communication service, whose facilities are used in the
25                  transmission of a wire or electronic communication, to intercept,
                    disclose, or use that communication in the normal course of his
26                  employment while engaged in any activity which is a necessary
                    incident to the rendition of his service or to the protection of the
27                  rights or property of the provider of that service, except that a
                    provider of wire communication service to the public shall not
28                  utilize service observing or random monitoring except for

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                     mechanical or service quality control checks.
 1

 2          497.     Google’s divulgence of the contents of user communications on the Chrome browser

 3   to hundreds of other companies through the Google RTB process was not authorized by 18 U.S.C.

 4   § 2511(2)(a)(i) in that it was neither:

 5                   a.     A necessary incident to the rendition of the Chrome service; nor

 6                   b.     Necessary to the protection of the rights or property of Google.

 7
            498.     Google’s divulgence of the contents of user communications on the Chrome browser
 8
     through the Google RTB process was not done “with the lawful consent of the originator or any
 9
     addressee or intended recipient of such communication[s].”
10
            499.     As alleged above:
11
                     a.     Plaintiffs and Google Account Holders, including members of Subclass A,
12                          did not authorize Google to divulge the contents of their communications to
                            hundreds of other companies.
13
                     b.     Google did not procure the “lawful consent” from the websites or apps with
14                          which Plaintiffs and Subclass A members’ were exchanging
                            communications.
15

16          500.     The hundreds of other companies to which Google divulges the content of Plaintiffs’

17   and Subclass A members’ communications while in Chrome storage through the RTB process are

18   not “person[s] employed or whose facilities are used to forward such communication to its

19   destination.”

20          501.     Google’s divulgences in the RTB system were not to governmental entities.

21          502.     As a result of the above actions and pursuant to 18 U.S.C. § 2520, the Court may

22   assess statutory damages; preliminary and other equitable or declaratory relief as may be

23   appropriate; punitive damages in an amount to be determined by a jury; and a reasonable attorney’s

24   fee and other litigation costs reasonably incurred.

25      COUNT TWELVE: VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT
26    On Behalf of Subclass B of All Google Account Holders Who Use Google Chrome, Android
       Operating System, or Apps that Incorporate the Google Software Development Kit (SDK)
27          503.     Plaintiffs incorporate all preceding paragraphs as though set forth herein.
28

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 1          504.      This count is brought on behalf of Subclass B of all Google Account Holders who

 2   use Google chrome, Android operating system, or apps that incorporate the Google SDK.

 3          505.      The Video Privacy Protection Act, 18 U.S.C. § 2710 (“VPPA”) provides that “a

 4   video tape service provider” shall not “knowingly disclose[], to any person, personally identifiable

 5   information concerning any consumer of such provider” without informed written consent and not

 6   incident to the ordinary course of business. 18 U.S.C. § 2710(b)(1).

 7          506.      Video Tape Service Provider. Under the VPPA, a “video tape service provider”

 8   (“VTSP”) is “any person, engaged in the business, in or affecting interstate or foreign commerce,

 9   of rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual materials, or

10   any person or other entity to whom a disclosure is made under subparagraph (D) or (E) of subsection

11   (b)(2), but only with respect to the information contained in the disclosure.” Under subparagraph

12   (E) of subsection (b)(2), a VTSP is extended to include any person who obtains information

13   “incident to the ordinary course of business of” the VTSP. As used in the VPPA, “‘ordinary course

14   of business’ means only debt collection activities, order fulfillment, request processing, and transfer

15   of ownership.”

16          507.      Google is a VTSP through its Chrome browser, Android operating system, and

17   Google SDK that it provides to app developers:

18                    a.     Google Chrome, which establishes a supporting ecosystem to seamlessly
                             deliver video content to consumers, is engaged in the delivery of audio visual
19                           materials similar to prerecorded video cassette tapes by providing software
                             through which audio visual materials are requested or obtained by Plaintiffs
20                           and Subclass Members from various first-party websites accessed via the
                             Chrome browser.
21
                      b.     Google Android, which establishes a supporting ecosystem to seamlessly
22                           deliver video content to consumers, is engaged in the delivery of audio visual
                             materials similar to prerecorded video cassette tapes by providing software
23                           through which audio visual materials are requested or obtained by Plaintiffs
                             and Subclass Members at various first-party websites accessed via a mobile
24                           device running the Android operating system.

25                    c.     The Google SDK, which establishes a supporting ecosystem to seamlessly
                             enable companies such as ESPN and Brid.tv, a provider of enterprise
26                           solutions for managing and monetizing customers’ video that is also a
                             Google Ad Manager certified external vendor, to deliver video content to
27                           consumers, is engaged in the delivery of audio visual materials similar to
                             prerecorded video cassette tapes by providing software through which audio
28                           visual materials are requested or obtained by Plaintiffs and Subclass

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                              Members at various first-party websites that make use of the Google SDK to
 1                            provide such audio visual materials.

 2                   d.       The Google Play store is engaged in the delivery of audio visual materials
                              similar to prerecorded video cassette tapes by providing software and
 3                            applications through which audio visual materials, including videos and
                              video games, are requested or obtained by Plaintiffs at the Google Play Store.
 4
                     e.       Google Chrome, Android, and the Google SDK each also qualify as VTSPs
 5                            through 18 U.S.C. § 2710(b)(2)(E) because they are Google services that aid
                              VTSPs in order fulfillment and request processing.
 6

 7          508.     Personally Identifiable Information. Under the VPPA, “‘personally identifiable

 8   information’ includes information which identifies a person as having requested or obtained

 9   specific video materials or services from a” VTSP. 18 U.S.C. § 2710(a)(3).

10          509.     The VPPA definition of “personally identifiable information” is purposefully broad

11   and open-ended. The VPPA “prohibits … [the disclosure of] ‘personally identifiable information’ –

12   information that links the customer or patron to particular materials or services.” S. Rep. No. 100-

13   599 at *7. “Unlike the other definitions [in the VPPA], paragraph (a)(3) uses the word ‘includes’

14   to establish a minimum, but not exclusive, definition of personally identifiable information.” S.

15   Rep. No. 100-599 at *12. The Act was passed in 1988 following publication of “a profile of Judge

16   Robert H. Bork based on the titles of 146 files his family had rented from a video store.” S. Rep.

17   100-599 at 6 (emphasis added).

18          510.     Google knowingly discloses personally identifiable information about Plaintiffs’

19   and Subclass B members’ requests, acquisitions, and viewing records of specific video materials

20   and services.

21          511.     The Google RTB developer documentation for Bid Requests states that it discloses

22   the following information about Plaintiffs and Subclass B members to hundreds of different

23   companies, including regarding the audio-visual materials they access through Google Chrome,

24   Android, and Google SDK:

25                                   COMMUNICATIONS CONTENT
      cat                 Array of IAB content categories of the site or app.
26    sectioncat          Array of IAB content categories that describe current section of site or app.
      pagecat             Array of IAB content categories that describe current site or app page or view.
27    page                URL of the page where the impression will be shown.
      ref                 Referrer URL that caused navigation to the current page.
28

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     publisher    Details about the Publisher object of the site or app.
 1   content      Details about the Content within the site or app.
     keywords     Comma-separated list of keywords about this site or app.
 2   content id   ID uniquely identifying the content.
     episode      Content episode number (typically applies to video content).
 3   title        Content title. Video examples: “Search Committee” (television); “A New Hope
                  (movie); or “Endgame” (made for web). Non-video example: “Why an
 4                Antarctic Glacier is Melting So Quickly” (Time magazine article).
     series       Content series. Video examples: “The Office” (television); “Star Wars”
 5                (movie); or “Arby ‘N’ The Chief (made for web). Non-video example:
                  (“Ecocentric”) (Time magazine blog).
 6                                            DEVICE
     dnt          Standard ‘Do Not Track’ flag as set in the header by the browser.
 7   ua           Browser user-agent string.
     ip           IPv4 address closest to device.
 8   geo          Location of the device assumed to be the user’s current location defined by a
                  Geo object.
 9
     didsha1      Hardwire device ID.
10   dpidsha1     Platform device ID (e.g. Android ID).
     ipv6         IPv6 address closest to device.
11   carrier      Carrier or ISP, using exchange curated string names which should be published
                  to bidders a priori.
12   make         Device make (e.g. Apple).
     model        Device model (e.g. iPhone).
13   os           Device operating system (e.g. iOS).
     osv          Device operating system version.
14   hwv          Hardware version of the device (e.g. ‘5S’ for iPhone 5S).
     devicetype   The general type of device.
15   ifa          ID sanctioned for advertiser use in the clear.
     macsha1      MAC address of the device.
16                                      GEO-LOCATION
     lat          Latitude from -90.0 to 90.0, where negative is south.
17   lon          Longitude from -180.0 to 180.0 where negative is west.
     country      Country.
18   region       Region.
     metro        Google metro code; similar to but not exactly Nielson DMAs.
19   city         City using United Nations Code for Trade & Transport.
     zip          Zip/postal code.
20   type         Source of location data.
     accuracy     Estimated location accuracy.
21   lastfix      Number of seconds since this geolocation fix was established.
                                               USER
22
     Id           Exchange-specific id for the user.
23   Buyerid      Buyer-specific ID as mapped by the exchange for the buyer.
     Gender       Gender as ‘M’ male, ‘F’ female, ‘O’ other.
24   Keywords     Comma-separated list of keywords, interests, or intent.
     Customdata   Optional feature to pass bidder data set in the exchange’s cookie.
25   Geo          Location of the user’s home based defined by a Geo object. This is not
                  necessarily their current location.
26   Data         Values for this field are now redacted. Segment.id references the exchange-
                  detected vertical of the page. Segment.value corresponds to the weight of that
27                detected vertical, a higher weight suggesting the page is more relevant for the
                  detected vertical.
28

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 1
                     “INFORMATION THAT WE KNOW ABOUT THE USER”
 2    2   IP address         The first 3 bytes of IPv4 or first 6 bytes for IPv6.
      3   Special Treatment Reasons for special treatment of user data. For example, if the “current
 3                           request should be treated as child-directed for purposes of the
                             Children’s Online Privacy Protection Act.”
 4    4   Google ID          “The Google ID for the user. … This field may be the same as the
                             Google ID returned by the cookie matching service.”
 5    5   Google          ID “The version number of the google_user_id. We may sometimes
          Version            change the mapping from cookie to google_user_id.”
 6    6   Google ID Age      “The time in seconds since the google_user_id was created.”
      7   Match Data         “Match data stored for this google_user_id through the cookie
 7                           matching service. If a match exists, then this field holds the decoded
                             data that was passed in the google_hm parameter.”
 8    8   User-Agent         “A string that identifies the browser and type of device that sent the
                             request.”
 9    9   FLoC               “The value of a cohort ID – a string identifier that is common to a large
                             cohort of users with similar browsing habits. … Experimental feature:
10                           may be subject to change.”
     10   User Agent Info.   “This will be populated with information about the user agent,
11                           extracted from the User-Agent header.”
     11   Publisher location The billing address country of the publisher.
12   12   End-user location The user’s approximate geographic location.
13   13   Zip code           Detected postal code of the user.
     14   Hyper-local        A hyperlocal targeting location when available.
14   15   User verticals     “List of detected user verticals. Currently unused. This field is not
                             populated by default. We recommend that bidders instead store and
15                           look up list ids using either google_user_id or hosted-match-data as
                             keys.”
16   16   User-list          The user list id.
           INFORMATION FOR “AD QUERIES COMING FROM MOBILE DEVICES”
17   41   Mobile App         The identifier of the mobile app or mobile webpage. “If the app was
                             downloaded from the Apple iTunes app store, then this is the app-store
18                           id, e.g. 343200656. For Android devices, this is the fully qualified
                             package name, e.g. com.rovio.angrybirds. For Windows devices, it’s
19                           the App ID, e.g. f15abcde-f6gh-47i0-j3k8-37193817mn3o. For SDK-
                             less requests (mostly from connected TVs), the app ID provided by the
20                           publisher directly in the request.”
     45   Advertising IDs    This field is used for advertising identifiers for:
21                               1) iOS devices (This is called Identifier for Advertising or IDFA,
                                     as described at https://support.google.com/authorizedbuyers/
22                                   answer/3221407)
                                 2) Android devices;
23                               3) Roku devices;
                                 4) Microsoft Xbox devices;
24                               5) Amazon devices (i.e. Amazon Fire)
     46   App Name           App names for Android by Google Play and for iOS by App Annie.
25                                    VIDEO INFORMATION
     50   Placement          Where the ad is placed.
26   51   URL                The URL of the page that the publisher gives Google to describe the
                             video content, with parameters removed.
27   52   Playback Method How the video ad will be played.
     53   Clickable          Describes whether the video ad is clickable.
28   54   Start-Delay        The time in milliseconds from the start of the video when the ad will

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                                be displayed.
 1    55     Ad Duration        The minimum and maximum ad durations.
      56     Skippable          Whether the publisher allows users to skip the ad.
 2    57     Protocols          Supported video protocols.
      58     File formats       Supported video file formats.
 3    59     Companion Ads      Information about companion ad slots shown with the video.
      60     Size               Height and width for the video ad.
 4    61     Video title        The video title.
      62     Video keywords     A list of keywords describing the video, extracted from the content
 5                              management system of the video publisher.
 6            512.   Many of the companies to which Google knowingly discloses Plaintiffs’ and Class
 7   members’ video purchases and viewing habits already maintain their own databases of identifiers
 8   for Plaintiffs and Class members. For example, Google and Facebook have reached a deal worth at
 9   least $500 million annually associated with Facebook’s use of Google RTB. Google knows that
10   Google Chrome, Android, and Google SDK provide enough personally identifying information to
11   Facebook to allow it to identify the individual Account Holder. Other companies to which Google
12   discloses Plaintiffs’ and Class members’ video purchases and viewing habits are able to identify
13   the individual Account Holder because Google provides a cookie-match system that it knows
14   enables them to match the disclosed Google IDs to their own proprietary IDs for Plaintiffs and
15   Class members.
16            513.   In addition, the identifiers Google discloses to the Google RTB participants are
17   readily capable of being used by those companies to identify specific users even in the absence of
18   a pre-existing database possessed by the recipient of Google’s disclosures. For example, The New
19   York Times investigation detailed above used the same type of data disclosed on Google RTB to
20   identify specific people who participated in the assault on the United States Capitol on January 6,
21   2021.
22            514.   Exceptions Do Not Apply. Certain types of disclosures are permitted under the
23   VPPA. Establishing the existence of such circumstances is an affirmative defense. Regardless,
24   none exists here.
25            515.   Google did not receive sufficient informed, written consent from Plaintiffs and
26   Subclass B members to permit disclosure. 18 U.S.C. § 2710(b)(2)(B).
27            516.   Disclosure was not made to law enforcement pursuant to a warrant, grand jury
28

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 1   subpoena, or court order. 18 U.S.C. § 2710(b)(2)(C); see 18 U.S.C. § 2710(b)(2)(F) (permitting

 2   disclosure pursuant to a court order, in a civil proceeding, upon a showing of compelling need for

 3   the information that cannot be accommodated by other means, where the consumer is given

 4   reasonable notice of the court proceeding and afforded the opportunity to appear and contest the

 5   claim of the person seeking disclosure).

 6          517.    Disclosure was not solely of the names and addresses of Plaintiffs and Subclass B

 7   members where they were provided a clear and conspicuous opportunity to prohibit the disclosure

 8   and the disclosure did not disclose the title, description, or subject matter of any audio visual

 9   material. 18 U.S.C. § 2710(b)(2)(D). 8786F




10          518.    Disclosure was not incident to the ordinary course of business for Google Chrome,

11   Android, or Google SDK. 18 U.S.C. § 2710(b)(2)(E).

12          519.    For Google’s VPPA violations, the Subclass who uses Google Chrome, the Android

13   mobile operating system, or apps that incorporate the Google SDK seeks actual damages but no

14   less than liquidated damages in an amount of $2,500; punitive damages; reasonable attorneys’ fees

15   and other litigation costs reasonably incurred; and such other preliminary and equitable relief as

16   the court determines to be appropriate. 18 U.S.C. § 2710(c).

17   VII.   PRAYER FOR RELIEF

18          WHEREFORE, Plaintiffs respectfully request that this Court:

19          A.      Certify this action as a class action pursuant to Rule 23 of the Federal Rules of Civil

20   Procedure;

21          B.      Award compensatory damages, including statutory damages where available, to

22   Plaintiffs and the Class against Defendant for all damages sustained as a result of Defendant’s

23   wrongdoing, in an amount to be proven at trial, including interest thereon;

24          C.      Award Plaintiffs and the Class the measure of unjust enrichment enjoyed by

25   Defendant as a result of its violations identified herein, in an amount to be proven at trial, including

26
     87
        While the subject matter may be disclosed for the exclusive use of marketing goods and services
27   directly to the consumer, such disclosure remains conditioned on the consumer’s clear and
     conspicuous opportunity to prohibit such disclosure. Id. That opportunity was not made available
28   to Plaintiffs and Class Members here.
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 1   interest thereon;

 2          D.      Award Plaintiffs and the Class punitive damages pursuant to Cal. Civ. Code

 3   § 3294(a), as Google acted with oppression, fraud, or malice;

 4          E.      Award Plaintiffs declaratory relief in the form of an order finding the following,

 5   along with all other forms of declaratory relief the Court finds appropriate:

 6                  a.      Google breached the contractual rights of its users;

 7                  b.      Google’s actions violated the duty of good faith and fair dealing;

 8                  c.      Google’s actions violated California’s Unfair Competition Law;

 9                  d.      Google’s actions violated Art. 1, § 1 of the California Constitution, Right to
                            Privacy;
10
                    e.      Google’s actions constitute an intrusion upon seclusion;
11
                    f.      Google’s actions constitute publication of private information;
12
                    g.      Google’s actions violated the duty of confidence;
13
                    h.      Google’s actions violated California’s Invasion of Privacy Act;
14
                    i.      Google’s actions violated the Electronic Communications Privacy Act;
15
                    j.      Google’s actions violated the Video Privacy Protection Act;
16
                    k.      Plaintiffs have suffered privacy harm; and
17
                    l.      Plaintiffs have suffered economic harm.
18

19          F.      Permanently enjoin Google, its officers, agents, servants, employees, and attorneys,

20   from sharing or selling any existing Google Account Holder’s personal information without express

21   authorization for the sale of such information;

22          G.      Award Plaintiffs and the Class their reasonable attorneys’ fees, costs and expenses

23   incurred in this action, including expert fees; and

24          H.      Grant Plaintiffs such further relief as the Court deems appropriate.

25   VIII. JURY TRIAL DEMAND

26          The Plaintiffs demand a trial by jury of all issues so triable.

27

28

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 1   Dated: August 27, 2021

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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Elizabeth C. Pritzker, attest that concurrence in the filing of this document has been

 3   obtained from the other signatories. I declare under penalty of perjury that the foregoing is true and

 4   correct.

 5          Executed this 27th day of August, 2021, at Emeryville, California.
 6

 7                                                        /s/ Elizabeth C. Pritzker
                                                           Elizabeth C. Pritzker
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                                  CONSOLIDATED CLASS ACTION COMPLAINT
